              Case 24-12480-LSS             Doc 1596         Filed 06/02/25        Page 1 of 115




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                      )
In re:                                                                )    Chapter 11
                                                                      )
FRANCHISE GROUP, INC., et al., 1                                      )    Case No. 24-12480 (LSS)
                                                                      )
                                   Debtors.                           )    (Jointly Administered)
                                                                      )
                                                                      )    Re: Docket No. 1454
                                                                      )

                       FINDINGS OF FACT, CONCLUSIONS
                     OF LAW, AND ORDER (I) CONFIRMING
                THE NINTH AMENDED JOINT CHAPTER 11 PLAN OF
              FRANCHISE GROUP, INC. AND ITS DEBTOR AFFILIATES AND
       (II) APPROVING THE GLOBAL SETTLEMENT AND RELEASE OF CLAIMS
    AND CAUSES OF ACTION BY AND AMONG THE GLOBAL SETTLEMENT PARTIES

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”),

having: 2


1   The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
    numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
    Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
    Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
    (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
    Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
    Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
    American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
    Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
    Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
    LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
    and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
    (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
    Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
    Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
    LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
    Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
    “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
    WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
    Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
    (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
    Virginia 23456.

2   Capitalized terms used but not otherwise defined herein (this “Confirmation Order”) shall have the meanings
    ascribed to them later in this Confirmation Order or in the Plan (as defined herein). The rules of interpretation
    set forth in Article I of the Plan shall apply to this Confirmation Order.
     Case 24-12480-LSS       Doc 1596      Filed 06/02/25    Page 2 of 115




a.     entered into that certain Restructuring Support Agreement, dated as of November 1,
       2024, by and among the Debtors and the Consenting First Lien Lenders (as may be
       amended from time to time in accordance with its terms, the “Restructuring Support
       Agreement”);

b.     commenced, on November 3, 2024 (the “Petition Date”), these chapter 11 cases
       (these “Chapter 11 Cases”) by Filing voluntary petitions in the United States
       Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) for relief
       under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

c.     Filed, on November 4, 2024, the Declaration of David Orlofsky in Support of
       Debtors’ Chapter 11 Petitions and First Day Pleadings [Docket No. 15] (the “First
       Day Declaration”);

d.     continued to operate and manage their businesses and properties as debtors in
       possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;

e.     Filed, on November 11, 2024, (a) the Joint Chapter 11 Plan of Franchise Group,
       Inc. and Its Affiliated Debtors [Docket No. 150], (b) the Disclosure Statement for
       the Joint Chapter 11 Plan of Franchise Group, Inc. and Its Affiliated Debtors
       [Docket No. 151], and (c) the Debtors’ Motion for an Order (I) Approving the
       Disclosure Statement; (II) Approving Solicitation and Voting Procedures,
       Including (A) Fixing the Voting Record Date, (B) Approving the Solicitation
       Packages and Procedures for Distribution, (C) Approving the Form of the Ballots
       and Solicitation Materials and Establishing Procedures for Voting, and
       (D) Approving Procedures for Vote Tabulation; (III) Scheduling a Confirmation
       Hearing and Establishing Notice and Objection Procedures; and (IV) Granting
       Related Relief [Docket No. 152];

f.     obtained, on December 6, 2024, entry of (a) the Order (A) Establishing Bar Dates
       and Related Procedures for Filing Proofs of Claim (Including for Claims Arising
       Under Section 503(b)(9) of the Bankruptcy Code) and (B) Approving the Form and
       Manner of Notice Thereof [Docket No. 354] (the “Bar Date Order”) and (b) the
       Final Order (I) Authorizing Debtors to (A) Pay Certain Prepetition Employment
       Obligations and Compensation Obligations and (B) Maintain the Compensation
       Obligations and Employee Benefits Programs and (II) Granting Related Relief
       [Docket No. 348];

g.     obtained, on December 11, 2024, entry of (a) the Final Order (I) Authorizing the
       Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition
       Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims
       with Superpriority Administrative Expense Status, (III) Granting Adequate
       Protection to the Prepetition Secured Parties, (IV) Modifying the Automatic Stay,
       and (V) Granting Related Relief [Docket No. 414] (the “Final DIP Order”) and
       (b) the Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims
       of Certain Critical Vendors, Foreign Vendors, Shippers & Logistics Providers, and
       503(b)(9) Claimants; and (II) Granting Related Relief [Docket No. 410];



                                       2
     Case 24-12480-LSS       Doc 1596      Filed 06/02/25    Page 3 of 115




h.     obtained, on December 16, 2024, entry of the Order (I) (A) Approving Bidding
       Procedures for the Sale of All or Substantially All of the Debtors’ Assets,
       (B) Scheduling an Auction and a Sale Hearing and Approving the Form and
       Manner of Notice Thereof, (C) Approving Assumption and Assignment Procedures,
       and (D) Granting Related Relief [Docket No. 444] (the “Bidding Procedures
       Order”);

i.     caused, on December 19, 2024, the Sale Hearing Notice (as defined in the Bidding
       Procedures Order) to be published in the New York Times (National Edition), as
       evidenced by the Certificate of Publication [Docket No. 593];

j.     Filed, on January 3, 2025, (a) the First Amended Joint Chapter 11 Plan of
       Franchise Group, Inc. and Its Affiliated Debtors [Docket No. 654] and (b) the
       Disclosure Statement for the First Amended Joint Chapter 11 Plan of Franchise
       Group, Inc. and Its Debtor Affiliates [Docket No. 655];

k.     Filed, on February 3, 2025, (a) the Second Amended Joint Chapter 11 Plan of
       Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 894] and (b) the
       Disclosure Statement for the Second Amended Joint Chapter 11 Plan of Franchise
       Group, Inc. and Its Debtor Affiliates [Docket No. 895];

l.     Filed, on February 4, 2025, the Notice of Adjournment of Auction [Docket No. 916];

m.     Filed, on February 5, 2025, (a) the Third Amended Joint Chapter 11 Plan of
       Franchise Group, Inc. and Its Affiliated Debtors [Docket No. 925] and (b) the
       Disclosure Statement for the Third Amended Joint Chapter 11 Plan of Franchise
       Group, Inc. and Its Affiliated Debtors [Docket No. 926];

n.     Filed, on February 10, 2025, the Notice of Further Adjournment of Auction
       [Docket No. 948];

o.     Filed, on February 12, 2025, (a) the Fourth Amended Joint Chapter 11 Plan of
       Franchise Group, Inc. and Its Affiliated Debtors [Docket No. 957] and (b) the
       Disclosure Statement for the Fourth Amended Joint Chapter 11 Plan of Franchise
       Group, Inc. and Its Affiliated Debtors [Docket No. 958];

p.     Filed, on February 12, 2025, the Notice of Cancellation of Auction [Docket
       No. 961];

q.     Filed, on February 18, 2025, (a) the Fifth Amended Joint Chapter 11 Plan of
       Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 996] and (b) the
       Disclosure Statement for the Fifth Amended Joint Chapter 11 Plan of Franchise
       Group, Inc. and Its Debtor Affiliates [Docket No. 995];

r.     Filed, on February 20, 2025, (a) the Sixth Amended Joint Chapter 11 Plan of
       Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 1015] and (b) the
       Disclosure Statement for the Sixth Amended Joint Chapter 11 Plan of Franchise



                                       3
     Case 24-12480-LSS       Doc 1596       Filed 06/02/25    Page 4 of 115




       Group, Inc. and Its Debtor Affiliates [Docket No. 1014] (as amended,
       supplemented, or modified from time to time, the “Disclosure Statement”);

s.     obtained, on February 21, 2025, entry of the Order (I) Approving the Disclosure
       Statement; (II) Approving the Solicitation and Voting Procedures, Including
       (A) Fixing the Voting Record Date, (B) Approving the Solicitation Packages and
       Procedures for Distribution, (C) Approving the Form of the Ballots and Solicitation
       Materials and Establishing Procedures for Voting, and (D) Approving Procedures
       for Vote Tabulation; (III) Scheduling a Confirmation Hearing and Establishing
       Notice and Objection Procedures; and (IV) Granting Related Relief
       [Docket No. 1019] (the “Disclosure Statement Order”), following a hearing
       (the “Disclosure Statement Hearing”), which, among other things, approved the
       Disclosure Statement as containing adequate information under section 1125 of the
       Bankruptcy Code, the solicitation and voting procedures (the “Voting
       Procedures”), the Confirmation Hearing Notice, and other related forms and ballots
       (the foregoing materials, collectively, the “Solicitation Package”);

t.     caused the Solicitation Package and the Notice of Order (I) Approving the
       Disclosure Statement; (II) Approving Solicitation and Voting Procedures,
       Including (A) Fixing the Voting Record Date, (B) Approving the Solicitation
       Packages and Procedures for Distribution, (C) Approving the Form of the Ballots
       and Solicitation Materials and Establishing Procedures for Voting, and
       (D) Approving Procedures for Vote Tabulation; (III) Scheduling a Confirmation
       Hearing and Establishing Notice and Objection Procedures; and (IV) Granting
       Related Relief (the “Confirmation Hearing Notice”) to be distributed on or before
       February 28, 2025, in accordance with the Bankruptcy Code, the Federal Rules of
       Bankruptcy Procedure (the “Bankruptcy Rules”), and the Disclosure Statement
       Order, as evidenced by, among other things, the Affidavit of Service
       [Docket No. 1383] (the “Solicitation Affidavit”);

u.     Filed and caused to be served, on February 21, 2025, the Confirmation Hearing
       Notice [Docket No. 1021], and caused the Confirmation Hearing Notice to be
       published on the Debtors’ case website;

v.     caused, on February 25, 2025, the Confirmation Hearing Notice to be published in
       The Wall Street Journal as evidenced by the Affidavit of Publication in the Wall
       Street Journal [Docket No. 1030] (the “Publication Affidavit”);

w.     Filed and caused to be served, on March 27, 2025, the Notice of Filing of Plan
       Supplement [Docket No. 1182] (as amended, modified, or supplemented from time
       to time, the “Initial Plan Supplement”), as evidenced by the Affidavit of Service
       [Docket No. 1311];

x.     Filed, on April 3, 2025, the Seventh Amended Joint Chapter 11 Plan of Franchise
       Group, Inc. and Its Debtor Affiliates [Docket No. 1233];




                                        4
      Case 24-12480-LSS        Doc 1596       Filed 06/02/25     Page 5 of 115




y.      obtained, on April 7, 2025, entry of the Order (I) Extending the Debtors’ Exclusive
        Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof Pursuant to
        Section 1121 of the Bankruptcy Code and (II) Granting Related Relief
        [Docket No. 1253], extending the Debtors’ exclusive period to file a chapter 11
        plan and solicit acceptances thereof to June 2, 2025, and July 31, 2025, respectively;

z.      Filed, on April 17, 2025, the Notice of Global Settlement [Docket No. 1290];

aa.     Filed, on April 25, 2025, the (a) Eighth Amended Joint Chapter 11 Plan of
        Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 1312] (the “Eighth
        Amended Plan”) and (b) Disclosure Statement Supplement for the Eighth Amended
        Joint Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates [Docket
        No. 1314] (as amended, supplemented, or modified from time to time,
        the “Disclosure Statement Supplement”);

bb.     obtained, on April 26, 2025, entry of the Order (I) Approving the Form, Content,
        and Manner of Notice of the Disclosure Statement Supplement, (II) Approving
        Certain Deadlines and Procedures in Connection with Confirmation, and
        (III) Granting Related Relief [Docket No. 1322] (the “Disclosure Statement
        Supplement Order,” and together with the Disclosure Statement Order,
        the “Disclosure Statement Orders”), which, among other things, approved (a) the
        Disclosure Statement Supplement as containing adequate information under section
        1125 of the Bankruptcy Code, (b) certain modified dates and deadlines in
        connection with Confirmation, and (c) the distribution of a supplemental
        solicitation package containing the Disclosure Statement Supplement and the
        Eighth Amended Plan (together, the “Supplemental Solicitation Package”);

cc.     caused the Supplemental Solicitation Package to be distributed on or before
        April 29, 2025, in accordance with the Bankruptcy Code, the Bankruptcy Rules,
        the Disclosure Statement Order, and the Disclosure Statement Supplement Order,
        as evidenced by, among other things, the Affidavit of Service [Docket No. 1448]
        (the “Disclosure Statement Supplement Affidavit,” and together with the
        Solicitation Affidavit and the Publication Affidavit, the “Affidavits”);

dd.     Filed and caused to be served, on April 30, 2025, the Notice of Filing of Amended
        Plan Supplement [Docket No. 1371] (the “First Amended Plan Supplement”), as
        evidenced by the Certificate of Service [Docket No. 1444];

ee.     obtained, on May 7, 2025, entry of the Order (I) Authorizing Franchise Group
        Intermediate V, LLC to Enter into and Perform Its Obligations Under the Asset
        Purchase Agreement, (II) Approving the Sale of Certain Assets Free and Clear of
        All Claims, Liens, Rights, Interests, and Encumbrances, (III) Approving the
        Assumption and Assignment of Executory Contracts and Unexpired Leases, and
        (IV) Granting Related Relief [Docket No. 1429] (the “Sale Order”);




                                          5
              Case 24-12480-LSS              Doc 1596        Filed 06/02/25         Page 6 of 115




        ff.      Filed, on May 14, 2025, the Ninth Amended Joint Chapter 11 Plan of Franchise
                 Group, Inc. and Its Debtor Affiliates [Docket No. 1454] (as amended, modified, or
                 supplemented from time to time the “Plan” 3), attached hereto as Exhibit A;

        gg.      Filed, on May 14, 2025, the Debtors’ Memorandum of Law (I) In Support of an
                 Order (A) Confirming the Ninth Amended Joint Chapter 11 Plan of Franchise
                 Group, Inc. and Its Debtor Affiliates and (B) Approving the Global Settlement and
                 Release of Claims and Causes of Action by and Among the Global Settlement
                 Parties, and (II) Omnibus Reply to Objections Thereto [Docket No. 1457]
                 (the “Confirmation Brief”);

        hh.      Filed on May 14, 2025, the Declaration of Craig Johnson of Kroll Restructuring
                 Administration LLC Regarding the Solicitation of Votes and Tabulation of Ballots
                 Cast on the Sixth Amended Joint Chapter 11 Plan of Franchise Group, Inc. and Its
                 Debtor Affiliates [Docket No. 1458] (as may be amended, modified, or
                 supplemented from time to time, the “Voting Report”);

        ii.      Filed, on May 14, 2025, (a) the Declaration of David Orlofsky in Support of an
                 Order (I) Confirming the Ninth Amended Joint Chapter 11 Plan of Franchise
                 Group, Inc. and Its Debtor Affiliates and (II) Granting Related Relief
                 [Docket No. 1465] (the “Orlofsky Confirmation Declaration”), (b) the Declaration
                 of Christopher Grubb in Support of an Order (I) Confirming the Ninth Amended
                 Joint Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates and
                 (II) Granting Related Relief [Docket No. 1466] (the “Grubb Confirmation
                 Declaration”), (c) the Declaration of Christopher P. Meyer in Support of and Order
                 (I) Confirming the Ninth Amended Joint Chapter 11 Plan of Franchise Group, Inc.
                 and Its Debtor Affiliates and (II) Granting Related Relief [Docket No. 1467],
                 (d) the Declaration of Michael J. Wartell in Support of the Ninth Amended Joint
                 Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates
                 [Docket No. 1468] (the “Wartell Confirmation Declaration”), and (e) the
                 Declaration of Jeffrey W. Kopa in Support of an Order (I) Confirming the Ninth
                 Amended Joint Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates
                 and     (II)   Granting     Related     Relief   [Docket No. 1471]      (the “Kopa
                 Confirmation Declaration,”);

        jj.      Filed, on May 14, 2025, the Debtors’ Second Omnibus (Nonsubstantive) Objection
                 to Proofs of Claim [Docket No. 1478];

        kk.      Filed, on May 17, 2025, the Amended Declaration of Christopher P. Meyer in
                 Support of and Order (I) Confirming the Ninth Amended Joint Chapter 11 Plan of
                 Franchise Group, Inc. and Its Debtor Affiliates and (II) Granting Related Relief
                 [Docket No. 1514] (the “Meyer Confirmation Declaration,” and together with the
                 Orlofsky Confirmation Declaration, the Grubb Confirmation Declaration, the

3   For the avoidance of doubt, nothing in this Confirmation Order is intended to limit or restrict TopCo’s ability to
    seek Confirmation of the Plan (or an alternative chapter 11 plan) with respect to TopCo pursuant to a separate or
    supplemental order, as applicable.




                                                         6
            Case 24-12480-LSS       Doc 1596       Filed 06/02/25    Page 7 of 115




              Wartell Confirmation Declaration, and the Kopa Confirmation Declaration,
              the “Confirmation Declarations”);

      ll.     Filed and caused to be served, on May 19, 2025, the Notice of Filing of Second
              Amended Plan Supplement [Docket No. 1518] (the “Second Amended Plan
              Supplement,” and together with the Initial Plan Supplement and the First Amended
              Plan Supplement, the “Plan Supplement”)], as evidenced by the Affidavit of Service
              [Docket No. 1541]; and

      mm.     Filed and caused to be served, on May 21, 2025, the Notice of the Occurrence of
              Sale Closing on May 19, 2025 [Docket No. 1554].

This Bankruptcy Court having:

      a.      entered, on February 21, 2025, the Disclosure Statement Order;

      b.      entered, on April 26, 2025, the Disclosure Statement Supplement Order;

      c.      set May 7, 2025, at 5:00 p.m. (prevailing Eastern Time) as the deadline to vote to
              accept or reject the Plan and opt in to the Third-Party Releases (the “Voting
              Deadline”);

      d.      set May 7, 2025, at 5:00 p.m. (prevailing Eastern Time) as the deadline for Filing
              objections to the Plan (the “Objection Deadline”);

      e.      set May 20, 2025, at 10:00 a.m. (prevailing Eastern Time) as the date and time for
              the Confirmation Hearing pursuant to Bankruptcy Rules 3017 and 3018 and
              sections 1126, 1128, and 1129 of the Bankruptcy Code;

      f.      considered the Plan, the Plan Supplement, the Disclosure Statement, the Disclosure
              Statement Supplement, the Confirmation Brief, the Confirmation Declarations, the
              Voting Report, the Confirmation Hearing Notice, and the Affidavits;

      g.      reviewed the discharge, compromises, settlements, releases, exculpations, and
              injunctions set forth in Articles XII and XV of the Plan;

      h.      considered the Restructuring Transactions and the Global Settlement incorporated
              and described in the Plan, including in the Plan Supplement;

      i.      held the Confirmation Hearing;

      j.      heard the statements and arguments made by counsel and parties in interest in
              respect of Confirmation;

      k.      considered all oral representations, affidavits, testimony, documents, filings, and
              other evidence regarding Confirmation and having admitted the same into evidence
              at the Confirmation Hearing;




                                               7
            Case 24-12480-LSS         Doc 1596      Filed 06/02/25    Page 8 of 115




       l.      overruled, including for any reasons stated on the record of the Confirmation
               Hearing, any and all objections to Confirmation of the Plan with respect to all
               Debtors except for TopCo (collectively, the “Confirmation Debtors”) and approval
               of the Global Settlement, and all statements and reservations of rights not
               consensually resolved, waived, settled, or withdrawn unless otherwise indicated
               herein or on the record at the Confirmation Hearing;

       m.      considered the pleadings and other documents Filed and all evidence and arguments
               proffered or otherwise presented at or with respect to the Confirmation Hearing;
               and

       n.      issued, at a hearing on May 28, 2025, at 3:00 p.m. (prevailing Eastern Time), a
               bench ruling to confirm the Plan with respect to the Confirmation Debtors and
               approve the Global Settlement with respect to all Debtors (including TopCo).

       NOW, THEREFORE, the Bankruptcy Court having found that the Confirmation Hearing

Notice and the opportunity for any party in interest to object to Confirmation or approval of the

Global Settlement have been adequate and appropriate as to all parties affected or to be affected

by the Plan and the Restructuring Transactions contemplated thereby; and the Bankruptcy Court

having found that the record of these Chapter 11 Cases and the legal and factual bases set forth in

the documents Filed in support of Confirmation of the Plan (with respect to the Confirmation

Debtors) and approval of the Global Settlement, and all evidence proffered or adduced by counsel

at the Confirmation Hearing, establish just cause for the relief granted herein; and after due

deliberation thereon and good cause appearing therefor, the Bankruptcy Court hereby makes and

issues the following findings of fact and conclusions of Law, and orders:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

IT IS HEREBY DETERMINED FOUND, ADJUDGED, DECREED, AND ORDERED THAT:

A.     Findings of Fact and Conclusions of Law

       1.      The findings of fact and the conclusions of Law set forth and incorporated in this

Confirmation Order and on the record of the Confirmation Hearing (which are incorporated into

this Confirmation Order by this reference) constitute the Bankruptcy Court’s findings of fact and




                                                8
            Case 24-12480-LSS          Doc 1596       Filed 06/02/25     Page 9 of 115




conclusions of Law in accordance with Bankruptcy Rule 7052, made applicable to this proceeding

pursuant to Bankruptcy Rule 9014.         Each finding of fact set forth or incorporated in this

Confirmation Order, to the extent it is or may be deemed a conclusion of Law, shall also constitute

a conclusion of Law. Each conclusion of Law set forth or incorporated in this Confirmation Order,

to the extent it is or may be deemed a finding of fact, shall also constitute a finding of fact.

       2.      As set forth by the Bankruptcy Court at a hearing regarding Confirmation of the

Plan held on May 28, 2025, at 3:00 p.m. (prevailing Eastern Time), the Plan is confirmed with

respect to the Confirmation Debtors (i.e., all Debtors except for TopCo) and the Global Settlement

is approved with respect to all Debtors, including TopCo. As set forth herein, the Debtors

(including TopCo) are authorized to take all actions as may be necessary or appropriate to

effectuate the Global Settlement, including, without limitation, the contribution of the TopCo Cash

Allocation by TopCo to the Litigation Trust, without the need for further approval by the

Bankruptcy Court.

B.     Jurisdiction, Venue, and Core Proceeding

       3.      The Bankruptcy Court has subject matter jurisdiction over this matter under

sections 157 and 1334 of title 28 of the United States Code, 28 U.S.C. §§ 1–4881 (the “Judicial

Code”), and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012.           The Bankruptcy Court has exclusive

jurisdiction to determine whether the Plan complies with the applicable provisions of the

Bankruptcy Code and should be approved and confirmed. Venue is proper before the Bankruptcy

Court pursuant to sections 1408 and 1409 of the Judicial Code. Confirmation of the Plan and

approval of the Global Settlement are core proceedings within the meaning of section 157(b)(2) of

the Judicial Code.




                                                  9
            Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 10 of 115




C.     Eligibility for Relief

       4.     The Debtors were at all times during these Chapter 11 Cases and continue to be

entities eligible for relief under section 109 of the Bankruptcy Code, and the Debtors are proper

proponents of the Plan under section 1121(a) of the Bankruptcy Code.

D.     Commencement and Joint Administration of These Chapter 11 Cases

       5.     On the Petition Date, the Debtors commenced these Chapter 11 Cases by Filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. On November 5, 2024,

the Bankruptcy Court entered the Order Authorizing Joint Administration of the Debtors’

Chapter 11 Cases [Docket No. 88] authorizing the joint administration and procedural

consolidation of these Chapter 11 Cases in accordance with Bankruptcy Rule 1015(b). Since the

Petition Date, the Debtors have operated their businesses as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. On January 15, 2025, the Debtors appointed

a fee examiner [Docket No. 747].

E.     Creditors’ Committee Appointment

       6.     On November 19, 2024, the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed an official committee of unsecured creditors (the “Creditors’

Committee”) pursuant to section 1102 of the Bankruptcy Code [Docket No. 188].

F.     Objections

       7.     Any resolution of objections to Confirmation or approval of the Global Settlement

explained on the record at the Confirmation Hearing is hereby incorporated by reference. All

unresolved objections, statements, informal objections, and reservations of rights (except with

respect to unresolved Cure Disputes and objections to the assumption or rejection of Executory

Contracts and Unexpired Leases), if any, related to Confirmation with respect to the Confirmation




                                               10
               Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 11 of 115




Debtors or approval of the Global Settlement with respect to all Debtors are overruled on the

merits.

G.        Plan Supplement

          8.     The documents identified in the Plan Supplement were Filed as required and notice

of such documents was (a) appropriate and satisfactory based upon the circumstances of these

Chapter 11 Cases and (b) in compliance with the provisions of the Plan, the Disclosure Statement

Orders, the Bankruptcy Code, and the Bankruptcy Rules. All parties required to be given notice

of the documents identified in the Plan Supplement have been provided due, proper, timely, and

adequate notice and have had an opportunity to appear and be heard with respect thereto. The

transmittal and notice of the Plan Supplement (and all documents identified in the Plan

Supplement) was appropriate and satisfactory based upon the circumstances of these

Chapter 11 Cases and was conducted in good faith. No other or further notice with respect to the

Plan Supplement (and all documents identified in the Plan Supplement) is necessary or shall be

required. All documents included in the Plan Supplement are integral to, part of, and incorporated

by reference into the Plan. Subject to the terms of the Plan (including the review and consent

rights of certain parties as set forth therein), the Debtors reserve the right to alter, amend, update,

or modify the Plan Supplement before the Effective Date in accordance with the terms of the Plan,

this Confirmation Order, the Sale Order, the Bankruptcy Code, and the Bankruptcy Rules.

H.        Disclosure Statement Orders

          9.     On February 21, 2025, the Bankruptcy Court entered the Disclosure Statement

Order, which, among other things, (a) approved the Disclosure Statement as containing adequate

information within the meaning of section 1125 of the Bankruptcy Code and Bankruptcy

Rule 3017, (b) fixed the Voting Record Date as January 31, 2025, (c) approved the Solicitation

Package and procedures for distribution thereof, (d) approved the form of the Ballots (as defined


                                                  11
              Case 24-12480-LSS      Doc 1596        Filed 06/02/25   Page 12 of 115




in the Disclosure Statement), (e) approved the Voting Procedures, and (f) set the Confirmation

Hearing and established related notice and objection procedures.

        10.     On April 26, 2025, the Bankruptcy Court entered the Disclosure Statement

Supplement Order, which, among other things, (a) approved the Disclosure Statement Supplement,

(b) approved certain modified dates and deadlines, including May 7, 2025, at 5:00 p.m. (prevailing

Eastern Time) as the Objection Deadline and the Voting Deadline, and May 20, 2025, at 10:00

a.m. (prevailing Eastern Time) as the date and time for the Confirmation Hearing, and (c) approved

the distribution of the Supplemental Solicitation Package. The period during which the Debtors

solicited acceptances to the Plan is a reasonable and adequate period of time for Holders of Claims

or Equity Interests in the Voting Classes to have made an informed decision to accept or reject the

Plan.

I.      Solicitation and Notice

        11.     The Plan was solicited in good faith and in compliance with applicable provisions

of the Bankruptcy Code and the Bankruptcy Rules.

        12.     As described in the Voting Report, the Solicitation Package and the Supplemental

Solicitation Package were transmitted and served in compliance with the provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), and the

Disclosure Statement Orders. The solicitation of votes on the Plan complied with the Voting

Procedures, was appropriate and satisfactory based upon the circumstances of these

Chapter 11 Cases, was conducted in “good faith” within the meaning of section 1125(e) of the

Bankruptcy Code, and was in compliance with sections 1125 and 1126 and all other applicable

sections of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and all other applicable

rules, Laws, and regulations.


                                                12
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 13 of 115




       13.     As described in the Voting Report and the Affidavits, all parties required to be given

notice of the Confirmation Hearing (including the deadline for Filing and serving objections to

Confirmation) have been provided due, proper, timely, and adequate notice and have had an

opportunity to appear and be heard with respect thereto. Such notice was adequate and sufficient

pursuant to section 1128 of the Bankruptcy Code, Bankruptcy Rules 2002, 3017, and 3020, and

other applicable Law and rules, and no other or further notice is or shall be required.

J.     Service of Opt-In Form

       14.     The process described in the Voting Report that the Debtors and the Claims Agent

followed to identify the relevant parties on which to serve the applicable Ballot or notice of

non-voting status and Opt-In Form (as defined in the Disclosure Statement) and to distribute the

notice of non-voting status and Opt-In Form (a) is consistent with practices used in other complex

chapter 11 cases and (b) was reasonably calculated to ensure that each Holder of Claims and Equity

Interests in each Class was informed of its ability to opt in to the Third-Party Release and the

ramifications for electing not to timely do so. For the avoidance of doubt, any party that elected

in the Ballot or Opt-In Form to opt in to the Third-Party Release and timely submitted such election

to the Claims Agent in accordance with the Voting Procedures or the notice of non-voting status,

as applicable, prior to any deadline to submit a Ballot, whether under any original or extended

deadline, shall be a Released Party and a Releasing Party under the Plan.

K.     Voting Report

       15.     Prior to the Confirmation Hearing, the Debtors Filed the Voting Report. As set

forth in the Voting Report, the procedures used to tabulate the Ballots were fair, in good faith, and

conducted in accordance with the Disclosure Statement Orders, the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and all other applicable rules, Laws, and regulations.




                                                 13
               Case 24-12480-LSS           Doc 1596         Filed 06/02/25      Page 14 of 115




         16.     As set forth in the Plan, Holders of Claims in Classes 3, 4, 5, 6, 7, 8-A, and 8-B

(collectively, the “Voting Classes”) for each of the Confirmation Debtors were eligible to vote on

the Plan pursuant to the Voting Procedures. In addition, Holders of Claims in Classes 1 and 2 are

Unimpaired and conclusively presumed to have accepted the Plan and, therefore, are not entitled

to vote to accept or reject the Plan. Depending on whether such Claims and Equity Interests are

reinstated or canceled and released without any distribution an account of such Claims or Equity

Interests, Holders of Claims and Equity Interests in Classes 9 and 12 are either Unimpaired or

Impaired and will be either conclusively deemed to have accepted or conclusively deemed to have

rejected the Plan, and in either scenario are not entitled to vote on the Plan. Holders of Claims in

Class 10 are Impaired under the Plan and are conclusively deemed to have rejected the Plan.

         17.     As evidenced by the Voting Report, Class 3 (Prepetition ABL Loan Claims),

Class 4 (Prepetition First Lien Loan Claims), Class 5 (Prepetition Second Lien Loan Claims),

certain subclasses of Class 6 (OpCo General Unsecured Claims), 4 Class 7 (Prepetition HoldCo

Loan Claims), Class 8-A (Freedom HoldCo General Unsecured Claims), and Class 8-B (HoldCo

Receivables General Unsecured Claims) voted to accept the Plan in sufficient number and in a

sufficient amount to constitute accepting Classes.

L.       Bankruptcy Rule 3016

         18.     The Plan is dated and identifies the Entities submitting it, thereby satisfying

Bankruptcy Rule 3016(a). The Debtors appropriately Filed the Disclosure Statement and the Plan

with the Bankruptcy Court, thereby satisfying Bankruptcy Rule 3016(b).



4    Class 6 voted to reject the Plan with respect to Debtor entities American Freight FFO, LLC, American Freight
     Franchising, LLC, American Freight Group, LLC, American Freight Management Company, LLC, American
     Freight Outlet Stores, LLC, Buddy’s Franchising and Licensing LLC, Buddy’s Newco, LLC, American Freight
     Franchisor, LLC, American Freight Holdings, LLC, Franchise Group Intermediate B, LLC, and Franchise Group
     Intermediate Holdco, LLC.




                                                       14
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 15 of 115




M.     Burden of Proof

       19.     The Debtors, as proponents of the Plan and the Global Settlement, have met their

burden of proving the applicable elements of sections 1123, 1129(a), and 1129(b) of the

Bankruptcy Code and Bankruptcy Rule 9019, as applicable, by a preponderance of the evidence

or the applicable evidentiary standard for Confirmation of the Plan (with respect to the

Confirmation Debtors) and approval of the Global Settlement (with respect to all Debtors).

N.     Modifications to the Plan

       20.     Pursuant to section 1127 of the Bankruptcy Code, the modifications to the Plan

after solicitation of the Plan, as reflected in the Plan or in this Confirmation Order (including any

modifications announced on the record of the Confirmation Hearing) (collectively, the “Plan

Modifications”), constitute technical or clarifying changes, changes with respect to particular

Claims by agreement with Holders of such Claims or their authorized representatives, or

modifications that do not otherwise materially and adversely affect or change the treatment of any

other Claim under the Plan. After giving effect to the Plan Modifications, the Plan continues to

satisfy the requirements of sections 1122 and 1123 of the Bankruptcy Code, and notice of the Plan

Modifications was adequate and appropriate under the facts and circumstances of these

Chapter 11 Cases. In accordance with Bankruptcy Rule 3019, the Plan Modifications do not

require additional disclosure under section 1125 of the Bankruptcy Code or the resolicitation of

votes under section 1126 of the Bankruptcy Code, and they do not require that Holders of Claims

be afforded an opportunity to cast new votes on the Plan or change previously cast acceptances or

rejections of the Plan. No Holder of a Claim who has voted to accept the Plan shall be permitted

to change its vote as a consequence of the Plan Modifications. Accordingly, the Plan is properly

before the Bankruptcy Court and all votes cast with respect to the Plan prior to such Plan

Modifications shall be binding and shall apply with respect to the Plan. All Holders of Claims


                                                 15
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 16 of 115




who voted to accept the Plan or who are conclusively presumed to have accepted the Plan are

deemed to have accepted the Plan as modified, revised, supplemented, or otherwise amended, and

all Holders of Claims and Equity Interests who are conclusively deemed to have rejected the Plan

are deemed to have rejected the Plan as modified, revised, supplemented, or otherwise amended.

O.     Approval of the Global Settlement

       21.     The Plan embodies the terms of a global settlement (the “Global Settlement”) by

and among the Debtors (including TopCo), the Creditors’ Committee, the Ad Hoc Group

consisting of Required Consenting First Lien Lenders, and the Freedom Lender Group

(collectively, the “Global Settlement Parties”). The terms of the Global Settlement represent a

good-faith compromise and settlement of numerous issues and disputes between and among the

Global Settlement Parties. Specifically, pursuant to the Global Settlement, all Intercompany

Claims between and among TopCo, the Freedom HoldCo Debtors, the OpCo Debtors, and all other

Debtors shall be settled, waived, and/or released, including but not limited to (a) all Intercompany

Claims by and between the OpCo Debtors, the Freedom HoldCo Debtors, TopCo, and all other

Debtors, (b) the allocation of Professional Fee Claims among the OpCo Debtors, the Freedom

HoldCo Debtors, TopCo, and all other Debtors, and (c) the allocation of approximately $13.25

million in Cash from TopCo to the funding of the Litigation Trust; provided that (without limiting

the releases of the Released Parties) there shall not be any third-party beneficiaries of the

inter-Debtor releases. The release and waiver of Intercompany Claims against TopCo shall not

impair the Litigation Trust’s rights or ability to commence, prosecute, or settle any Permitted

Litigation Claims against any party that is not released under the Plan, including a subsequent

transferee of an Avoidance Action from another Debtor to TopCo. The Global Settlement is

designed to achieve a reasonable, effective, and value-maximizing resolution of the Chapter 11

Cases. Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval, as of


                                                16
               Case 24-12480-LSS           Doc 1596         Filed 06/02/25      Page 17 of 115




the Effective Date, of the Global Settlement pursuant to Bankruptcy Rule 9019 with respect to

each of the Debtors (including TopCo) and, among other things, the full and final settlement and

release of any Claims and Causes of Actions identified in the Freedom HoldCo Independent

Director Report as actionable against any Released Party; provided that the releases of the

individuals identified in the Freedom HoldCo Independent Director Report shall not be construed

to limit the Litigation Trust’s pursuit of the D&O Liability Insurance Policies with respect to

Permitted Litigation Claims. Pursuant to the Global Settlement, TopCo shall transfer or cause to

be transferred, directly or indirectly, the TopCo Cash Allocation (defined in the Plan as all Cash

belonging to TopCo, consisting of approximately $13.25 million) to the Litigation Trust Escrow

Account, and such funds shall vest in the Litigation Trust free and clear of all Claims, Liens,

encumbrances, or interests. Pursuant to the Global Settlement, no Holder of any Claims (if any)

or Equity Interests in TopCo shall have or retain any right, entitlement, or interest to the TopCo

Cash Allocation.

P.       Approval of the New ABL Facility and the Take-Back Debt Facility

         22.      The New ABL Facility and the Take-Back Debt Facility are (a) essential elements

of the Plan, (b) necessary for Confirmation and the consummation of the Plan by the Confirmation

Debtors, and (c) critical to the overall success and feasibility of the Plan and the operations of the

Reorganized Debtors. 5 The economic terms of the New ABL Facility and the Take-Back Debt

Facility are contained in the Plan Supplement. Entry into both the New ABL Facility and the

Take-Back Debt Facility is in the best interests of the Debtors, their Estates, and all Holders of

Claims or Equity Interests.          The Debtors have exercised reasonable business judgment in

determining to enter into both the New ABL Facility and the Take Back Debt Facility and have


5    TopCo shall not be a Reorganized Debtor for purposes of this Confirmation Order.




                                                       17
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25     Page 18 of 115




provided sufficient and adequate notice of the material terms of the New ABL Facility and the

Take-Back Debt Facility in the Plan Supplement. The terms and conditions of the New ABL

Facility and the Take-Back Debt Facility, as described in the Plan Supplement, are fair and

reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with fiduciary

duties, are supported by reasonably equivalent value and fair consideration, and have been

negotiated in good faith and at arm’s length. Any credit extended, loans made or deemed made,

Liens granted, or fees paid or to be paid pursuant to the New ABL Facility and the Take-Back

Debt Facility, as applicable, are deemed to have been extended, issued, granted, and made or

deemed made in good faith and for legitimate business purposes, shall not be subject to

recharacterization for any purposes whatsoever, and shall not constitute preferential transfers,

fraudulent conveyances, or other avoidable transfers under the Bankruptcy Code or any other

applicable non-bankruptcy Law. Each party to the New ABL Facility and the Take-Back Debt

Facility, as applicable, may rely upon the provisions of this Confirmation Order in closing the New

ABL Facility and the Take-Back Debt Facility, as applicable.

Q.     Issuance of Reorganized Common Equity

       23.     On the Effective Date, subject to the terms and conditions of the Plan, New TopCo

shall be authorized to issue the Reorganized Common Equity to Holders of Prepetition First Lien

Loan Claims, Holders of Allowed Prepetition Second Lien Loan Claims, and certain Holders of

DIP Claims, pursuant to the terms and conditions of the Plan, the New Organizational Documents,

and the DIP Credit Agreement, which terms shall be deemed valid, binding, and enforceable

against each Entity receiving Reorganized Common Equity.              The issuance of Reorganized

Common Equity pursuant to the Plan is authorized without the need for further limited liability

company or corporate action and without any further action by any Holder of a Claim or Equity

Interest, and all of the Reorganized Common Equity issued or issuable pursuant to the Plan shall


                                                18
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 19 of 115




be duly authorized, validly issued, fully paid, and nonassessable, shall not be subject to

recharacterization for any purposes whatsoever, and shall not constitute preferential transfers,

fraudulent conveyances, or other avoidable transfers under the Bankruptcy Code or any other

applicable non-bankruptcy Law. Each distribution and issuance referred to in Article VII of the

Plan shall be governed by the terms and conditions set forth in the Plan applicable to such

distribution or issuance and by the terms and conditions of the instruments evidencing or relating

to such distribution or issuance, including the New Organizational Documents. Any Entity’s

acceptance of Reorganized Common Equity shall be deemed as its agreement to the New

Organizational Documents, as the same may be amended or modified from time to time following

the Effective Date in accordance with their terms.

R.     Litigation Trust

       24.     As set forth in Section 7.10 of the Plan, in connection with and pursuant to the

Global Settlement, on the Effective Date of the Confirmation Debtors, (a) the applicable

Confirmation Debtors shall execute the Litigation Trust Agreement and shall take such steps as

necessary to establish the Litigation Trust in accordance with the terms of the Plan (including the

Plan Supplement and the Litigation Trust Agreement contained therein) and the beneficial interests

therein shall be for the benefit of (i) Holders of Allowed Prepetition First Lien Loan Claims,

(ii) Holders of Allowed Prepetition Second Lien Loan Claims, (iii) Holders of Allowed OpCo

General Unsecured Claims, (iv) Holders of Allowed Freedom HoldCo General Unsecured Claims,

and (v) Holders of Allowed Prepetition HoldCo Loan Claims, with each such party being a

beneficiary of the Litigation Trust, and (b) the applicable Debtors, including TopCo, shall

irrevocably transfer, cause to be transferred, and shall be deemed to have irrevocably transferred,

all of their rights, title and interest in the Litigation Trust Assets to the Litigation Trust for the

benefit of all beneficiaries of the Litigation Trust in accordance with the terms of the Plan, the


                                                 19
             Case 24-12480-LSS        Doc 1596         Filed 06/02/25   Page 20 of 115




Litigation Trust Agreement, and the Global Settlement. Pursuant to the Global Settlement, TopCo

shall transfer or cause to be transferred to the Litigation Trust, directly or indirectly, the TopCo

Cash Allocation, which amount shall be funded by TopCo to the Litigation Trust Escrow Account

and vest in the Litigation Trust free and clear of all Claims, Liens, encumbrances, or interests.

Pursuant to sections 363 and 1141 of the Bankruptcy Code, as applicable, and Bankruptcy Rule

9019, such Litigation Trust Assets shall automatically vest in the Litigation Trust free and clear of

all Claims, Liens, encumbrances, or interests, except as otherwise set forth in the Plan or the

Litigation Trust Agreement.

       25.     The (a) establishment, purpose, and administration of the Litigation Trust,

(b) appointment, rights, and powers, of the Litigation Trustee and the Litigation Trust Advisory

Board, and (c) treatment of the Litigation Trust for federal income tax purposes, among other

things, shall be governed by the Litigation Trust Agreement. On and after the Effective Date, the

Litigation Trustee shall be authorized, in accordance with the terms of the Plan and the Litigation

Trust Agreement, to take such other actions as may be necessary or desirable to make any

distributions on account of any Litigation Trust Assets. The granting of the Litigation Trust Units

shall not be subject to recharacterization for any purposes whatsoever, and shall not constitute

preferential transfers, fraudulent conveyances, or other avoidable transfers under the Bankruptcy

Code or any other applicable non-bankruptcy Law. The Litigation Trustee, in consultation with

the Litigation Trust Advisory Board, shall have the sole discretion with respect to the prosecution,

funding, and settlement or other resolution of the Permitted Litigation Claims and the distribution

of property of the Litigation Trust, subject to the Litigation Trust Units Allocations and the terms

of the Plan and the Litigation Trust Agreement.




                                                  20
               Case 24-12480-LSS       Doc 1596        Filed 06/02/25    Page 21 of 115




       26.       To the extent that any Litigation Trust Assets cannot be transferred to the Litigation

Trust because of a restriction on transferability under applicable non-bankruptcy Law that is not

superseded or preempted by section 1123 of the Bankruptcy Code or any other provision of the

Bankruptcy Code, such Litigation Trust Assets shall be deemed to have been retained by the

Reorganized Debtors on behalf of the Litigation Trust. The Litigation Trustee shall be deemed to

have been designated as a representative of the Reorganized Debtors pursuant to

section 1123(b)(3)(B) of the Bankruptcy Code to enforce and pursue such Litigation Trust Assets

on behalf of the Reorganized Debtors for the benefit of the Litigation Trust Beneficiaries, including

any Litigation Trust Assets deemed to have been retained by the Reorganized Debtors on behalf

of the Litigation Trust until such transfer restrictions are removed or the Reorganized Debtors

receive or become entitled to receive the net proceeds of such Litigation Trust Assets that can be

distributed.

S.     Compliance with the Bankruptcy Code (11 U.S.C. § 1127)

       27.       The Debtors have complied with section 1127 of the Bankruptcy Code with respect

to the Plan. The requirements of section 1127 of the Bankruptcy Code have been satisfied.

T.     Plan Compliance with the Bankruptcy Code (11 U.S.C. § 1129)

       28.       The Plan complies with all applicable provisions of section 1129 of the

Bankruptcy Code except as set forth herein with respect to TopCo.

       a)        Compliance with Applicable Provisions of the Bankruptcy Code (11 U.S.C.
                 § 1129(a)(1)).

       29.       The Plan complies with all applicable provisions of the Bankruptcy Code as

required by section 1129(a)(1) of the Bankruptcy Code, including sections 1122 and 1123 of the

Bankruptcy Code. In addition, the Plan is dated and identifies the Entities submitting it, thereby

satisfying Bankruptcy Rule 3016(a).



                                                  21
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 22 of 115




               i)      Proper Classification (11 U.S.C. §§ 1122 and 1123(a)(1)).

       30.     The Plan satisfies sections 1122 and 1123(a)(1) of the Bankruptcy Code, and the

classification of Claims and Equity Interests under the Plan is proper under the Bankruptcy Code.

Article IV of the Plan provides for the separate classification of Claims and Equity Interests into

14 Classes based on differences in the legal nature or priority of such Claims and Equity Interests

(other than DIP Claims, Administrative Expense Claims, Professional Fee Claims, U.S. Trustee

Fees, and Priority Tax Claims, each of which are addressed in Article III of the Plan and are not

required to be designated as separate Classes pursuant to section 1123(a)(1) of the Bankruptcy

Code). Valid business, factual, and legal reasons exist for the separate classification of the various

Classes of Claims and Equity Interests created under the Plan. The classifications were not

promulgated for any improper purpose, and the creation of such Classes does not unfairly

discriminate between or among Holders of Claims or Equity Interests. In accordance with

section 1122(a) of the Bankruptcy Code, each Class of Claims and Equity Interests contains only

Claims or Equity Interests that are substantially similar to the other Claims or Equity Interests

within that Class. The Plan, therefore, satisfies the requirements of sections 1122(a), 1122(b), and

1123(a)(1) of the Bankruptcy Code.

               ii)     Specified Unimpaired and Impaired Classes (11 U.S.C. §§ 1123(a)(2)
                       and 1123(a)(3)).

       31.     The Plan satisfies sections 1123(a)(2) and 1123(a)(3) of the Bankruptcy Code.

Article IV of the Plan specifies that Claims in Classes 1 and 2 are Unimpaired. Article IV of the

Plan also specifies the treatment of each Impaired Class under the Plan with respect to the

Confirmation Debtors, which are Classes 3, 4, 5, 6, 7, 8-A, 8-B, and 10. Holders of Claims in

Class 10 are Impaired under the Plan and are conclusively deemed to have rejected the Plan.

Holders of Claims and Equity Interests in Classes 9 and 12 are deemed to have accepted or deemed



                                                 22
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 23 of 115




to have rejected the Plan depending on whether such Claims and Equity Interests are reinstated or

canceled and released without any distribution an account of such Claims or Equity Interests.

               iii)   No Discrimination (11 U.S.C. § 1123(a)(4)).

       32.     The Plan satisfies the requirements of section 1123(a)(4) of the Bankruptcy Code.

Article IV of the Plan provides the same treatment for each Claim or Equity Interest within a

particular Class unless the Holder of a particular Claim or Equity Interest has agreed to a less

favorable treatment with respect to such Claim or Equity Interest. Accordingly, the Plan satisfies

the requirements of section 1123(a)(4) of the Bankruptcy Code.

               iv)    Implementation of the Plan (11 U.S.C. § 1123(a)(5)).

       33.     The provisions of the Plan, including Article VII thereof, together with the exhibits

and attachments thereto (including the Plan Supplement), satisfy the requirements of

section 1123(a)(5) of the Bankruptcy Code and provide in detail the adequate and proper means

for the implementation of the Plan, including, among other things: (a) the good faith compromise

and settlement of Claims and Equity Interests in connection with the Global Settlement; (b) the

authorization for the Debtors, the Reorganized Debtors, or New TopCo, as applicable, to take all

actions necessary to effectuate the Plan and the Restructuring Transactions, including, without

limitation, the Plan Equitization Transaction and the Partial Sale Transaction; (c) the funding and

sources for distributions under the Plan, including Cash; (d) the consummation of the New ABL

Facility; (e) the consummation of the Take-Back Debt Facility; (f) the issuance and distribution of

Reorganized Common Equity; (g) the adoption of the New Organizational Documents; (h) the

consummation of various corporate or other similar transaction steps necessary to implement the

new corporate and organizational structure upon emergence; (i) the formation of the Litigation

Trust, the execution of the Litigation Trust Agreement, the appointment of the Litigation Trustee

and the Litigation Trust Advisory Board, and the transfer of the Litigation Trust Assets, including


                                                23
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 24 of 115




the Permitted Litigation Claims and the Litigation Trust Escrow Amount, to the Litigation Trust

(including the transfer by TopCo of the TopCo Cash Allocation to the Litigation Trust pursuant to

the Global Settlement); (j) the authorization, approval, and entry into corporate actions under the

Plan; (k) the creation of the Professional Fee Escrow Account; (l) the appointment of the New

Boards; (m) the preservation and vesting of the Reorganized Debtors’ Retained Causes of Action

in the Reorganized Debtors; (n) the preservation of the D&O Liability Insurance Policies in

accordance with the terms set forth in the Plan; (o) except as otherwise set forth in the Plan, the

continued corporate existence of the Debtors; (p) the cancellation of existing agreements and

Equity Interests; (q) the assumption of certain employment obligations; and (r) the effectuation

and implementation of further transactions contemplated by the Plan, including as may be

necessary or appropriate to Reinstate Claims or Equity Interests or render Claims or Equity

Interests Unimpaired, as provided for under the Plan. In addition to these core transactions, the

Plan sets forth the other critical mechanics of the Debtors’ emergence, such as the vesting of Estate

assets of the Confirmation Debtors in the Reorganized Debtors, the assumption of Executory

Contracts and Unexpired Leases, and the settlement of certain Claims and Equity Interests. The

precise terms governing the execution of certain of these transactions are set forth in the applicable

Definitive Documents or forms of agreements included in the Plan Supplement. Accordingly, the

Plan satisfies the requirements of section 1123(a)(5) of the Bankruptcy Code.

               v)      Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)).

       34.     The Plan satisfies the requirements of section 1123(a)(6) of the Bankruptcy Code

because Article VII of the Plan and the New Organizational Documents prohibit the issuance of

new non-voting equity securities to the extent prohibited under section 1123(a)(6) of the

Bankruptcy Code and provide for an appropriate distribution of voting power among the classes

of securities possessing voting power. To the extent the beneficial interests in the Litigation Trust


                                                 24
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 25 of 115




are deemed to be “securities” as defined in section 2(a)(1) of the Securities Act, section 101 of the

Bankruptcy Code, and applicable state securities Laws, such beneficial interests shall not be

non-voting equity securities.        Accordingly, the Plan satisfies the requirements of

section 1123(a)(6) of the Bankruptcy Code.

               vi)     Designation of Directors and Officers (11 U.S.C. § 1123(a)(7)).

       35.     The Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy Code.

Article VII of the Plan provides that, as of the Effective Date, the members of each of the Debtors’

existing boards shall be deemed to have resigned from such board, and all of the initial members

of the New Boards shall be appointed in accordance with the New Organizational Documents.

The initial members of the New Boards were identified in Exhibit A of the Plan Supplement

[Docket No. 1518]. Each such member of the New Boards shall serve from and after the Effective

Date pursuant to the terms of the applicable New Organizational Documents or the applicable

Organizational Documents of such Reorganized Debtor or New TopCo, as applicable, and may be

replaced or removed in accordance therewith, as applicable.

       36.     The foregoing manner of selection of the officers, directors, or trustees (or any

successor of any officer, director, or trustee) of the Reorganized Debtors is consistent with the

interests of all Holders of Claims and Equity Interests and with public policy. Accordingly, the

Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy Code.

               vii)    Discretionary Contents of the Plan (11 U.S.C. § 1123(b)).

       37.     The Plan satisfies the requirements of section 1123(b) of the Bankruptcy Code. The

other provisions of the Plan are appropriate and consistent with the applicable provisions of the

Bankruptcy Code.




                                                 25
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 26 of 115




                       (a)     Executory Contracts         and    Unexpired     Leases    (11 U.S.C.
                               § 1123(b)(2)).

       38.     Pursuant to sections 365 and 1123(b)(2) of the Bankruptcy Code, upon the

occurrence of the Effective Date, Article X of the Plan provides that any Executory Contracts and

Unexpired Leases of the Confirmation Debtors (a) not previously assumed, (b) not previously

assumed and assigned in accordance with the Sale Order or other order approving such assumption

and assignment, (c) not previously rejected pursuant to an order of the Bankruptcy Court, and

(d) identified on the Assumed Contracts List will be assumed effective as of the Effective Date

pursuant to sections 365 and 1123 of the Bankruptcy Code and the Confirmation Order, except

any Executory Contract or Unexpired Lease (i) identified on the Rejected Contracts/Lease List,

(ii) that is the subject of (A) a separate motion or notice to reject, assume, or assume and assign or

a Cure Dispute that is pending as of the Confirmation Date or (B) an order of the Bankruptcy Court

that is not yet a Final Order, (iii) that previously expired or terminated pursuant to its own terms

(disregarding any terms the effect of which is invalidated by the Bankruptcy Code), (iv) of the

American Freight Debtors that is not otherwise assumed or included on the Assumed Contracts

List, (v) that relates to the Vitamin Shoppe Debtors, and is not otherwise assumed pursuant to the

Sale Order or included on the Assumed Contracts List, or (vi) of Franchise Group, Inc. that is not

otherwise assumed, assumed and assigned, or included on the Assumed Contracts List. For the

avoidance of doubt, except as otherwise set forth in the Plan or as included on the Assumed

Contracts List, all Executory Contracts and Unexpired Leases of the American Freight Debtors,

Franchise Group, Inc., and the Vitamin Shoppe Debtors shall be rejected as of the Effective Date.

       39.     To the extent assumption has not already occurred, the Assumed Contracts to be

assumed and assigned in connection with the Partial Sale Transaction will be assumed (unless




                                                 26
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 27 of 115




previously assumed pursuant to a separate order of the Bankruptcy Court) and assigned to the

Buyer pursuant to the Sale Order in accordance with the applicable Sale Documents.

       40.     Notwithstanding anything to the contrary in the Plan and in the Restructuring

Support Agreement, except as otherwise agreed to by the Confirmation Debtors and any applicable

counterparty to an Unexpired Lease, the Confirmation Debtors or the Reorganized Debtors, as

applicable, subject to the Definitive Document Consent Rights, reserve the right to amend or

supplement the Rejected Contracts/Lease List in their discretion prior to the later of (a) the

Effective Date and (b) seven (7) days after the date on which the Bankruptcy Court determines

that, with respect to an Executory Contract subject to a Cure Dispute, the Allowed Cure Cost with

respect to any Executory Contract or Unexpired Lease is greater than the amount set forth in the

Assumed Contracts List (or, in either case, such later date as may be agreed with a counterparty);

provided that the Confirmation Debtors shall give prompt notice of any such amendment or

supplement to any affected counterparty and such counterparty shall have a reasonable opportunity

to object thereto on any grounds.

       41.     Neither the exclusion nor inclusion of any contract or lease in the Rejected

Contracts/Lease List or Assumed Contracts List, as applicable, nor anything contained in the Plan

or the Sale Documents, nor the Confirmation Debtors’ delivery of a notice of the proposed

assumption and proposed Cure Cost to any contract and lease counterparties set forth in the

Assumed Contracts List (which was Filed with the Plan Supplement), shall constitute an admission

by the Confirmation Debtors that any such contract or lease is in fact an Executory Contract or

Unexpired Lease or that any Reorganized Debtor has any liability thereunder. If there is a dispute

regarding whether a contract or lease is or was executory or unexpired at the time of assumption

or rejection, the Confirmation Debtors or Reorganized Debtors, as applicable, shall have forty-five




                                                27
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 28 of 115




(45) days following entry of a Final Order resolving such dispute to alter their treatment of such

contract or lease. If there is a dispute regarding a Confirmation Debtor’s or Reorganized Debtor’s

liability under an assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall

be authorized to move to have such dispute heard by the Bankruptcy Court pursuant to Article XIII

of the Plan. If the Bankruptcy Court determines that the Allowed Cure Cost with respect to any

Executory Contract or Unexpired Lease is greater than the amount set forth in the Assumed

Contracts List, the Confirmation Debtors shall have the right to reject such Executory Contract or

Unexpired Lease, in which case such Executory Contract or Unexpired Lease will be deemed

rejected as of the Effective Date subject to the applicable counterparty’s right to object to such

rejection.

       42.     The Debtors’ determinations regarding the assumption or rejection of Executory

Contracts and Unexpired Leases are based on and within the sound business judgment of the

Debtors, are necessary to the implementation of the Plan, and are in the best interests of the

Debtors, their Estates, Holders of Claims or Equity Interests, and other parties in interest in these

Chapter 11 Cases.

       43.     For the avoidance of doubt, nothing herein shall alter or modify TopCo’s rights to

assume, assume and assign, or reject any Executory Contracts of TopCo (if any) pursuant to

section 365(a) of the Bankruptcy Code.

                       (b)    Settlement, Releases, Exculpation, Injunction, and Preservation
                              of Claims and Causes of Action (11 U.S.C. § 1123(b)(3)).

       44.     Compromise and Settlement. Pursuant to Bankruptcy Rule 9019 and section

1123 of the Bankruptcy Code, as applicable, and in consideration for the distributions and other

benefits provided under the Plan, the provisions of the Plan constitute a good faith compromise

and settlement of all Claims, Equity Interests, Causes of Action, or controversies (a) belonging to



                                                 28
              Case 24-12480-LSS         Doc 1596     Filed 06/02/25   Page 29 of 115




the Debtors or the Debtors’ Estates as set forth in the Plan (including, for the avoidance of doubt,

TopCo) and (b) by and among the Debtors, the Creditors’ Committee, the Freedom Lender Group,

the DIP Lenders, and the Ad Hoc Group consisting of Required Consenting First Lien Lenders.

The Plan shall be deemed a motion to approve the good faith compromise and settlement of all

such Claims, Equity Interests, Causes of Action, and controversies belonging to the Debtors or the

Debtors’ Estates pursuant to section 1123 of the Bankruptcy Code and, with respect to the Global

Settlement by and among the Global Settlement Parties (including, for the avoidance of doubt,

TopCo), pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code. The entry

of this Confirmation Order will constitute the Bankruptcy Court’s approval, as of the Effective

Date of the Confirmation Debtors, of the compromise or settlement of all such Claims (including

all Intercompany Claims held by and among TopCo and all other Debtors), Equity Interests,

Causes of Action (including all Causes of Action held by and among TopCo and the other Global

Settlement Parties), or controversies, and the Bankruptcy Court’s finding that all such

compromises or settlements are: (i) in the best interest of the Debtors, the Reorganized Debtors,

and their respective Estates, as applicable, and of Holders of Claims or Equity Interests; and

(ii) fair, equitable, and reasonable.

        45.     Approval of the Global Settlement.          Based upon the representations and

arguments of counsel to the Debtors and all other testimony either actually given or proffered and

other evidence introduced at the Confirmation Hearing and the full record of these Chapter

11 Cases, this Confirmation Order constitutes the Bankruptcy Court’s approval of the Global

Settlement embodied in the Plan and this Confirmation Order (including, for the avoidance of

doubt, with respect to TopCo and the mutual release of the Global Settlement Parties contemplated

therein), because, among other things: (a) the Global Settlement reflects a reasonable balance




                                                29
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 30 of 115




between the possible success of litigation with respect to each of the settled claims and disputes,

on the one hand, and the benefits of fully and finally resolving such claims and disputes, including

with respect to TopCo, and allowing the Debtors to expeditiously exit chapter 11, on the other

hand; (b) absent the Global Settlement, there is a likelihood of complex and protracted litigation

involving the attendant expense, inconvenience, and delay that have a possibility to derail the

Debtors’ chapter 11 objectives and efforts; (c) each of the parties supporting the Global Settlement

is represented by counsel that is recognized as being knowledgeable, competent, and experienced;

(d) the Global Settlement is the product of arm’s-length bargaining and good-faith negotiations

between sophisticated parties; and (e) the Global Settlement is fair, equitable, reasonable, and in

the best interests of the Debtors, the Reorganized Debtors, their respective Estates and property,

creditors, and other parties in interest, will maximize the value of the Estates, and are essential to

the successful implementation of the Plan. Based on the foregoing, the Global Settlement satisfies

the requirements of applicable Third Circuit law for approval of settlements and compromises

pursuant to Bankruptcy Rule 9019.

       46.     Debtor Release. Consistent with sections 157 and 1334(a) and (b) of title 28 of

the United States Code, and sections 105(a), 1123(b)(3), and 1123(b)(6) of the Bankruptcy Code,

the Bankruptcy Court has jurisdiction and constitutional adjudicatory authority to approve the

release set forth in Section 12.2 of the Plan (the “Debtor Release”). The Debtor Release is an

essential component of the Plan. The scope of the Debtor Release is appropriately tailored under

the facts and circumstances of these Chapter 11 Cases. The Debtor Release is given and made

after due notice and opportunity for hearing. The Debtor Release is approved.

       47.     The Debtor Release represents a valid exercise of the Debtors’ business judgment

and is the result of good-faith, arm’s-length negotiations between sophisticated parties that had




                                                 30
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 31 of 115




representation from able counsel and advisors. The Debtor Release was critical to obtaining

support for the Plan and the Global Settlement contained therein.             The Debtor Release

appropriately offers protection to parties that participated in the Debtors’ chapter 11 process, and

such participation in these Chapter 11 Cases is critical to the Debtors’ successful emergence from

chapter 11. For instance, the Debtors’ current directors, officers, and other agents retained as of

the Confirmation Date, as well as the creditors’ professionals and other agents, have been

instrumental in negotiating, formulating, and implementing the Restructuring Transactions

contemplated under the Plan, including the Global Settlement embodied therein.

       48.     Each of the Released Parties share a common goal with the Debtors in seeing the

Plan confirmed and implementing the transactions contemplated thereby. The record shows that

the releases relating to the Debtors’ current and former directors, officers, and managers (except

for any of the Debtors’ former directors, officers, or managers who are Excluded Parties) are

appropriate because the Debtors’ directors, officers, and managers share an identity of interest with

the Debtors, have supported and made substantial contributions to the success of the Plan and these

Chapter 11 Cases, and because the Debtors will assume certain indemnification obligations of

certain of the foregoing parties under the Plan that will be honored by the Reorganized Debtors in

accordance with the terms of the Plan.        The evidence, including the Meyer Confirmation

Declaration and the Wartell Confirmation Declaration, establishes that the Debtors conducted a

thorough analysis of the Claims and Causes of Action in determining to grant the Debtor Release,

and that the Debtors have satisfied the business judgment standard in granting the Debtor Release

under the Plan.

       49.     Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval,

pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the




                                                 31
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 32 of 115




related provisions and definitions contained in the Plan, and further, shall constitute the

Bankruptcy Court’s finding that the Debtor Release is: (a) in exchange for the good and valuable

consideration provided by the Released Parties; (b) a good faith settlement and compromise of the

Claims released by the Debtor Release; (c) in the best interests of the Debtors, the Reorganized

Debtors, and all Holders of Claims and Equity Interests; (d) fair, equitable, and reasonable;

(e) given and made after reasonable investigation by the Debtors and after notice and opportunity

for hearing; (f) appropriately tailored under the facts and circumstances of these Chapter 11 Cases;

and (g) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates asserting any

Claim or Cause of Action released pursuant to the Debtor Release.

       50.     Releases by Holders of Claims and Equity Interests.                  Consistent with

(a) sections 157 and 1334(a) and (b) of title 28 of the United States Code and sections 105(a),

1123(b)(3), and 1123(b)(6) of the Bankruptcy Code, the Bankruptcy Court has jurisdiction and

constitutional adjudicatory authority to approve the release set forth in Section 12.3 of the Plan

(the “Third-Party Release”). The Third-Party Release (solely with respect to the Releasing Parties)

is given and made after due notice and opportunity for hearing.           The Third-Party Release

is approved solely with respect to the Confirmation Debtors.

       51.     The Third-Party Release (solely with respect to the Releasing Parties) is consensual

with respect to the Releasing Parties. The Ballots sent to all Holders of Claims and Equity Interests

entitled to vote, the non-voting status notices and Opt-In Forms sent to Holders of Claims and

Equity Interests not entitled to vote, and the Confirmation Hearing Notice sent to parties in interest

unambiguously provided in bold letters that the Third-Party Release was contained in the Plan.

Additionally, Holders of Claims or Equity Interests who elected to grant the Third-Party Release

demonstrated their affirmative consent by returning, as applicable, an Opt-In Form or Ballot with




                                                 32
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 33 of 115




the optional box checked to indicate that such Holder wishes to grant such Third-Party Release.

Such parties in interest were provided due and adequate notice of these Chapter 11 Cases, the Plan,

the Third-Party Release, the deadline to object to Confirmation of the Plan, the opportunity to opt

in to the Third-Party Release, the opportunity to object to the Plan and the Third-Party Release

contained therein, and were properly informed that Holders of Claims against or Equity Interests

in the Debtors were being given the opportunity to opt in to the release of all Claims and Cause of

Action against the Debtors and the Released Parties. Additionally, the release provisions of the

Plan were conspicuous and emphasized with boldface type in the Plan, the Disclosure Statement,

the Ballots, the non-voting status notices, and the Opt-In Forms. Thus, the Third-Party Release is

consensual as to those Releasing Parties that did not specifically and timely object.

       52.     Exculpation. Consistent with (a) sections 157 and 1334(a) and (b) of title 28 of

the United States Code and sections 105(a), 1123(b)(3), and 1123(b)(6) of the Bankruptcy Code,

the Bankruptcy Court has jurisdiction and authority to approve the exculpation set forth in

Section 12.4 of the Plan (the “Exculpation”). The Exculpation is an integral part of the Debtors’

overall restructuring efforts and is an essential element of the Plan. The evidence before the

Bankruptcy Court demonstrates that the Exculpation was critical to the parties’ willingness to

support the Debtors’ chapter 11 efforts, these parties would not have been so inclined to participate

in the Plan process without the promise of exculpation, and such parties did so in reliance upon

the protections afforded in the Exculpation. The Exculpation appropriately affords protection to

the Exculpated Parties who constructively participated in and contributed to the Debtors’ chapter

11 process consistent with their duties under the Bankruptcy Code, and it is appropriately tailored

to protect the Exculpated Parties from inappropriate litigation.




                                                 33
             Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 34 of 115




       53.     Discharge of Claims and Termination of Equity Interests. Except as otherwise

provided for in the Plan, effective as of the Effective Date of the Confirmation Debtors, with

respect to the Non-Liquidating Debtors that constitute Confirmation Debtors: (a) the rights

afforded in the Plan and the treatment of all Claims and Equity Interests (other than any Existing

Intercompany Equity Interests that are Reinstated thereunder) shall be in exchange for and in

complete satisfaction, discharge, and release of all Claims and Equity Interests of any nature

whatsoever, including any interest accrued on such Claims from and after the Petition Date, against

the Debtors or any of their assets, property or Estates; (b) the Plan shall bind all Holders of Claims

and Equity Interests, notwithstanding whether any such Holders failed to vote to accept or reject

the Plan or voted to reject the Plan; (c) all Claims and Equity Interests (other than any Existing

Intercompany Equity Interests that are Reinstated thereunder) shall be satisfied, discharged, and

released in full, and the Confirmation Debtors’ liability with respect thereto shall be extinguished

completely, including any liability of the kind specified under section 502(g) of the Bankruptcy

Code; and (d) all Entities shall be precluded from asserting against the Confirmation Debtors, the

Confirmation Debtors’ Estates, the Reorganized Debtors, their successors and assigns, and their

assets and properties any other Claims or Equity Interests based upon any documents, instruments,

or any act or omission, transaction, or other activity of any kind or nature that occurred prior to the

Effective Date. In accordance with section 1141(d)(3) of the Bankruptcy Code, the Plan does not

discharge the American Freight Debtors and the Vitamin Shoppe Debtors.

       54.     Injunction. Section 105(a) and sections 1123(b)(3) and (b)(6) of the Bankruptcy

Code permit issuance of the injunction provisions set forth in Section 12.6 of the Plan (collectively,

the “Injunction”), and are within the jurisdiction of this Bankruptcy Court under sections 1334(a),

1334(b), and 1334(d) of the Judicial Code. The Injunction is essential to the Plan and is necessary




                                                  34
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 35 of 115




to implement the Plan and to preserve and enforce the Debtor Release, the Third-Party Release

(solely with respect to the Releasing Parties), and the Exculpation provisions in Article XII of the

Plan. The Injunction is appropriately tailored to achieve those purposes.

       55.     Setoffs and Recoupment. Except as otherwise provided in the Plan or in the Plan

Supplement, each Reorganized Debtor, pursuant to the Bankruptcy Code (including section 553

thereof), applicable bankruptcy or non-bankruptcy Law, or as may be agreed to by the Holder of

an Allowed Claim, may set off or recoup against any Allowed Claim and the distributions to be

made pursuant to the Plan on account of such Allowed Claim, any claims, rights, and Causes of

Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the Holder

of such Allowed Claim, to the extent such claims, rights, or Causes of Action have not been

otherwise compromised or settled on or prior to the Effective Date (whether pursuant to the Plan,

a Final Order or otherwise); provided that neither the failure to effect such a setoff or recoupment

nor the allowance of any Claim pursuant to the Plan shall constitute a waiver or release by the

applicable Reorganized Debtor, of any such claims, rights, and Causes of Action. In no event shall

any Holder of a Claim be entitled to recoup such Claim against any claim, right, or Causes of

Action of the Debtors, the Reorganized Debtors, or the Litigation Trust, as applicable, unless such

Holder actually has performed such recoupment and provided notice thereof in writing to the

Debtors on or before the Effective Date, notwithstanding any indication in any Proof of Claim or

Proof of Equity Interest or otherwise that such Holder asserts, has, or intends to preserve any right

of recoupment.

       56.     Notwithstanding any provisions to the contrary in the Plan, the Plan Supplement,

or this Confirmation Order, all setoff rights of counterparties to Assumed Contracts and/or their

Affiliates, if available under applicable Law and the Assumed Contract, are fully preserved,




                                                 35
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 36 of 115




including, but not limited to: (a) the ability, if any, of such parties to setoff or recoup a security

deposit held pursuant to the terms of their Assumed Contract with the Confirmation Debtors, or

any successors to the Confirmation Debtors, under the Plan; (b) assertion of rights of setoff or

recoupment, if any, in connection with Claims reconciliation; or (c) assertion of rights of setoff or

recoupment, if any, as a defense to any Claim.

       57.     Release of Liens. Except as otherwise provided in the Plan, this Confirmation

Order, or in any contract, instrument, release, or other agreement or document amended or created

pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made

pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of the portion of the

Secured Claim that is Allowed as of the Effective Date, except for Other Secured Claims that the

Debtors elect to Reinstate in accordance with the Plan, all mortgages, deeds of trust, Liens, pledges,

or other security interests against any property of the Confirmation Debtors’ Estates shall be fully

released and discharged, and all of the right, title, and interest of any Holder of such mortgages,

deeds of trust, Liens, pledges, or other security interests shall revert to the applicable Reorganized

Debtor and its successors and assigns. Any Holder of a Secured Claim (and the applicable agents

for such Holder) shall be authorized and directed, at the sole cost and expense of the Reorganized

Debtors, to release any Collateral or other property of any Debtor (including any cash collateral

and possessory collateral) held by such Holder (and the applicable agents for such Holder), and to

take such actions as may be reasonably requested by the Reorganized Debtors to evidence the

release of such Liens and/or security interests, including the execution, delivery, and Filing or

recording of such releases. The presentation or Filing of this Confirmation Order to or with any

federal, state, provincial, or local agency, records office, or department shall constitute good and

sufficient evidence of, but shall not be required to effect, the termination of such Liens.




                                                 36
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 37 of 115




       58.      To the extent that any Holder of a Secured Claim that has been satisfied or

discharged in full pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly

any Liens and/or security interests to secure such Holder’s Secured Claim, then as soon as

practicable on or after the Effective Date, such Holder (or the agent for such Holder) shall take

any and all steps requested by the Debtors, the Reorganized Debtors, or any administrative agent,

collateral agent, or indenture trustee under any Take-Back Debt Facility (at the expense of the

Debtors or the Reorganized Debtors, as applicable) that are necessary or desirable to record or

effectuate the cancellation and/or extinguishment of such Liens and/or security interests, including

the making of Uniform Commercial Code termination statements, deposit account control

agreement terminations, and any other applicable filings or recordings, and the Reorganized

Debtors shall be entitled to file Uniform Commercial Code terminations or to make any other such

filings or recordings on such Holder’s behalf.

   viii.     Additional Plan Provisions (11 U.S.C. § 1123(b)(6))

       59.      The other discretionary provisions of the Plan, including the Plan Supplement, are

appropriate and consistent with the applicable provisions of the Bankruptcy Code, thereby

satisfying section 1123(b)(6) of the Bankruptcy Code.

     ix.     Cure of Defaults (11 U.S.C. § 1123(d)).

       60.      Article X of the Plan provides for the satisfaction of Cure Costs associated with

each Executory Contract and Unexpired Lease to be assumed in accordance with section 365(b)(1)

of the Bankruptcy Code. Except to the extent that less favorable treatment has been agreed to by

the non-Debtor party or parties to each such Executory Contract or Unexpired Lease to be assumed

or assumed and assigned pursuant to the Plan (it being understood that the terms of any Sale

Documents and the Sale Order shall govern the cure of defaults, assumption and assignment, and

compliance with section 365 of the Bankruptcy Code with respect to any Executory Contracts or


                                                 37
             Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 38 of 115




Unexpired Leases assumed and assigned pursuant to such Sale Documents and Sale Order), the

Debtors shall pay any Cure Costs, if monetary, in full in Cash either (a) on the Effective Date or

as soon as reasonably practicable thereafter or, (b) in the event of a Cure Dispute, and following

resolution of such Cure Dispute (either consensually or through judicial decision), upon the later

of (i) the Effective Date or as soon as reasonably practicable thereafter and (ii) seven (7) days after

the date on which such Cure Dispute has been resolved. The Debtors and the Reorganized Debtors,

as applicable, reserve the right at any time (including, with respect to the Reorganized Debtors,

after the Effective Date) to move to reject any Executory Contract or Unexpired Lease based upon

the existence of any such unresolved dispute. If the Bankruptcy Court determines that the Allowed

Cure Cost with respect to any Executory Contract or Unexpired Lease is greater than the amount

set forth in the Assumed Contracts List, the Debtors or the Reorganized Debtors, as applicable,

shall have the right to reject such Executory Contract or Unexpired Lease by amending the

Rejected Contracts/Lease List to include such Executory Contract or Unexpired Lease and

providing prompt notice of any such amendment to any applicable counterparty, in which case

such Executory Contract or Unexpired Lease will be deemed rejected as of the Effective Date

subject to the applicable counterparty’s right to object to such rejection.

       61.     Any Cure Disputes will be determined in accordance with the procedures set forth

in Article X of the Plan and applicable bankruptcy and non-bankruptcy Law. As such, the Plan

provides that the Debtors will cure defaults with respect to assumed Executory Contracts and

Unexpired Leases in accordance with section 365(b)(1) of the Bankruptcy Code. Thus, the Plan

complies with section 1123(d) of the Bankruptcy Code.

       b) The Debtors’ Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

       62.     The Debtors, as Plan proponents, have complied with all applicable provisions of

the Bankruptcy Code, as required by section 1129(a)(2) of the Bankruptcy Code, including


                                                  38
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 39 of 115




sections 1122, 1123, 1124, 1125, 1126, and 1128 of the Bankruptcy Code, and Bankruptcy Rules

3017, 3018, and 3019.

       63.     The Debtors and their agents solicited votes to accept or reject the Plan after the

Bankruptcy Court entered the Disclosure Statement Order approving, among other things, the

Solicitation Package and the Voting Procedures.

       64.     The Debtors and their agents have solicited and tabulated votes on the Plan and

have participated in the activities described in section 1125 of the Bankruptcy Code fairly and in

good faith within the meaning of section 1125(e) of the Bankruptcy Code, and in a manner

consistent with the applicable provisions of the Disclosure Statement Orders, the Disclosure

Statement, the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and all other applicable

rules, Laws, and regulations, and are entitled to the protections afforded by section 1125(e) of the

Bankruptcy Code and the exculpation provisions set forth in Section 12.4 of the Plan.

       c) Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)).

       65.     The Plan satisfies the requirements of section 1129(a)(3) of the Bankruptcy Code.

The Debtors have proposed the Plan and the Restructuring Transactions (and all documents

necessary to effectuate the Plan (including the Plan Supplement)) in good faith and not by any

means forbidden by Law. In determining that the Plan has been proposed in good faith, the

Bankruptcy Court has examined the totality of the circumstances surrounding the Filing of these

Chapter 11 Cases, the Plan itself, the process leading to its formulation, and the transactions to be

implemented pursuant thereto. Consistent with the overriding purpose of chapter 11, these

Chapter 11 Cases were Filed, and the Plan was proposed, with the legitimate purpose of allowing

the Debtors to maximize the value of the Debtors’ Estates. The Debtors’ good faith is evident

from the facts and record of these Chapter 11 Cases, the Disclosure Statement, the record of the

Disclosure Statement Hearing, the Disclosure Statement Supplement, the record of the


                                                 39
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 40 of 115




Confirmation Hearing, and all the other proceedings held in these Chapter 11 Cases and before the

Bankruptcy Court.

       66.     The Plan was proposed with the legitimate and honest purpose of maximizing the

value of the Debtors’ Estates and to effectuate a successful chapter 11 proceeding for the Debtors.

The Plan was the product of extensive negotiations conducted at arm’s length among the Debtors

and certain of their key stakeholders and parties in interest in these Chapter 11 Cases including,

but not limited to: (a) the Creditors’ Committee; (b) the DIP Lenders; (c) the Ad Hoc Group

consisting of Required Consenting First Lien Lenders; (d) the Freedom Lender Group; and (e) the

ABL Lenders. Further, the Global Settlement and the Plan’s exculpation, release, and injunction

provisions have been negotiated in good faith and at arm’s length, are consistent with sections 105,

1122, 1123(b)(3)(A), 1123(b)(6), 1125(e), 1129, and 1142 of the Bankruptcy Code. Accordingly,

the requirements of section 1129(a)(3) of the Bankruptcy Code are satisfied.

       d) Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

       67.     Payments made or to be made by the Debtors for services or for costs and expenses

incurred in or in connection with these Chapter 11 Cases, or in connection with the Plan and

incident to these Chapter 11 Cases, have been approved by, or are subject to the approval of, the

Bankruptcy Court as reasonable.          The Plan, therefore, satisfies the requirements of

section 1129(a)(4) of the Bankruptcy Code.

       e) Directors, Officers, and Insiders (11. U.S.C. § 1129(a)(5)).

       68.     The Plan sets forth the process for appointment of the members of the New Boards,

and the identities of the members the New Boards were disclosed (to the extent known) in the Plan

Supplement. The Plan sets forth the process for appointment of the Litigation Trustee, and the

identity of the initial Litigation Trustee was disclosed in the Plan Supplement. The appointment

to, or continuance in, office of the applicable persons is consistent with public policy.


                                                40
              Case 24-12480-LSS      Doc 1596        Filed 06/02/25   Page 41 of 115




Accordingly, the Debtors have satisfied the requirements of section 1129(a)(5) of the Bankruptcy

Code.

        f) No Rate Changes (11 U.S.C. § 1129(a)(6)).

        69.     The Plan does not contain any rate changes subject to the jurisdiction of any

governmental regulatory commission and will not require governmental regulatory approval.

Therefore, section 1129(a)(6) of the Bankruptcy Code does not apply to the Plan.

        g) Best Interests of Creditors (11 U.S.C. § 1129(a)(7)).

        70.     The Plan satisfies the requirements of section 1129(a)(7) of the Bankruptcy Code.

The evidence in support of the Plan that was proffered or adduced at the Confirmation Hearing

establishes that each Holder of Allowed Claims or Equity Interests in each Class will recover as

much or more value under the Plan on account of such Claim or Equity Interest, as of the Effective

Date, than the amount such Holder would receive if the Debtors were liquidated on the Effective

Date under chapter 7 of the Bankruptcy Code. The Liquidation Analysis (as defined in the

Disclosure Statement and attached as Exhibit B thereto), and the other evidence related thereto, as

supplemented by any evidence proffered or adduced at or prior to the Confirmation Hearing, (a) are

reasonable, persuasive, and credible as of the dates such analysis or evidence was prepared,

presented, or proffered, (b) utilize reasonable and appropriate methodologies and assumptions,

(c) have not been controverted by other evidence, and (d) establish that Holders of Allowed Claims

and Equity Interests in each Class will recover at least as much under the Plan on account of such

Claim or Equity Interest, as of the Effective Date, as such Holder would receive if the Debtors

were liquidated on the Effective Date under chapter 7 of the Bankruptcy Code.

        71.     Classes 3, 4, 5, 6 (at certain Debtors), 7, 8-A, and 8-B voted in favor of

Confirmation, and Holders of Claims and Equity Interests in all Impaired Classes will recover at

least as much as a result of the Confirmation of the Plan as they would in a hypothetical


                                                41
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 42 of 115




chapter 7 liquidation. Moreover, the Liquidation Analysis demonstrates that, with respect to

TopCo, Holders of Class 8-C Claims (if any) would receive no recovery in a hypothetical chapter

7 liquidation because, among other things, Tranche A DIP Claims (which, for the avoidance of

doubt, include all DIP Obligations on account of the New Money DIP Loans, including the

Backstop Premium, the Commitment Premium, and the Exit Premium (each as defined in the Final

DIP Order)) have priority under the Final DIP Order with respect to TopCo and must be paid in

full before any distribution can be made to Class 8-C. Accordingly, the Debtors have demonstrated

that the Plan is in the best interests of their creditors, and the Plan satisfies the requirements of

section 1129(a)(7) of the Bankruptcy Code.

       h) Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)).

       72.     The Plan satisfies section 1129(a)(8) of the Bankruptcy Code. Class 1 (Other

Secured Claims) and Class 2 (Other Priority Claims) are Unimpaired Classes of Claims, each of

which is conclusively presumed to have accepted the Plan in accordance with section 1126(f) of

the Bankruptcy Code. As evidenced by the Voting Report, each of the Voting Classes have voted

to accept the Plan, with the exception of certain Debtor entities in Class 6. Class 9 (Intercompany

Claims) and Class 12 (Intercompany Interests) are either Unimpaired by the Plan and conclusively

presumed to have accepted the Plan, or Impaired and deemed to have rejected the Plan, depending

on whether Claims and Equity Interests in Class 9 and Class 12 are reinstated or canceled and

released without any distribution an account of such Claims or Equity Interests. Class 10

(Subordinated Claims) is an Impaired Class that will not receive or retain any property under the

Plan on account of the Claims in such Class, is not entitled to vote on the Plan, and is deemed to

have rejected the Plan (collectively, together with Class 9 and Class 12 as applicable, the “Deemed

Rejecting Classes”). To the extent a Class contains Claims or Equity Interests eligible to vote, and

no Holders of Claims or Equity Interests eligible to vote in such Class vote to accept or reject the


                                                 42
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 43 of 115




Plan, such Class shall be deemed to have accepted the Plan. As set forth below, the Confirmation

Debtors satisfy the requirements under section 1129(b) of the Bankruptcy Code with respect to the

Claims that have rejected or are deemed to have rejected the Plan.

       i) “Cram Down” Requirements (11 U.S.C. § 1129(b)).

       73.     Notwithstanding the fact that the Deemed Rejecting Classes have been deemed to

reject the Plan, the Plan may be confirmed pursuant to section 1129(b)(1) of the Bankruptcy Code

with respect to the Confirmation Debtors. First, all of the requirements of section 1129(a) of the

Bankruptcy Code other than section 1129(a)(8) of the Bankruptcy Code have been met. Second,

the Plan is fair and equitable with respect to the Deemed Rejecting Classes. The Plan has been

proposed in good faith, is reasonable, and meets the requirements that (a) no Holder of any Claim

or Equity Interest that is junior to each such Class will receive or retain any property under the

Plan on account of such junior Claim or Equity Interest and (b) no Holder of a Claim or Equity

Interest in a Class senior to such Class is receiving more than 100 percent on account of its Claim

or Equity Interest. Accordingly, the Plan is fair and equitable to all Holders of Claims and Equity

Interests in the Deemed Rejecting Classes. Third, the Plan does not discriminate unfairly with

respect to the Deemed Rejecting Classes because similarly situated creditors and Equity Interest

Holders will receive substantially similar treatment on account of their Claims and Equity Interests

irrespective of Class. Finally, Holders of Claims in the Voting Classes voted to accept the Plan in

sufficient number and in sufficient amount to constitute impaired accepting classes under the

Bankruptcy Code. The Plan may therefore be confirmed with respect to the Confirmation Debtors

even though not all Impaired Classes have voted to accept the Plan.




                                                43
             Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 44 of 115




       j) Treatment of Claims Entitled to Priority Pursuant to Section 507(a) of the
          Bankruptcy Code (11 U.S.C. § 1129(a)(9)).

       74.     The treatment of DIP Claims, Administrative Expense Claims, Professional Fee

Claims, U.S. Trustee Fees, and Priority Tax Claims under Article III of the Plan satisfies the

requirements of, and complies in all respects with, section 1129(a)(9) of the Bankruptcy Code.

       k) Acceptance by at Least One Impaired Class of Claims (11 U.S.C. § 1129(a)(10)).

       75.     The Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code

with respect to the Confirmation Debtors. As set forth in the Voting Report, all Voting Classes

are Impaired, and the requisite number and amount of Claims specified under the Bankruptcy Code

voted to accept the Plan, determined without including any acceptance of the Plan by any insider

(as that term is defined in section 101(31) of the Bankruptcy Code). Additionally, as set forth in

the Voting Report, the Classes that are not entitled to receive or retain any property under the Plan

are, therefore, deemed to have rejected the Plan pursuant to section 1126(g) of the

Bankruptcy Code.

       l) Feasibility of the Plan (11 U.S.C. § 1129(a)(11)).

       76.     The evidence proffered or adduced at or prior to the Confirmation Hearing and in

the Confirmation Declarations and the Confirmation Brief: (a) is reasonable, persuasive, and

credible as of the dates such evidence was prepared, presented, and/or proffered; (b) has not been

controverted by other evidence; (c) establishes that the Plan is feasible; and (d) establishes that the

Debtors or the Reorganized Debtors, as applicable, will have sufficient funds available to meet

their obligations under the Plan. The Plan, therefore, satisfies the requirements of section

1129(a)(11) of the Bankruptcy Code.




                                                  44
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 45 of 115




       m) Payment of Bankruptcy Fees (11 U.S.C. § 1129(a)(12)).

       77.     Article III of the Plan provides for the payment of all fees due and payable by the

Debtors pursuant to section 1930(a) of title 28 of the United States Code on the Effective Date,

and after the Effective Date, each of the Reorganized Debtors (or the Disbursing Agent acting on

behalf of each of the Reorganized Debtors) shall pay any and all applicable U.S. Trustee Fees in

full in Cash when due and payable. The Debtors and the Reorganized Debtors shall remain

obligated to pay any applicable U.S. Trustee Fees until the earliest of the closure, dismissal, or

conversion to a case under chapter 7 of the Bankruptcy Code of the case of that particular Debtor

for whom the Debtors or the Reorganized Debtors, as applicable, is responsible. Accordingly, the

Plan satisfies the requirements of section 1129(a)(12) of the Bankruptcy Code.

       n) Non-Applicability of Certain Sections (11 U.S.C. §§ 1129(a)(13), 1129(a)(14), (15),
          and (16)).

       78.     The Debtors do not owe retiree benefit obligations, any domestic support

obligations, are not individuals, and are not nonprofit corporations.         Therefore, sections

1129(a)(13), 1129(a)(14), 1129(a)(15), and 1129(a)(16) of the Bankruptcy Code do not apply to

these Chapter 11 Cases.

       o) Only One Plan (11 U.S.C. § 1129(c)).

       79.     Other than the Plan (including previous versions thereof), no other plan has been

filed for the Debtors in these Chapter 11 Cases. The Plan, therefore, satisfies the requirements of

section 1129(c) of the Bankruptcy Code.

       p) Principal Purpose of the Plan (11 U.S.C. § 1129(d)).

       80.     The principal purpose of the Plan is not the avoidance of taxes or the avoidance of

the application of section 5 of the Securities Act. The Plan, therefore, satisfies the requirements

of section 1129(d) of the Bankruptcy Code.




                                                45
             Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 46 of 115




       q) Not a Small Business Case (11 U.S.C. § 1129(e)).

       81.     These Chapter 11 Cases are not small business cases, and accordingly

section 1129(e) of the Bankruptcy Code is inapplicable in these Chapter 11 Cases.

       r) Satisfaction of Confirmation Requirements.

       82.     Based upon the foregoing, the Plan satisfies the requirements for plan confirmation

set forth in section 1129 of the Bankruptcy Code.

U.     Likelihood of Satisfaction of Conditions Precedent to the Effective Date

       83.     Each of the conditions precedent to the Effective Date, as set forth herein or in

Section 11.2 of the Plan, has been or is reasonably likely to be satisfied or waived in accordance

with Section 11.3 of the Plan.

V.     Implementation

       84.     The Plan, including all documents contained in the Plan Supplement and all other

relevant and necessary documents, have been negotiated in good faith and at arm’s length, are fair

and reasonable, are supported by reasonably equivalent value and fair consideration, are in the best

interests of the Debtors, their Estates, and the Reorganized Debtors, as applicable, and shall, upon

completion of documentation and execution in accordance with the terms and conditions of the

Plan, be valid, binding, and enforceable documents and agreements not in conflict with any federal,

state, or local Law. The documents and agreements are essential elements of the Plan and the

Debtors have exercised reasonable business judgment in determining which documents and

agreements to enter into and have provided sufficient and adequate notice of such documents and

agreements. The Debtors and the Reorganized Debtors, as applicable, are authorized, without any

further notice to or action, order, or approval of the Bankruptcy Court, to finalize, execute, and

deliver all agreements, documents, instruments, and certificates relating thereto and perform their

obligations thereunder in accordance with the Plan.


                                                46
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 47 of 115




W.     Good-Faith Solicitation (11 U.S.C. § 1125(e))

       85.     The Debtors have proposed the Plan in good faith, with the legitimate and honest

purpose of maximizing the value of the Debtors’ Estates for the benefit of their stakeholders. The

Plan accomplishes this goal. Accordingly, the Debtors, the Released Parties, and the Exculpated

Parties have been, are, and will continue to act in good faith. Therefore, the Plan has been proposed

in good faith to achieve a result consistent with the objectives and purposes of the

Bankruptcy Code, and the aforementioned parties have also acted in good faith within the meaning

of section 1125(e) of the Bankruptcy Code and are entitled to the protections afforded by

section 1125(e) of the Bankruptcy Code and the Exculpation provision set forth in Section 12.4 of

the Plan. The Exculpated Parties have, and upon completion of the Plan shall be deemed to have,

participated in good faith and in compliance with the applicable Laws with regard to the

solicitation of votes and distributions pursuant to the Plan and, therefore, are not, and on account

of such distributions shall not be, liable at any time for the violation of any applicable Law, rule,

or regulation governing the solicitation of acceptances or rejections of the Plan or such

distributions made pursuant to the Plan.

X.     Executory Contracts and Unexpired Leases

       86.     Pursuant to sections 365 and 1123(b)(2) of the Bankruptcy Code, the Plan provides

for the assumption or rejection of certain Executory Contracts and Unexpired Leases, effective as

of the Effective Date except as otherwise provided in the Plan, the Plan Supplement, or the Sale

Documents. The Debtors’ determinations regarding the assumption or rejection of Executory

Contracts and Unexpired Leases are based on and within the sound business judgment of the

Debtors, are necessary to the implementation of the Plan, and are in the best interests of the

Debtors, their Estates, Holders of Claims and Equity Interests, and other parties in interest in these

Chapter 11 Cases; provided that, notwithstanding anything to the contrary herein or in the Plan,


                                                 47
             Case 24-12480-LSS          Doc 1596       Filed 06/02/25   Page 48 of 115




any compensation and benefits agreement, plan, program, and arrangement shall be treated as an

Executory Contract to the extent such compensation and benefits agreement, plan, program, and

arrangement is an executory contract under applicable Law.

                                              ORDER

BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF LAW, IT IS
THEREFORE ORDERED, JUDGED, AND DECREED THAT:

Y.     Findings of Fact and Conclusions of Law

       87.     The above-referenced findings of fact and conclusions of Law are hereby

incorporated by reference as though fully set forth in this Confirmation Order and constitute

findings of fact and conclusions of Law pursuant to Bankruptcy Rule 7052, made applicable by

Bankruptcy Rule 9014. To the extent that any finding of fact is determined to be a conclusion of

Law, it is deemed so, and vice versa.

Z.     Confirmation of the Plan

       88.     The Plan, attached hereto as Exhibit A, including all exhibits thereto, shall be, and

hereby is, confirmed with respect to the Confirmation Debtors under section 1129 of the

Bankruptcy Code.      The Confirmation Debtors are authorized to enter into and execute all

documents and agreements related to the Plan (including all exhibits and attachments thereto and

documents referred to therein, including the Plan Supplement), and the execution, delivery, and

performance thereafter by the Reorganized Debtors and the Litigation Trustee, as applicable, are

hereby approved and authorized. The Confirmation Debtors, the Reorganized Debtors, and the

Litigation Trustee, as applicable, are authorized to take all actions necessary or appropriate to enter

into, implement, and consummate the contracts, instruments, releases, leases, indentures, and other

agreements or documents created in connection with the Plan, including, without limitation, entry

into any agreements contained in the Plan Supplement, as applicable, as may be modified by the



                                                  48
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25    Page 49 of 115




Confirmation Debtors in their business judgment subject to the terms and conditions of the Plan

(including the consent rights contained therein). The terms of the Plan (including the Plan

Supplement) shall be effective and binding as of the Effective Date.

       89.     The failure to include or refer to any particular article, section, or provision of the

Plan, the Plan Supplement, or any related document, agreement, or exhibit does not impair the

effectiveness of that article, section, or provision; it being the intent of the Bankruptcy Court that

the Plan, the Plan Supplement, and any related document, agreement, or exhibit are approved in

their entirety with respect to the Confirmation Debtors.

AA.    Approval of Global Settlement

       90.     Following good-faith and arm’s-length negotiations, in exchange for the releases

and other valuable consideration provided for in the Plan, the Global Settlement Parties agreed to

the Global Settlement. The Global Settlement provides significant value to the Debtors (including

TopCo) and their Estates, favorably resolves and avoids potential protracted expensive and

uncertain litigation, and enables a prompt and efficient reorganization of the Confirmation Debtors

through the Plan. Pursuant to the Global Settlement, all Intercompany Claims between and among,

TopCo, the Freedom HoldCo Debtors, the OpCo Debtors, and all other Debtors, shall be settled,

waived, and/or released, including but not limited to (a) all Intercompany Claims by and between

the OpCo Debtors, the Freedom HoldCo Debtors, TopCo, and all other Debtors, (b) the allocation

of Professional Fee Claims among the OpCo Debtors, the Freedom HoldCo Debtors, TopCo, and

all other Debtors, and (c) the allocation of approximately $13.25 million in Cash from TopCo to

the funding of the Litigation Trust; provided that (without limiting the releases of the Released

Parties) there shall not be any third-party beneficiaries of the inter-Debtor releases. The Global

Settlement is integral to the development and implementation of the Plan.              Entry of this

Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule


                                                 49
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 50 of 115




9019, of the Global Settlement, including, for the avoidance of doubt, (i) approval of the releases

provided by the Freedom HoldCo Debtors with respect to any Claims or Causes of Action

previously identified or preserved by the Freedom HoldCo Independent Director as actionable, (ii)

the contribution of approximately $13.25 million in Cash to the funding of the Litigation Trust,

(iii) the release of all Intercompany Claims between and among TopCo, the Freedom HoldCo

Debtors, the OpCo Debtors, and all other Debtors, including the allocation of Professional Fee

Claims among the OpCo Debtors, the Freedom HoldCo Debtors, TopCo, and all other Debtors,

and (iv) approval of the mutual releases provided by the Global Settlement Parties (including

TopCo). The release and waiver of Intercompany Claims against TopCo shall not impair the

Litigation Trust’s rights or ability to commence, prosecute, or settle any Permitted Litigation

Claims against any party that is not released under the Plan, including a subsequent transferee of

an Avoidance Action from another Debtor to TopCo. The Global Settlement is in the best interests

of the Debtors, their Estates, Holders of Claims and Equity Interests, and other parties in interest,

and is fair, equitable, and reasonable.

       91.     The compromises and settlements set forth in the Global Settlement exceed the

lowest point in the range of reasonableness. The benefits and consideration that the Debtors are

to provide under the Global Settlement are fair, equitable, and adequate consideration for the

releases and other consideration the Debtors are to receive under the Global Settlement and

constitute reasonably equivalent value therefor, and the transfers contemplated by the Global

Settlement are not subject to avoidance under any applicable Law or in equity.

       92.     The Debtors (including TopCo) and the Reorganized Debtors, as applicable, are

authorized and directed to make the distributions and transfers contemplated by the Plan in

connection with the Global Settlement.




                                                 50
              Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 51 of 115




BB.     Objections Overruled

        93.      To the extent that any objections (including any reservations of rights, joinders, or

statements contained therein) to Confirmation with respect to the Confirmation Debtors or

approval of the Global Settlement have not been withdrawn, waived, or settled before entry of this

Confirmation Order, are not cured by the relief granted in this Confirmation Order, or have not

been otherwise resolved as stated on the record of the Confirmation Hearing, all such objections

(including any reservation of rights, joinders, or statements contained therein), except with respect

to unresolved Cure Disputes and objections to the assumption or rejection of Executory Contracts

and Unexpired Leases, if any, are hereby overruled in their entirety and on the merits in all respects.

        94.      All objections to Confirmation (with respect to the Confirmation Debtors) or

approval of the Global Settlement (with respect to all Debtors) not Filed and served prior to the

Objection Deadline set forth in the Confirmation Hearing Notice or other notices Filed with the

Bankruptcy Court (in each case, as may have been extended by the applicable Debtors), if any, are

deemed waived and shall not be considered by the Bankruptcy Court.

CC.     Solicitation

        95.      The solicitation of votes on the Plan complied with the Bankruptcy Code, the

Bankruptcy Rules, and the Local Rules, and was appropriate and satisfactory and is approved in

all respects.

DD.     Deemed Acceptance of Plan as Modified

        96.      The Debtors modified the Plan since the commencement of solicitation to

incorporate the terms of the Global Settlement and address certain concerns raised by parties in

interest.     The Plan Modifications comply with section 1127 of the Bankruptcy Code and

Bankruptcy Rule 3019. Moreover, the Debtors’ key constituents affected by such modifications

support these changes. In addition, the Confirmation Debtors served the Disclosure Statement


                                                  51
             Case 24-12480-LSS           Doc 1596     Filed 06/02/25   Page 52 of 115




Supplement on all Holders of Claims and Equity Interests who received a Solicitation Package,

providing notice of the key information concerning the Global Settlement, the Plan Modifications

in connection therewith, and the extension of the Voting Deadline. Accordingly, no additional

solicitation or disclosure was required on account of the Plan Modifications and all Holders of

Claims and Equity Interests who voted to accept the Plan or who are conclusively presumed to

have accepted the Plan are deemed to have accepted the Plan as modified, revised, supplemented,

or otherwise amended. No Holder of a Claim or Equity Interest shall be permitted to change its

vote as a consequence of the Plan Modifications.

EE.    Means for Implementation of the Plan

       97.     The provisions governing the means for implementation of the Plan set forth in

Article VII of the Plan shall be, and hereby are, approved in their entirety. The Confirmation

Debtors are authorized to take all actions reasonably necessary to implement the Plan on the terms

set forth in Article VII. Upon the Effective Date, the Confirmation Debtors or the Reorganized

Debtors, as applicable, are authorized to make the payments or other distributions set forth in

Article III and Article V of the Plan.

       98.     Notwithstanding anything to the contrary herein, TopCo is authorized to take any

actions that may be necessary or appropriate to effectuate the Global Settlement and any

transactions contemplated thereby.

FF.    Incorporation by Reference

       99.     The terms of the Plan, the Plan Supplement, all exhibits thereto, this Confirmation

Order, the Definitive Documents, and all other relevant and necessary documents constitute

essential elements of the Plan and shall, on and after the Effective Date, be binding in all respects

upon, and shall inure to the benefit of, the Confirmation Debtors, their Estates and their creditors

and equity holders, and their respective successors and assigns, non-Confirmation Debtor


                                                 52
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 53 of 115




Affiliates (including TopCo), any affected third parties, all Holders of Equity Interests, all Holders

of any Claims, whether known or unknown, including, but not limited to, all contract

counterparties, leaseholders, Governmental Units, and any trustees, examiners, administrators,

responsible officers, estate representatives, or similar Entities for the Confirmation Debtors, if any,

subsequently appointed in any of the Chapter 11 Cases or upon a conversion to chapter 7 under

the Bankruptcy Code of any of the Chapter 11 Cases, and each of their respective Affiliates,

successors, and assigns.

GG.    The Releases, Injunction, Exculpation, and Related Provisions Under the Plan

       100.    The release, exculpation, injunction, and related provisions set forth in Article XII

of the Plan are incorporated herein in their entirety, are hereby approved and authorized in their

entirety, are so ordered, and shall be immediately effective and binding upon the Effective Date

without further action or notice by this Bankruptcy Court, any of the parties subject to such

provisions, or any other party, including, but not limited to:

       a. Liens. The release of Liens provisions set forth in Section 12.8 of the Plan are hereby
          approved.

       b. Releases by the Confirmation Debtors. The Debtor Release provisions set forth in
          Section 12.2 of the Plan are hereby approved.

       c. Third-Party Releases. The Third-Party Release provisions set forth in Section 12.3
          of the Plan are hereby approved.

       d. Exculpation. The Exculpation provisions set forth in Section 12.4 of the Plan are
          hereby approved.

       e. Injunction. The Injunction provisions set forth in Section 12.6 of the Plan are hereby
          approved.

HH.    Classifications of Claims and Equity Interests

       101.    The terms of the Plan shall govern the classification of Claims and Equity Interests

for purposes of the distributions to be made thereunder. The classifications set forth on the Ballots



                                                  53
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 54 of 115




tendered to or returned by the Holders of Claims or Equity Interests in connection with voting on

the Plan: (a) were set forth thereon solely for purposes of voting to accept or reject the Plan; (b) do

not necessarily represent, and in no event shall be deemed to modify or otherwise affect, the actual

classification of Claims and Equity Interests under the Plan for distribution purposes; (c) may not

be relied upon by any Holder of a Claim or Equity Interest as representing the actual classification

of such Claim or Equity Interest under the Plan for distribution purposes; and (d) shall not be

binding on the Confirmation Debtors except for voting purposes.

II.    Plan Supplement

       102.    The documents contained in the Plan Supplement, and any amendments,

modifications, and supplements thereto, and all documents and agreements introduced into

evidence by the Debtors at the Confirmation Hearing (including all exhibits and attachments

thereto and documents referred to in the Plan Supplement), and the execution, delivery, and

performance thereof by the Confirmation Debtors, the Reorganized Debtors, the Litigation

Trustee, and their successors are authorized when they are finalized, executed, and delivered.

Without further order or authorization of this Bankruptcy Court, the Confirmation Debtors, the

Reorganized Debtors, the Litigation Trustee, and their successors are authorized and empowered

to make all modifications to all documents included as part of the Plan Supplement that are

consistent with the Plan and this Confirmation Order. Execution versions of the documents

comprising or contemplated by the Plan Supplement shall constitute legal, valid, binding, and

authorized obligations of the respective parties thereto, enforceable in accordance with their terms

and, to the extent applicable, shall create all mortgages, Liens, deeds of trust, pledges, and security

interests purported to be created thereby to the extent set forth in this Confirmation Order.




                                                  54
            Case 24-12480-LSS         Doc 1596        Filed 06/02/25    Page 55 of 115




JJ.    Restructuring Transactions

       103.    Before, on, and after the Effective Date, the applicable Confirmation Debtors or the

Reorganized Debtors or New TopCo, as applicable, may, consistent with the terms of the

Restructuring Support Agreement, enter into any transaction and take all actions as may be

necessary or appropriate to effect any transaction described in, approved by, contemplated by, or

necessary to effectuate the Restructuring Transactions (including any transactions described in,

approved by, contemplated by, or necessary to effectuate the Plan), that are consistent with and

pursuant to the terms and conditions of the Plan (including the Global Settlement), including, as

applicable: (a) the execution and delivery of appropriate agreements or other documents of

reorganization containing terms that are consistent with the terms of the Plan and that satisfy the

requirements of applicable Law; (b) the execution and delivery of appropriate instruments of

transfer, assignment, assumption, or delegation of any property, right, liability, duty, or obligation

on terms consistent with the terms of the Plan; (c) the filing of appropriate certificates of

incorporation, merger, migration, consolidation, or other Organizational Documents with the

appropriate governmental authorities pursuant to applicable Law; (d) the execution, delivery, and

filing, if applicable, of the New Organizational Documents and the Take-Back Debt Documents;

(e) the execution, delivery, and filing, if applicable, of the New ABL Facility; (f) such other

transactions that are required to effectuate the Restructuring Transactions, including any mergers,

consolidations, restructurings, conversions, dispositions, transfers, formations, organizations,

dissolutions, or liquidations; and (g) all other actions that the Reorganized Debtors reasonably

determine, in consultation with the Required Consenting First Lien Lenders, are necessary or

appropriate, including making filings or recordings that may be required by applicable Law.

       104.    The Sale Proceeds shall be used to reduce the DIP Facility and/or the ABL Loans

in accordance with the terms of the Sale Order, the DIP Credit Agreement, the Final DIP Order,


                                                 55
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 56 of 115




the ABL Loan Documents, and the Prepetition ABL Intercreditor Agreement, as applicable;

provided that, for the avoidance of doubt, all rights of the ABL Credit Agreement Agent and the

DIP Agent with respect to the allocation of the Sale Proceeds in accordance with the foregoing are

expressly preserved. For the avoidance of doubt, the Assumed Liabilities (as defined under the

Asset Purchase Agreement) shall be the sole responsibility of the Buyer even if such Claim is

Allowed against the Confirmation Debtors, and such Claims shall have no recovery from the

Confirmation Debtors under the terms of the Plan.

       105.    Notwithstanding anything to the contrary in the Store-Closing and Liquidation

Sales Order, the Confirmation Debtors and the Reorganized Debtors, as applicable, are authorized

to take any actions that may be necessary or appropriate to wind down and/or dissolve the Estates

of the American Freight Debtors and the Vitamin Shoppe Debtors. The Confirmation Debtors and

the Reorganized Debtors, as applicable, are authorized to sell, liquidate, and/or otherwise dispose

of any remaining property owned by the American Freight Debtors and, after taking into effect the

Partial Sale Transaction, the Vitamin Shoppe Debtors.

KK. Continued Corporate Existence in Certain Confirmation Debtors; Vesting of Assets;
Dissolution of Certain Confirmation Debtors

       106.    Except as otherwise provided in the Plan, the Plan Supplement, or as otherwise may

be agreed between the Confirmation Debtors and the Required Consenting First Lien Lenders,

each of the Confirmation Debtors, as Reorganized Debtors, and New TopCo, shall continue to

exist on and after the Effective Date as a separate legal Entity with all of the powers available to

such legal Entity under and in accordance with the applicable Laws of the respective jurisdictions

in which they are incorporated or organized and pursuant to the New Organizational Documents,

without prejudice to any right to alter or terminate such existence (whether by merger or otherwise)

in accordance with such applicable Law. On or after the Effective Date, without prejudice to the



                                                56
           Case 24-12480-LSS        Doc 1596       Filed 06/02/25   Page 57 of 115




rights of any party to a contract or other agreement with any Reorganized Debtor or New TopCo

(including as a Holder of Reorganized Common Equity), each of the Reorganized Debtors and

New TopCo, as applicable (and in consultation with the Required Consenting First Lien Lenders),

may take such action as permitted by applicable Law and such Reorganized Debtor’s or New

TopCo’s New Organizational Documents, as such Reorganized Debtor or New TopCo, as

applicable, may determine is reasonable and appropriate, including, but not limited to, causing:

(a) a Reorganized Debtor or New TopCo to be merged with and into another Reorganized Debtor,

or a subsidiary and/or Affiliate of a Reorganized Debtor or New TopCo; (b) a Reorganized Debtor

or New TopCo to be dissolved; (c) the conversion of a Reorganized Debtor or New TopCo from

one Entity type to another Entity type; (d) the legal name of a Reorganized Debtor or New TopCo

to be changed; (e) the closure of a Reorganized Debtor’s or New TopCo’s Chapter 11 Case on the

Effective Date or any time thereafter; or (f) the reincorporation of a Reorganized Debtor or New

TopCo under the Law of jurisdictions other than the Law under which the Confirmation Debtor

currently is incorporated.

       107.    Except as otherwise provided in the Plan, this Confirmation Order, or any

agreement, instrument, or other document incorporated in, or entered into in connection with or

pursuant to, the Plan or the Plan Supplement, on the Effective Date, all property of the

Confirmation Debtors’ Estates, wherever located, including the Reorganized Debtors’ Retained

Causes of Action (but not the Permitted Litigation Claims) and any property, wherever located,

acquired by the Confirmation Debtors under or in connection with the Plan, shall vest in the

applicable Reorganized Debtor, free and clear of all Claims, Liens, charges, other encumbrances,

and Equity Interests, except for those Claims, Liens, charges, other encumbrances, and Equity

Interests arising from or related to the Take-Back Debt Documents or the New ABL Facility




                                              57
           Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 58 of 115




Documents. On and after the Effective Date, except as otherwise provided in the Plan or in this

Confirmation Order, each applicable Reorganized Debtor and New TopCo may operate its

business(es) and may use, acquire, and dispose of property, wherever located, and each

Reorganized Debtor and New TopCo, as applicable, may prosecute, compromise or settle any

Claims (including any Administrative Expense Claims and excluding any Permitted Litigation

Claims), Equity Interests, and the Reorganized Debtors’ Retained Causes of Action without

supervision of or approval by the Bankruptcy Court and free and clear of any restrictions of the

Bankruptcy Code or the Bankruptcy Rules. Without limiting the foregoing, the Reorganized

Debtors and New TopCo may pay the charges that they incur on or after the Effective Date, if any,

for Professional Persons’ fees, disbursements, expenses, or related support services without

application to the Bankruptcy Court. Anything in the Plan to the contrary notwithstanding, any

Unimpaired Claims against a Confirmation Debtor shall remain the obligations solely of such

Confirmation Debtor or such Reorganized Debtor and shall not become obligations of any other

Confirmation Debtor, Reorganized Debtor, New TopCo, or the Litigation Trust by virtue of the

Plan, the Chapter 11 Cases, or otherwise. For the avoidance of doubt, no obligations or Claims

against TopCo shall become obligations of the Confirmation Debtors, any Reorganized Debtor, or

New TopCo, and any Claims or obligations against TopCo shall remain solely the obligation of

TopCo after the Effective Date of the Plan with respect to the Confirmation Debtors.

LL.    Preservation of Causes of Action

       108.   In accordance with section 1123(b) of the Bankruptcy Code, the Reorganized

Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and

all of the Reorganized Debtors’ Retained Causes of Action, whether arising before or after the

Petition Date. The Reorganized Debtors’ rights to commence, prosecute, or settle the Reorganized




                                               58
            Case 24-12480-LSS         Doc 1596        Filed 06/02/25    Page 59 of 115




Debtors’ Retained Causes of Action shall be preserved notwithstanding the occurrence of the

Effective Date or any other provision of the Plan to the contrary.

       109.    In accordance with section 1123(b) of the Bankruptcy Code, the Litigation Trust

shall retain and may enforce all rights to commence and pursue, as appropriate, any and all

Permitted Litigation Claims of the Confirmation Debtors and their Estates, whether arising before

or after the Petition Date. The Litigation Trust’s rights to commence, prosecute, or settle the

Permitted Litigation Claims shall be preserved notwithstanding the occurrence of the Effective

Date or any other provision of the Plan to the contrary.

       110.    No Entity may rely on the absence of a specific reference in the Plan, the Plan

Supplement, the Disclosure Statement, or the Disclosure Statement Supplement to any

Reorganized Debtors’ Retained Cause of Action or Permitted Litigation Claim against it as any

indication that the Confirmation Debtors, the Reorganized Debtors, or the Litigation Trust, as

applicable, will not pursue any and all available Reorganized Debtors’ Retained Causes of Action

or Permitted Litigation Claim against it. The Confirmation Debtors, the Reorganized Debtors, and

the Litigation Trust, as applicable, expressly reserve all rights to prosecute any and all Reorganized

Debtors’ Retained Causes of Action or Permitted Litigation Claims against any Entity. Unless any

Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,

compromised, or settled in the Plan or a Final Order, the Reorganized Debtors or the Litigation

Trust, as applicable, expressly reserve all Reorganized Debtors’ Retained Causes of Action or

Permitted Litigation Claims for later adjudication.

       111.     The Reorganized Debtors and the Litigation Trust, as applicable, reserve and shall

retain such Reorganized Debtors’ Retained Causes of Action and Permitted Litigation Claims,

respectively, notwithstanding the rejection or repudiation of any Executory Contract or Unexpired




                                                 59
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 60 of 115




Lease during the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3)

of the Bankruptcy Code, any Reorganized Debtors’ Retained Causes of Action against any Entity

shall vest in the Reorganized Debtors and any Permitted Litigation Claims against any Entity shall

vest in the Litigation Trust. The applicable Reorganized Debtors or the Litigation Trust, through

their respective authorized agents or representatives, shall retain and may exclusively enforce any

and all such Reorganized Debtors’ Retained Causes of Action or Permitted Litigation Claims, as

applicable. The Reorganized Debtors or the Litigation Trust, as applicable, shall have the

exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,

abandon, settle, compromise, release, withdraw, or litigate to judgment any such Reorganized

Debtors’ Retained Causes of Action or Permitted Litigation Claims, respectively, and to decline

to do any of the foregoing without the consent or approval of any third party or further notice to

or action, order, or approval of the Bankruptcy Court except as otherwise released in the Plan.

MM. Indemnification Provisions in Organizational Documents

       112.    On and as of the Effective Date, all indemnification obligations of the Confirmation

Debtors that are in place as of the Petition Date (whether in the bylaws, certificates of incorporation

or formation, limited liability company agreements, other organizational or formation documents,

board resolutions, indemnification agreements, or otherwise) for the current directors, officers, and

managers of the Confirmation Debtors, as well as the attorneys, accountants, investment bankers,

and other professionals of, or acting on behalf of, the Confirmation Debtors, as applicable, shall

be assumed by the applicable Confirmation Debtor or assumed and assigned by the applicable

Confirmation Debtor and remain in full force and effect after the Effective Date, and shall survive

Unimpaired and unaffected, irrespective of when such obligation arose, as applicable; provided

that, notwithstanding the foregoing, any indemnification obligations of the Confirmation Debtors

on account of any Permitted Litigation Claims that are transferred to the Litigation Trust or on


                                                  60
               Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 61 of 115




account of any Claims or Causes of Action that are not being released pursuant to the Plan shall,

in each case, not be assumed or assumed and assigned and, in each case, such indemnification

obligations and related agreements and documents shall be deemed rejected under the Plan.

NN.    Sources for Cash Distributions under the Plan

       113.      The Confirmation Debtors shall fund Cash distributions under the Plan with Cash

on hand, including Cash from operations, the American Freight Liquidation Proceeds, the Sale

Proceeds, and the proceeds of the DIP Facility. Cash payments to be made pursuant to the Plan

will be made by the Reorganized Debtors or the Disbursing Agent in accordance with Article VIII

of the Plan.

       114.      From and after the Effective Date, subject to any applicable limitations set forth in

any agreement entered into on or after the Effective Date (including, without limitation, the New

Organizational Documents, the New ABL Facility Documents, and the Take-Back Debt

Documents), the Reorganized Debtors shall have the right and authority without further order of

the Bankruptcy Court to raise additional capital and obtain additional financing as the boards of

managers or directors, as applicable (or other applicable governing bodies), of the applicable

Reorganized Debtors deem appropriate.

       115.      The distribution of the Prepetition Second Lien Loan Cash Consideration shall be

subject to (a) the Prepetition Second Lien Loan Cash Consideration Waiver, (b) the Second Lien

Credit Agreement Agent’s rights in priority of payment in its capacity as administrative agent and

collateral agent for the Second Lien Lenders pursuant to the Second Lien Credit Agreement, and

(c) the right of the Second Lien Credit Agreement Agent, as acknowledged hereby, to pay the fees

and expenses of the HoldCo Credit Agreement Agent from the Prepetition Second Lien Loan Cash

Consideration. On the Effective Date, the Second Lien Credit Agreement Agent shall cause the

reasonable and documented fees and expenses of (i) the Second Lien Credit Agreement Agent


                                                  61
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 62 of 115




required to be reimbursed under the Second Lien Credit Agreement and (ii) the HoldCo Credit

Agreement Agent required to be reimbursed under the HoldCo Credit Agreement in any amount

not to exceed $40,000 to be paid from the proceeds of the Prepetition Second Lien Loan Cash

Consideration prior to making any further distributions on account of the Prepetition Second Lien

Loan Claims to the Second Lien Lenders. Other than the payments described in this paragraph

115 and the rights and obligations that survive the Plan as set forth in paragraph 135 of this

Confirmation Order, the Second Lien Lenders shall have no further obligation or liability to the

Prepetition Second Lien Credit Agreement Agent or its professionals in connection with the

Prepetition Second Lien Credit Agreement.

OO.    Take-Back Debt Facility

       116.    On the Effective Date, the Reorganized Debtors shall enter into the Take-Back Debt

Facility in the maximum amount necessary to ensure that the Reorganized Debtors are in

compliance with the Pro Forma Leverage Cap, which will be made up of a first-lien term loan

consisting of certain DIP Claims arising from the Tranche A DIP Loans and the Tranche B DIP

Loans, in each case as of the Effective Date, and each being consistent with the terms and

conditions set forth in the Restructuring Support Agreement.

       117.    On the Effective Date, the agreements with respect to the Take-Back Debt Facility

shall constitute legal, valid, binding, and authorized obligations of the Reorganized Debtors,

enforceable in accordance with their terms. The financial accommodations to be extended

pursuant to the Take-Back Debt Facility are being extended, and shall be deemed to have been

extended, in good faith, following arm’s length negotiations, for legitimate business purposes, are

reasonable, shall not be subject to avoidance, recharacterization, or subordination (including

equitable subordination) for any purposes whatsoever, and shall not constitute preferential

transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any


                                                62
            Case 24-12480-LSS         Doc 1596         Filed 06/02/25   Page 63 of 115




other applicable non-bankruptcy Law. On the Effective Date, all of the Liens and security interests

to be granted in connection with the Take-Back Debt Facility (a) shall be granted, (b) shall be

legal, binding, and enforceable Liens on, and security interests in, the Collateral granted in

accordance with the Take-Back Debt Facility, (c) shall be deemed automatically perfected on the

Effective Date, subject only to such Liens and security interests as may be permitted under in

connection with the Take-Back Debt Facility, and (d) shall not be subject to avoidance,

recharacterization, or subordination (including equitable subordination) for any purposes

whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other

voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy Law. The

Reorganized Debtors and the Entities granted such Liens and security interests are authorized to

make all filings and recordings, and to obtain all governmental approvals and consents necessary

to establish and perfect such Liens and security interests under the provisions of the applicable

state, provincial, federal, or other Law (whether domestic or foreign) that would be applicable in

the absence of the Plan and this Confirmation Order (it being understood that perfection shall occur

automatically by virtue of the entry of this Confirmation Order, and any such filings, recordings,

approvals, and consents shall not be required), and will thereafter cooperate to make all other

filings and recordings that otherwise would be necessary under applicable Law to give notice of

such Liens and security interests to third parties.

       118.    Notwithstanding the foregoing, the Collateral granted pursuant to the Take-Back

Debt Facility shall include, and such Liens shall attach to, (a) all proceeds of the Confirmation

Debtors’ or Reorganized Debtors’ real property leases and (b) all leases that do not prohibit or

restrict the attachment of such Liens; provided, however, to the extent that a lease prohibits or

restricts attachment of a Lien to such lease itself or to the leased premises pursuant to its terms,




                                                  63
            Case 24-12480-LSS         Doc 1596        Filed 06/02/25    Page 64 of 115




such Liens shall attach to the proceeds of such lease but shall not attach to such lease itself or the

leased premises, as applicable. Nothing herein, in the Plan, or in the Take-Back Debt Documents

shall authorize the Reorganized Debtors to violate the terms of Unexpired Leases assumed

pursuant to the Plan after the Effective Date, including, but not limited to, by providing the Take-

Back Debt Agent access to any leased premises of the Reorganized Debtors other than in

accordance with applicable non-bankruptcy Law or as otherwise provided for in the applicable

Unexpired Lease.

       119.    Any Holder entitled to receive Take-Back Term Loans under the Plan may

designate that all or a portion of such Holder’s share of the Take-Back Term Loans to be distributed

as part of the treatment of such Holder’s Allowed Claims, be registered in the name of, and

delivered to, its designee by delivering notice thereof to counsel to the Debtors and to the Claims

Agent in accordance with such procedures for such designations and/or delivery that the

Confirmation Debtors or the Reorganized Debtors, as applicable, may establish in accordance with

the Plan.

PP.    New ABL Facility

       120.    On the Effective Date, the agreements with respect to the New ABL Facility shall

constitute legal, valid, binding, and authorized obligations of the Reorganized Debtors, enforceable

in accordance with their terms. The financial accommodations to be extended pursuant to the New

ABL Facility are being extended, and shall be deemed to have been extended, in good faith, for

legitimate business purposes, are reasonable, shall not be subject to avoidance, recharacterization,

or subordination (including equitable subordination) for any purposes whatsoever, and shall not

constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the

Bankruptcy Code or any other applicable non-bankruptcy Law. On the Effective Date, all of the

Liens and security interests to be granted in connection with the New ABL Facility (a) shall be


                                                 64
            Case 24-12480-LSS         Doc 1596         Filed 06/02/25   Page 65 of 115




granted, (b) shall be legal, binding, and enforceable Liens on, and security interests in, the

Collateral granted in accordance with the New ABL Facility, (c) shall be deemed automatically

perfected on the Effective Date, subject only to such Liens and security interests as may be

permitted in connection with the New ABL Facility, and (d) shall not be subject to avoidance,

recharacterization, or subordination (including equitable subordination) for any purposes

whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other

voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy Law. The

Reorganized Debtors and the Entities granted such Liens and security interests are authorized to

make all filings and recordings, and to obtain all governmental approvals and consents necessary

to establish and perfect such Liens and security interests under the provisions of the applicable

state, provincial, federal, or other Law (whether domestic or foreign) that would be applicable in

the absence of the Plan and this Confirmation Order (it being understood that perfection shall occur

automatically by virtue of the entry of this Confirmation Order, and any such filings, recordings,

approvals, and consents shall not be required), and will thereafter cooperate to make all other

filings and recordings that otherwise would be necessary under applicable Law to give notice of

such Liens and security interests to third parties.

       121.    Notwithstanding the foregoing, the Collateral granted pursuant to the New ABL

Facility shall include, and such Liens shall attach to, (a) all proceeds of the Confirmation Debtors’

or Reorganized Debtors’ real property leases and (b) all leases that do not prohibit or restrict the

attachment of such Liens; provided, however, to the extent that a lease prohibits or restricts

attachment of a Lien to such lease itself or to the leased premises pursuant to its terms, such Liens

shall attach to the proceeds of such lease but shall not attach to such lease itself or the leased

premises, as applicable. Nothing herein, in the Plan, or in the New ABL Facility Documents shall




                                                  65
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25     Page 66 of 115




authorize the Reorganized Debtors to violate the terms of Unexpired Leases assumed pursuant to

the Plan after the Effective Date, including, but not limited to, by providing the New ABL Facility

Agent access to any leased premises of the Reorganized Debtors other than in accordance with

applicable non-bankruptcy Law or as otherwise provided for in the applicable Unexpired Lease.

QQ.    Reorganized Debtors’ Ownership

       122.    On the Effective Date, in accordance with the terms of the Plan and the

Restructuring Transactions Memorandum and as further set forth in the Plan Supplement, New

TopCo shall issue and deliver all of the Reorganized Common Equity to Holders of Allowed

Prepetition First Lien Loan Claims, Holders of Allowed Prepetition Second Lien Loan Claims,

and certain Holders of DIP Claims pursuant to the terms and conditions of the Plan, the New

Organizational Documents, and the DIP Credit Agreement.               The issuance of Reorganized

Common Equity pursuant to the Plan is authorized without the need for further limited liability

company or corporate action and without any further action by any Holder of a Claim or Equity

Interest, and all of the Reorganized Common Equity issued or issuable pursuant to the Plan shall

be duly authorized, validly issued, fully paid, and nonassessable.

       123.    Any Holder of an Allowed Prepetition First Lien Loan Claim, Allowed Prepetition

Second Lien Loan Claim, or Allowed DIP Claim may designate that all or a portion of such

Holder’s pro rata share of the Reorganized Common Equity to be distributed as part of the

treatment of such Allowed Prepetition First Lien Loan Claims, Allowed Prepetition Second Lien

Loan Claims, or Allowed DIP Claims, as applicable, be registered in the name of, and delivered

to, its designee by delivering notice thereof to the Confirmation Debtors and/or by the designee

delivering notice thereof to the Claims Agent in accordance with such other procedures for such

designations and/or delivery that the Confirmation Debtors or the Reorganized Debtors, as

applicable, may establish in accordance with the Plan.


                                                66
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 67 of 115




RR.    Litigation Trust

       124.    On the Effective Date of the Confirmation Debtors, (a) the Litigation Trust shall be

formed and established pursuant to the Plan and the Litigation Trust Agreement and become

effective and administered in accordance with the terms of the Plan and the Litigation Trust

Agreement, (b) Lawrence R. Hirsh shall be appointed as the initial Litigation Trustee and the

Litigation Trustee shall be vested with the rights and powers set forth in the Plan and the Litigation

Trust Agreement, (c) the identities of the members of the Litigation Advisory Board shall be set

forth in the Plan Supplement, and (d) the OpCo Debtors, the Freedom HoldCo Debtors, and TopCo

shall be deemed to have irrevocably transferred to the Litigation Trust all of their rights, title, and

interests in the Litigation Trust Assets free and clear of all Claims, Liens, encumbrances, or

interests, except as otherwise set forth in the Plan. The Litigation Trust, the Litigation Trustee,

and the Litigation Trust Advisory Board shall be authorized and entitled to take the actions set

forth in, and in each case in accordance with, the Plan and the Litigation Trust Agreement.

Notwithstanding anything to the contrary herein, pursuant to the Global Settlement, TopCo shall

transfer or cause to be transferred to the Litigation Trust, directly or indirectly, the TopCo Cash

Allocation, which amount shall be funded by TopCo to the Litigation Trust Escrow Account and

vest in the Litigation Trust free and clear of all Claims, Liens, encumbrances, or interests.

       125.    The Litigation Trust shall be administered by the Litigation Trustee in accordance

with the Plan and the Litigation Trust Agreement and the Litigation Trustee, in consultation with

the Litigation Trust Advisory Board, shall have sole discretion with respect to the prosecution,

funding, and settlement or other resolution of the Permitted Litigation Claims and the distribution

of the Litigation Trust Assets, consistent with the Litigation Trust Units Allocations and the terms

of the Litigation Trust Agreement and the Plan. The Litigation Trustee shall be authorized, in

accordance with the terms of the Plan and the Litigation Trust Agreement, to take such other


                                                  67
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 68 of 115




actions as may be necessary or desirable to make any distributions to holders of Litigation Trust

Units on account of any Litigation Trust Assets.

       126.    Solely to the extent necessary and in furtherance of the Litigation Trustee Duties,

following the Effective Date, the Litigation Trustee shall be deemed to be a judicial substitute for

the Reorganized Debtors as the party in interest in the Chapter 11 Cases, consistent with

section 1123(b)(3)(B) of the Bankruptcy Code. The Litigation Trust shall be entitled to enjoy the

benefits of section 108(a) of the Bankruptcy Code and shall be deemed to be a trustee (as that term

is used in section 108(a) of the Bankruptcy Code) for purposes of commencing, prosecuting, or

settling the Permitted Litigation Claims.

       127.    Any and all Litigation Trust Units shall be non-transferable and non-assignable

during the term of the Litigation Trust Agreement other than if transferred by will, intestate

succession, if required to be transferred as part of a liquidation or winding up of a holder, or

otherwise by operation of Law. In addition, any and all Litigation Trust Units, to the extent such

units may be deemed “securities” as defined in section 2(a)(1) of the Securities Act, section 101

of the Bankruptcy Code, and applicable state or local securities Laws, will not be registered

pursuant to the Securities Act or any applicable state or local securities Laws and will be issued

under an exemption to the federal securities Laws pursuant to section 1145 of the Bankruptcy Code

and will be exempt from the Investment Company Act of 1940, as amended, pursuant to

sections 7(a) and 7(b) of that Act and section 1145 of the Bankruptcy Code.

SS.    Exemption from Registration Requirements

       128.    To the fullest extent permitted by section 1145(a) of the Bankruptcy Code, the

offering, issuance, and distribution of any securities, including the Reorganized Common Equity,

in exchange for Claims pursuant to Article III or Article V of the Plan, shall be exempt from,

among other things, the registration requirements of the Securities Act and any other applicable


                                                68
            Case 24-12480-LSS         Doc 1596        Filed 06/02/25    Page 69 of 115




U.S. state or local Laws requiring registration prior to the offering, issuance, distribution, or sale

of securities pursuant to section 1145 of the Bankruptcy Code (except with respect to an Entity

that is an “underwriter” as defined in section 1145(b) of the Bankruptcy Code). Except as

otherwise provided in the Plan or the governing certificates or instruments, any and all such

Reorganized Common Equity so issued under the Plan (a) will not be “restricted securities” (as

defined in Rule 144(a)(3) under the Securities Act) and (b) will be freely tradable and transferable

under the Securities Act by the recipients thereof that are not, and have not been within

ninety (90) days of such transfer, an “affiliate” (as defined in Rule 144(a)(1) under the Securities

Act) of the Confirmation Debtors, the Reorganized Debtors, or New TopCo, in each case, subject

to (i) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an

underwriter in section 1145(b) of the Bankruptcy Code, (ii) compliance with applicable securities

Laws and any rules and regulations, including those of the United States Securities and Exchange

Commission (the “SEC”) or U.S. state or local securities Laws, if any, applicable at the time of

any future transfer of such securities or instruments, and (iii) any restrictions in the New

Organizational Documents of New TopCo.

       129.    Notwithstanding anything to the contrary in the Plan or the Restructuring Support

Agreement, no Entity (including DTC or any transfer agent) shall be entitled to require a legal

opinion regarding the validity of any transaction contemplated by the Plan, including, for the

avoidance of doubt, whether issuance of the Reorganized Common Equity is exempt from

registration and/or eligible for book-entry delivery, settlement, and depository (to the extent

applicable). Any transfers of assets or Equity Interests effected (including with respect to the

Reorganized Common Equity), or any obligations incurred through the Restructuring Transactions




                                                 69
           Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 70 of 115




are hereby approved and shall not constitute fraudulent conveyances or fraudulent transfers or

otherwise be subject to avoidance.

TT.    Organizational Documents

       130.    The Reorganized Debtors or New TopCo, as applicable, shall enter into such

agreements and/or amend their corporate governance documents to the extent necessary to

implement the terms and provisions of the Plan and the Bankruptcy Code, which shall: (a) contain

terms consistent with the Plan Supplement and the Global Settlement; and (b) authorize the

issuance, distribution, and reservation of the Reorganized Common Equity to the Entities entitled

to receive such issuances, distributions, and reservations, as applicable under the Plan. The New

Organizational Documents will be deemed to be modified to prohibit (to the extent they do not

include a provision prohibiting) the issuance of non-voting equity securities, pursuant to and solely

to the extent required under section 1123(a)(6) of the Bankruptcy Code. Without limiting the

generality of the foregoing, as of the Effective Date, the Reorganized Debtors and New TopCo

shall be governed by the New Organizational Documents applicable to it. On or immediately

before the Effective Date, each Confirmation Debtor, each Reorganized Debtor, and New TopCo,

as applicable, will file its respective New Organizational Documents with the applicable Secretary

of State and/or other applicable authorities in its respective state of incorporation or formation in

accordance with the applicable Laws of its state of incorporation or formation, to the extent

required under the Plan or applicable nonbankruptcy Law for such New Organizational Documents

to become effective. After the Effective Date, the Reorganized Debtors and New TopCo may

amend and restate the formation, incorporation, organizational, and constituent documents, as

applicable, as permitted by the Laws of its respective jurisdiction of formation or incorporation, as

applicable, and the terms of such documents.




                                                 70
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 71 of 115




       131.    As a condition to receiving the Reorganized Common Equity, Holders of Allowed

Prepetition First Lien Loan Claims, Holders of Allowed DIP Claims, and Holders of Allowed

Prepetition Second Lien Loan Claims, and/or any of their respective designees for receipt of

Reorganized Common Equity, will be required to execute and deliver the applicable New

Organizational Documents for New TopCo. For the avoidance of doubt, any Entity’s or Person’s

receipt of Reorganized Common Equity under, or as contemplated by, the Plan shall be deemed as

its agreement to the applicable New Organizational Documents for New TopCo, and such Entities

and Persons shall be deemed signatories to the applicable New Organizational Documents for New

TopCo without further action required on their part (solely in their capacity as members of New

TopCo). The New Organizational Documents for New TopCo will be effective as of the Effective

Date and, as of such date, will be deemed to be valid, binding, and enforceable in accordance with

its terms, and each recipient of Reorganized Common Equity will be bound thereby in all respects

even if such recipient has not actually executed and delivered a counterpart thereof.

UU.    Exemption from Certain Transfer Taxes and Recording Fees

       132.    To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any

issuance, transfers, or exchanges (whether from a Confirmation Debtor to a Reorganized Debtor

or to any other Entity) of any securities (including the Reorganized Common Equity) or any

makings or deliveries of instruments of transfer pursuant to or in connection with the Plan

(including the Partial Sale Transaction) shall not be subject to any tax under any law imposing a

stamp tax or similar tax. All appropriate state or local government officials, agents or filing or

recording officers (or any other Person with authority over any of the foregoing), wherever located

and by whomever appointed, shall comply with the requirements of section 1146(a) of the

Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and




                                                71
           Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 72 of 115




shall be authorized to accept for filing and recordation any of the foregoing instruments or other

documents without the payment of any such tax, recordation fee, or governmental assessment.

VV.    Other Tax Matters

       133.    From and after the Effective Date, the Reorganized Debtors, including New TopCo,

shall be authorized to make and to instruct any of their subsidiaries to make any elections available

to them under applicable Law with respect to the tax treatment of the Restructuring Transactions

as specified in the Restructuring Transactions Memorandum.

       134.    The Confirmation Debtors will cooperate with any advisors selected by the

Required Consenting First Lien Lenders in respect of all tax structuring matters. The Reorganized

Debtors shall be authorized to request an expedited determination under section 505(b) of the

Bankruptcy Code for all tax returns filed for, or on behalf of, the Confirmation Debtors for any

and all taxable periods ending after the Petition Date through, and including, the Effective Date.

WW. Cancellation of Securities and Agreements

       135.    Except for the purpose of evidencing a right to distribution under the Plan, and

except as otherwise set forth in the Plan or in the Restructuring Transactions Memorandum, on the

Effective Date, all agreements, including all intercreditor agreements, instruments, and other

documents directly or indirectly evidencing, related to, or connected with any Claim, other than

certain Intercompany Claims and Existing Intercompany Equity Interests, as expressly set forth in

the Plan, and any rights of any Holder in respect thereof, shall be deemed canceled, discharged,

and of no force or effect without further act or action under any applicable agreement, Law,

regulation, order, or rule. The holders of or parties to such canceled instruments, securities, and

other documentation will have no rights arising from or relating to such instruments, securities,

and other documentation or the cancellation thereof, except the rights provided for in the Plan.

Notwithstanding anything to the contrary in the Plan, this Confirmation Order, and in the


                                                 72
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 73 of 115




Restructuring Support Agreement, each of the DIP Credit Agreement, the First Lien Credit

Agreement, the Second Lien Credit Agreement, and the HoldCo Credit Agreement shall continue

in effect solely to the extent necessary to: (a) permit Holders of the DIP Claims, Prepetition First

Lien Loan Claims, Prepetition Second Lien Loan Claims, and Prepetition HoldCo Loan Claims to

receive distributions under the Plan on account of such respective Claims; and (b) preserve all

rights of (i) the Second Lien Lenders with respect to the Second Lien Credit Agreement Agent and

vice versa and (ii) the HoldCo Lenders with respect to the HoldCo Credit Agreement Agent and

vice versa, in each case with respect to any rights or obligation to compensation, indemnification,

expense reimbursement, or contribution, or any other claim or entitlement, in each case that they

may have under such agreements that survive termination of such agreements against any entity

that is not a Confirmation Debtor or a Reorganized Debtor, and otherwise in accordance with the

terms of the Plan. Except as provided pursuant to the Plan, upon satisfaction of the DIP Claims,

the Prepetition First Lien Loan Claims, the Prepetition Second Lien Loan Claims, and the

Prepetition HoldCo Loan Claims, respectively (and as the case may be), each of the DIP Credit

Agreement Agent, the First Lien Credit Agreement Agent, the Second Lien Credit Agreement

Agent, and the HoldCo Credit Agreement Agent, respectively (and as the case may be), shall be

discharged of all of their respective obligations associated with the DIP Credit Agreement, the

First Lien Credit Agreement, the Second Lien Credit Agreement, and the HoldCo Credit

Agreement, respectively (and as the case may be) and the Litigation Trust Units and the

Reorganized Common Equity will be held by the recipients thereof directly.

       136.    On the Effective Date, except as otherwise specifically provided for in the Plan

(including in the Restructuring Transactions Memorandum):             (a) the obligations of the

Confirmation Debtors under any certificate, share, note, bond, agreement, indenture, purchase




                                                73
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 74 of 115




right, option, warrant, call, put, award, commitment, registration rights, preemptive right, right of

first refusal, right of first offer, co-sale right, investor rights, or other instrument or document

directly or indirectly evidencing or creating any indebtedness or obligation of or ownership interest

in the Confirmation Debtors giving rise to any Claim or Equity Interest (except such certificates,

notes, or other instruments or documents evidencing indebtedness or obligations of or ownership

interest in the Confirmation Debtors that are specifically Reinstated pursuant to the Plan, if any)

shall be canceled, terminated, and of no further force or effect solely as to the Confirmation

Debtors, without further act or action, and the Confirmation Debtors and the Reorganized Debtors

shall not have any continuing obligations thereunder; and (b) the obligations of the Confirmation

Debtors pursuant, relating, or pertaining to any agreements, indentures, certificates of designation,

bylaws, or certificate or articles of incorporation or similar documents governing the shares,

certificates, notes, bonds, purchase rights, options, warrants, calls, puts, awards, commitments,

registration rights, preemptive rights, rights of first refusal, rights of first offer, co-sale rights,

investor rights, or other instruments or documents evidencing or creating any indebtedness or

obligation of or ownership interest in the Confirmation Debtors (except such agreements,

certificates, notes, or other instruments evidencing indebtedness or obligations of or ownership

interest in the Confirmation Debtors that are specifically Reinstated pursuant to the Plan, if any)

shall be automatically and fully released and discharged.

XX.    Boards; Management

       137.    As of the Effective Date, the members of each of the Boards of the Confirmation

Debtors shall be deemed to have resigned from such Board. Subject to the terms of the applicable

New Organizational Documents, on the Effective Date, the New Boards shall be established and

new members of the New Boards appointed. The initial members of the New Boards shall consist

of those individuals identified in the Plan Supplement. Unless reappointed, the members of the


                                                  74
           Case 24-12480-LSS          Doc 1596       Filed 06/02/25   Page 75 of 115




Boards of the Confirmation Debtors prior to the Effective Date shall have no continuing

obligations to any of the Reorganized Debtors or to New TopCo on and after the Effective Date

and each such member shall be deemed to have resigned or shall otherwise cease to be a director

of the applicable Confirmation Debtor or New TopCo on the Effective Date. Commencing on the

Effective Date, the members of the New Boards shall serve pursuant to the terms of the applicable

New Organizational Documents or the applicable Organizational Documents of such Reorganized

Debtor or New TopCo, as applicable, and may be replaced or removed in accordance therewith,

as applicable.

       138.      As of the Effective Date, the individuals who will serve in certain senior

management positions of the Reorganized Debtors shall consist of those individuals set forth in

the Plan Supplement.

YY.    Director and Officer Insurance Policies; other Insurance Policies

       139.      In accordance with the Plan: (a) on the Effective Date, the Confirmation Debtors

or Reorganized Debtors, as applicable, shall be deemed to have assumed all of the Confirmation

Debtors’ D&O Liability Insurance Policies (including, without limitation, any “tail policy” and all

agreements, documents, or instruments related thereto, which “tail policy” shall not be otherwise

terminated or reduced) in effect prior to the Effective Date pursuant to sections 105 and 365(a) of

the Bankruptcy Code, without the need for any further notice to or action, order, or approval of the

Bankruptcy Court; provided that any indemnity obligations that would otherwise be assumed by

the foregoing assumption of the D&O Liability Insurance Policies shall be governed as provided

elsewhere in the Plan and shall not be deemed to be assumed with assumption of such D&O

Liability Insurance Policies; (b) the Confirmation Debtors and the Reorganized Debtors, as

applicable, shall retain the ability to supplement such D&O Liability Insurance Policies as the

Confirmation Debtors or the Reorganized Debtors, as applicable, may deem necessary; and (c) for


                                                75
           Case 24-12480-LSS          Doc 1596        Filed 06/02/25    Page 76 of 115




the avoidance of doubt, entry of this Confirmation Order will constitute the Bankruptcy Court’s

approval of the assumption of each of the unexpired D&O Liability Insurance Policies.

       140.    For the avoidance of doubt, on and after the Effective Date, each of the Reorganized

Debtors shall be authorized to purchase a directors’ and officers’ liability insurance policy for the

benefit of their respective directors, members, trustees, officers, and managers in the ordinary

course of business.

       141.    Each of the Confirmation Debtors’ insurance policies and any agreements,

documents, or instruments relating thereto, shall be treated as Executory Contracts hereunder.

Unless otherwise provided in the Plan or on the Assumed Contracts List or Rejected

Contracts/Lease List, on the Effective Date, (a) the Confirmation Debtors shall be deemed to have

assumed all insurance policies and any agreements, documents, and instruments relating to

coverage of all insured Claims and (b) such insurance policies and any agreements, documents, or

instruments relating thereto shall revest in the Reorganized Debtors.

       142.    Nothing in the Plan, the Plan Supplement, the Disclosure Statement, this

Confirmation Order, or any other Final Order (including any other provision that purports to be

preemptory or supervening) (a) alters, modifies, or otherwise amends the terms and conditions of

(or the coverage provided by) any of such insurance policies or (b) alters or modifies the duty, if

any, that the insurers or third-party administrators have to pay claims covered by such insurance

policies and their right to seek payment or reimbursement from the Confirmation Debtors (or the

purchaser, solely to the extent assumed and assigned to the purchaser under an asset purchase

agreement) or draw on any Collateral or security therefor. For the avoidance of doubt, insurers

and third-party administrators shall not need to nor be required to File or serve a Cure Dispute or




                                                 76
            Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 77 of 115




a request, application, Claim, Proof of Claim, or motion for payment and shall not be subject to

any Claims Bar Date or similar deadline governing Cure Costs or Claims.

ZZ.      No Action Required; Corporate Action

         143.   No action of the respective directors, equity holders, managers, or members of the

Confirmation Debtors is required to authorize the Confirmation Debtors to enter into, execute,

deliver, file, adopt, amend, restate, consummate, or effectuate, as the case may be, the Plan, the

Restructuring Transactions (subject, in each case, to any consent rights set forth or incorporated

therein), or any contract, assignment, certificate, instrument, or other document to be executed,

delivered, adopted, or amended in connection with the implementation of the Plan, including the

Plan Supplement. On the Effective Date, the New Organizational Documents and any other

applicable amended and restated corporate Organizational Documents of each of the Reorganized

Debtors and New TopCo shall be deemed authorized in all respects. On the Effective Date, any

transition services agreements, agency agreements, or similar agreements or arrangements among

any of the Reorganized Debtors and/or New TopCo shall be deemed authorized in all respects. On

the Effective Date, all actions contemplated by the Plan (including any transaction described in, or

contemplated by, the Restructuring Transactions Memorandum) and the Restructuring

Transactions shall be deemed authorized and approved in all respects, and all such actions taken

or caused to be taken shall be deemed to have been authorized and approved by the Bankruptcy

Court.

         144.   Any action under the Plan to be taken by or required of the Confirmation Debtors,

the Reorganized Debtors, or New TopCo, including the adoption or amendment of certificates of

formation, incorporation and bylaws, the issuance of securities and instruments, or the selection of

officers or directors shall be authorized and approved in all respects, without any requirement of

further action by any of the Confirmation Debtors’, the Reorganized Debtors’, or New TopCo’s


                                                77
              Case 24-12480-LSS       Doc 1596        Filed 06/02/25    Page 78 of 115




equity holders, sole members, boards of directors or boards of managers, or similar body, as

applicable.

       145.     On or (as applicable) before the Effective Date, the appropriate officers of the

Confirmation Debtors, the Reorganized Debtors, or New TopCo, as applicable, shall be authorized

and, as applicable, directed to issue, execute, deliver, acknowledge, file, and/or record, as

applicable, such securities, documents, contracts, instruments, releases and other agreements and

take such other action as may be necessary or appropriate to effectuate and further evidence the

terms and conditions of the Plan, in the name of and on behalf of the Confirmation Debtors, the

Reorganized Debtors, and New TopCo, as applicable, without the necessity of any further

Bankruptcy Court, corporate, limited liability company, board, or member approval or action. In

addition, the selection of the Persons who will serve as the initial directors, officers, and managers

of the Reorganized Debtors and New TopCo as of the Effective Date shall be deemed to have

occurred and be effective on and after the Effective Date without any requirement of further action

by the board of directors, board of managers, or equity holders of the applicable Reorganized

Debtor or New TopCo and each shall serve from and after the Effective Date pursuant to and in

accordance with the terms of the applicable New Organizational Documents and other applicable

documents until such director, officer, or manager resigns or is removed or terminated in

accordance with the applicable New Organizational Documents and other applicable documents.

       146.     Notwithstanding anything to the contrary herein, on or after the Effective Date of

the Plan with respect to the Confirmation Debtors, TopCo shall be authorized to take all actions

necessary to effectuate the terms of the Global Settlement as contemplated by the Plan (including

any transactions described in, or contemplated by, the Restructuring Transactions Memorandum),

including, without limitation, the contribution of the TopCo Cash Allocation to the Litigation




                                                 78
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 79 of 115




Trust, without any requirement or further action by the board of managers or equity holders of

TopCo, as applicable, or approval of the Bankruptcy Court. Without limiting the generality of the

foregoing, all actions contemplated by the Global Settlement as set forth in the Plan and this

Confirmation Order shall be deemed authorized and approved by the Bankruptcy Court in all

respects, and all such actions taken or caused to be taken by TopCo or the Confirmation Debtors,

as applicable, shall be deemed to have been authorized and approved by the Bankruptcy Court.

AAA. Additional Transactions Authorized Under the Plan

       147.    On or prior to the Effective Date, the Confirmation Debtors, with the consent of the

Required Consenting First Lien Lenders, shall be authorized to take any such actions as may be

necessary or appropriate to Reinstate Claims or Equity Interests or render Claims or Equity

Interests Unimpaired, as provided for under the Plan.

BBB. Treatment of Executory Contracts and Unexpired Leases

       148.    The provisions governing the treatment of Executory Contracts and Unexpired

Leases set forth in Article X of the Plan (including the procedures regarding any and all disputes

concerning the assumption, assumption and assignment, or rejection, as applicable, of such

Executory Contracts and Unexpired Leases) shall be, and hereby are, approved in their entirety;

provided that, notwithstanding anything to the contrary herein or in the Plan, any compensation

and benefits agreement, plan, program, and arrangement shall be treated as an Executory Contract

to the extent such compensation and benefits agreement, plan, program, and arrangement is an

executory contract under applicable Law.

       149.    On the Effective Date, except as otherwise provided in the Plan, any Executory

Contracts and Unexpired Leases of the Confirmation Debtors (a) not previously assumed, (b) not

previously assumed and assigned in accordance with the Sale Order or other order approving such

assumption and assignment, (c) not previously rejected pursuant to an order of the Bankruptcy


                                                79
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 80 of 115




Court, and (d) identified on the Assumed Contracts List will be assumed effective as of the

Effective Date pursuant to sections 365 and 1123 of the Bankruptcy Code and this Confirmation

Order, except any Executory Contract or Unexpired Lease (i) identified on the Rejected

Contracts/Lease List, (ii) that is the subject of (A) a separate motion or notice to reject, assume, or

assume and assign or a Cure Dispute that is pending as of the Confirmation Date or (B) an order

of the Bankruptcy Court that is not yet a Final Order, (iii) that previously expired or terminated

pursuant to its own terms (disregarding any terms the effect of which is invalidated by the

Bankruptcy Code), (iv) of the American Freight Debtors that is not otherwise assumed or included

on the Assumed Contracts List, (v) that relates to the Vitamin Shoppe Debtors, and is not otherwise

assumed pursuant to the Sale Order or included on the Assumed Contracts List, or (vi) of Franchise

Group, Inc. that is not otherwise assumed, assumed and assigned, or included on the Assumed

Contracts List. For the avoidance of doubt, except as otherwise set forth in the Plan or as included

on the Assumed Contracts List, all Executory Contracts and Unexpired Leases of the American

Freight Debtors, Franchise Group, Inc., and the Vitamin Shoppe Debtors shall be rejected as of

the Effective Date.

       150.    Entry of this Confirmation Order by the Bankruptcy Court shall constitute an order

approving the assumptions or rejections of the Confirmation Debtors’ Executory Contracts and

Unexpired Leases pursuant to sections 365(a) and 1123 of the Bankruptcy Code effective on the

occurrence of the Effective Date or, as to rejected Executory Contracts and Unexpired Leases, on

such other date as may be identified on the Rejected Contracts/Lease List or other motion or notice

to reject by agreement of the affected counterparty to such Executory Contract or Unexpired Lease;

provided that neither the Plan nor this Confirmation Order is intended to or shall be construed as

limiting the Debtors’ authority under the Sale Order to assume and assign Executory Contracts




                                                  80
             Case 24-12480-LSS        Doc 1596        Filed 06/02/25   Page 81 of 115




and Unexpired Leases to the Buyer pursuant to the Asset Purchase Agreement and any related

documents relating to the Partial Sale Transaction.

        151.    Each Executory Contract and Unexpired Lease assumed pursuant to the Plan or by

Bankruptcy Court order, and not assigned to a third party (including the Buyer pursuant to the

Partial Sale Transaction) on or prior to the Effective Date, shall revest in and be fully enforceable

by the applicable Reorganized Debtor in accordance with its terms, except as such terms may have

been modified by agreement of the parties or, other than with respect to non-residential Unexpired

Leases, by an order of the Bankruptcy Court.

        152.    Except as otherwise provided in the Plan or this Confirmation Order or agreed to

by the Confirmation Debtors and the applicable counterparty, each assumed Executory Contract

or Unexpired Lease shall include all modifications, amendments, supplements, restatements, or

other agreements related thereto, and all rights related thereto, if any, including all easements,

licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other

interests.     Modifications, amendments, supplements, and restatements to prepetition

Executory Contracts and Unexpired Leases that have been executed by the Confirmation Debtors

during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory

Contract or Unexpired Lease or the validity, priority, or amount of any Claims that may arise in

connection therewith.

        153.    Except as provided in paragraphs 118 and 121 of this Confirmation Order, to the

maximum extent permitted by Law, to the extent any provision in any Executory Contract or

Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or

prevent, or is breached or deemed breached by, increases, accelerates or otherwise alters any

obligations, rights, or liabilities of the Confirmation Debtors or the Reorganized Debtors




                                                 81
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 82 of 115




thereunder as a result of, gives rise to any rights or benefits to any non-Debtor party to any such

Executory Contract or Unexpired Lease, or creates any Lien on any asset or property of the

Confirmation Debtors or the Reorganized Debtors as a result of, the assumption of such Executory

Contract or Unexpired Lease or the execution or consummation of the Plan or any other

Restructuring Transaction (including any change of control, sale of business, assignment, vesting,

termination, acceleration, or similar provisions therein), then such provision shall be deemed

unenforceable and modified (solely for purposes of the transactions contemplated under the Plan)

such that the transactions contemplated by the Plan or any other Restructuring Transaction shall

not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired Lease,

to exercise any other default-related rights with respect thereto, to increase, accelerate or otherwise

alter the obligations, rights, or liabilities of the Confirmation Debtors or the Reorganized Debtors

thereunder, to be entitled to any rights or benefits thereunder, or create or impose a Lien on any

asset or property of the Confirmation Debtors or the Reorganized Debtors. For the avoidance of

doubt, Confirmation shall not be deemed an assignment of any Executory Contract or Unexpired

Lease of the Confirmation Debtors, notwithstanding any change in name, organizational form, or

jurisdiction of organization of any Confirmation Debtor in connection with the occurrence of the

Effective Date.

       154.    Any change of control provision in (a) any Unexpired Lease of non-residential real

property shall be unenforceable solely in connection with (i) the assumption of such Unexpired

Lease and (ii) the Restructuring Transactions, to the extent that any change of control provision

would be triggered by the assumption of such Unexpired Lease or the consummation of

Restructuring Transactions, and (b) any contract, agreement, or other document of the

Confirmation Debtors, including any Executory Contract or Unexpired Lease (except as specified




                                                  82
           Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 83 of 115




in the foregoing clause (a)) assumed by the Confirmation Debtors, shall be deemed modified in

accordance with section 365 of the Bankruptcy Code such that assumption of such agreement and

consummation of the transactions contemplated by the Plan shall not (either alone or in

combination with any other condition, event, circumstance or occurrence) (i) be prohibited,

restricted, or conditioned on account of such provision or require any consent thereunder,

(ii) breach or result in the modification or termination of such Executory Contract or Unexpired

Lease (other than Unexpired Leases for non-residential real property), (iii) result in any penalty or

other fees or payments, accelerated or increased obligations, renewal or extension conditions, or

any other entitlement in favor of such non-Debtor party thereunder, including for the avoidance of

doubt any penalty or other fees or payments, accelerated or increased obligations, renewal or

extension conditions that are triggered upon or after the occurrence of (either alone or in

combination with any other condition, event, circumstance or occurrence) a change of control (or

term with similar effect), or (iv) entitle the non-Debtor party thereto to do or impose any of the

foregoing or otherwise exercise any other default-related rights or remedies with respect thereto.

For the avoidance of doubt, any Executory Contract or Unexpired Lease assumed pursuant to the

Plan or otherwise may not be terminated on account of such assumption or on account of the Plan,

the transactions contemplated therein, or any change of control or ownership interest composition

or entity conversion that may occur at any time before, on, or in connection with the Effective

Date. The Reorganized Debtors may rely on the Plan and this Confirmation Order as a complete

defense to any action by a party to an assumed Executory Contract or Unexpired Lease to terminate

such Executory Contract or Unexpired Lease on account of such assumption or on account of the

Plan, the transactions contemplated therein, or any change of control or ownership interest

composition that may occur at any time before or on the Effective Date. Each Executory Contract




                                                 83
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 84 of 115




or Unexpired Lease (including any amendments thereto entered into after the Petition Date and

prior to the Effective Date) assumed pursuant to Article X of the Plan shall revest in and be fully

enforceable by the Reorganized Debtors in accordance with its terms, except as may be deemed

unenforceable or modified (each solely for purposes of the transactions contemplated under this

Plan) by any order of this Bankruptcy Court authorizing and providing for its assumption, or

applicable Law.

       155.    Notwithstanding anything to the contrary in the Plan (other than Section 10.8

thereof) and in the Restructuring Support Agreement, except as otherwise agreed to by the

Confirmation Debtors and the counterparties to an Unexpired Lease, the Confirmation Debtors or

Reorganized Debtors, as applicable, subject to the Definitive Document Consent Rights, are

authorized to amend or supplement the Rejected Contracts/Lease List in their discretion, prior to

the later of (a) the Effective Date and (b) seven (7) days after the date on which the Bankruptcy

Court determines that the Allowed Cure Cost with respect to any Executory Contract or Unexpired

Lease is greater than the amount set forth in the Assumed Contracts List (or, in either case, such

later date as may be agreed with a counterparty); provided that the Confirmation Debtors shall give

prompt notice of any such amendment or supplement to any affected counterparty and such

counterparty shall have a reasonable opportunity to object thereto on any grounds. For the

avoidance of doubt, with respect to any Unexpired Lease for nonresidential real property, the

Confirmation Debtors shall timely perform all of their obligations under the Unexpired Lease as

required by section 365(d)(3) of the Bankruptcy Code until such Unexpired Lease has been

rejected or assumed pursuant to the Plan.

       156.    Any guaranty of an Unexpired Lease that is assumed pursuant to the Plan, this

Confirmation Order, or any other order of the Bankruptcy Court shall remain in full force and




                                                84
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 85 of 115




effect as of the Effective Date, unless otherwise agreed in writing by the Confirmation Debtors or

the Reorganized Debtors and the applicable counterparty.

       157.    Notwithstanding anything in the Plan to the contrary, upon assumption of an

Unexpired Lease, unless waived or otherwise modified by any amendment to such Unexpired

Lease mutually agreed to by the applicable counterparty and the Confirmation Debtor(s) or the

Reorganized Debtor(s), as applicable, the Confirmation Debtor(s) or the Reorganized Debtor(s),

as applicable, shall be obligated to pay or perform on the date upon which such obligations become

due in the ordinary course any accrued but unbilled and not yet due to be paid or performed

obligations under such assumed Unexpired Lease as of the applicable deadline to File objections

or disputes to the Cure Costs for such Unexpired Lease, including, but not limited to, common

area maintenance charges, taxes, year-end adjustments, indemnity obligations, and repair and

maintenance obligations, regardless of whether such obligations arose before or after the Effective

Date; provided that all rights of the parties to any such assumed Unexpired Lease to dispute

amounts asserted thereunder are fully preserved.

       158.    For the avoidance of doubt, except as expressly provided in this Confirmation Order

or as otherwise agreed upon between the Confirmation Debtors and such landlord, nothing in this

Confirmation Order, the Plan, or the Plan Supplement, shall affect, modify, waive, limit, or expand

upon the rights of any landlord with respect to outstanding letters of credit, security deposits, or

surety bonds securing an obligation under an Unexpired Lease (whether such Unexpired Lease is

assumed or rejected under the Plan or otherwise).

CCC. Abandoned Property

       159.    The Confirmation Debtors or the Reorganized Debtors, as applicable, are

authorized to abandon, and are deemed to have abandoned, any remaining personal property

(including, without limitation, any furniture, fixtures, and equipment) located on the Confirmation


                                                85
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 86 of 115




Debtors’ leased premises associated with a rejected Unexpired Lease on the effective date of the

rejection of such Unexpired Lease (the “Rejection Date”) and such property shall be abandoned

free and clear of any liens, claims, and encumbrances; provided that (a) the Confirmation Debtors

or the Reorganized Debtors, as applicable, are not authorized to abandon, and are directed to

remove any hazardous materials as defined under applicable Law from any leased premises as and

to the extend they are required to do so by applicable Law and (b) to the extent the Confirmation

Debtors or the Reorganized Debtors, as applicable, seek to abandon personal property that contains

any “personally identifiable information,” as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Confirmation

Debtors’ employees and/or customers, or any other individual, the Confirmation Debtors or the

Reorganized Debtors, as applicable, shall remove such information from such personal property

prior to its abandonment. Any personal property of the Confirmation Debtors or the Reorganized

Debtors, as applicable, remaining on any leased premises associated with a rejected Unexpired

Lease after the Rejection Date shall be deemed abandoned by the Confirmation Debtors or the

Reorganized Debtors, as applicable, pursuant to section 554 of the Bankruptcy Code without any

further notice to or action, order, or approval of the Bankruptcy Court, and the applicable

counterparties to such Unexpired Leases shall be permitted, in their sole discretion, to sell, utilize,

and/or dispose of any such abandoned property without notice or liability to the Confirmation

Debtors, the Reorganized Debtors, or any third parties and, to the extent applicable, the automatic

stay pursuant section 362 of the Bankruptcy Code is modified to allow such disposition. The rights

of the applicable counterparties to such Unexpired Leases to assert Claims for the disposition,

removal, or storage of any abandoned property are reserved, as are all parties’ rights to object to

such Claims.




                                                  86
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 87 of 115




DDD. Professional Fee Escrow Account

       160.    The Professional Persons of the Creditors’ Committee shall be deemed to have

estimated their Professional Fee Escrow Amount at $21 million minus any amounts paid to the

Professional Persons of the Creditors’ Committee prior to the Effective Date (the “Committee

Reserve Amount”). The Debtors’ funding of the Committee Reserve Amount to the Professional

Fee Escrow Account, in addition to the funding of the TopCo Cash Allocation, shall fulfill the

Debtors’ obligations under the Plan to fund the Litigation Trust Escrow Amount to the Litigation

Trust. No later than the Effective Date, the Confirmation Debtors or the Reorganized Debtors, as

applicable, shall establish and fund the Professional Fee Escrow Account with Cash equal to the

Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be maintained in

trust solely for the Professional Persons, and, with respect to the Committee Reserve Amount, for

the Litigation Trust and the Professional Persons of the Committee, as applicable. No Liens,

Claims, or Equity Interests shall encumber the Professional Fee Escrow Account or Cash held in

the Professional Fee Escrow Account in any way. Such funds shall not be considered property of

the Estates of the Confirmation Debtors or the Reorganized Debtors, as applicable, on the Effective

Date. The amount of Professional Fee Claims owing to the Professional Persons shall be paid in

Cash to such Professional Persons by the Reorganized Debtors from the Professional Fee Escrow

Account as soon as reasonably practicable after such Professional Fee Claims are Allowed. When

all such Allowed amounts owing to Professional Persons other than Professional Persons of the

Creditors’ Committee have been paid in full, any remaining amount in the Professional Fee Escrow

Account reserved for such Professional Persons shall promptly be transferred to the Reorganized

Debtors without any further notice to or action, approval, or order of the Bankruptcy Court. When

all such Allowed amounts owing to Professional Persons of the Creditors’ Committee have been

paid in full, Cash in the Professional Fee Escrow Account equal to the Committee Reserve Amount


                                                87
           Case 24-12480-LSS          Doc 1596        Filed 06/02/25   Page 88 of 115




minus Allowed amounts paid to Professional Persons of the Creditors’ Committee shall promptly

be transferred to the Litigation Trust without any further notice to or action, approval, or order of

the Bankruptcy Court. For the avoidance of doubt, this paragraph is not intended to, and shall not

be deemed to modify, the Litigation Trust Escrow Amount (as that term is used in the Plan).

EEE. Post-Effective Date Fees and Expenses

       161.    Upon the Effective Date, any requirement that Professional Persons comply with

sections 327-331, 363, and 1103 of the Bankruptcy Code in seeking retention or compensation for

services rendered after such date shall terminate, and the Confirmation Debtors or the Reorganized

Debtors, as applicable, may employ and pay any Professional Person in the ordinary course of

business without any further notice to or action, order, or approval of the Bankruptcy Court.

FFF. U.S. Trustee Fees and Related Reporting Obligations

       162.    All U.S. Trustee Fees that are due and owing as of the Effective Date shall be paid

by the Confirmation Debtors in full in Cash on the Effective Date. The Confirmation Debtors shall

File all monthly operating reports due prior to the Effective Date when they become due, using

UST Form 11-MOR. After the Effective Date, the Reorganized Debtors shall File with the

Bankruptcy Court separate UST Form 11-PCR reports when they become due. After the Effective

Date, each of the Reorganized Debtors (or the Disbursing Agent acting on behalf of each of the

Reorganized Debtors) shall pay any and all applicable U.S. Trustee Fees in full in Cash when due

and payable. The Reorganized Debtors shall remain obligated to pay any applicable U.S. Trustee

Fees until the earliest of the closure, dismissal, or conversion to a case under chapter 7 of the

Bankruptcy Code of the case of that particular Confirmation Debtor for whom the Confirmation

Debtors or the Reorganized Debtors, as applicable, is responsible. The U.S. Trustee shall not be

treated as providing any release under the Plan. U.S. Trustee Fees are Allowed. The U.S. Trustee




                                                 88
           Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 89 of 115




shall not be required to File any Proof of Claim or any request for administrative expense for U.S.

Trustee Fees.

GGG. Provisions Governing Distributions

       163.     The procedures governing distributions contained in Article VIII of the Plan shall

be, and hereby are, approved in their entirety. Except as otherwise set forth in the Plan or this

Confirmation Order, the distributions under the Plan shall be made by the Disbursing Agent.

Notwithstanding anything to the contrary herein, in the Plan, or in any registration procedures, any

reallocations of distributions under the Plan among Holders of Claims or Equity Interests by the

Confirmation Debtors or the Disbursing Agent based upon instructions from such Holders of

Claims or Equity Interests are hereby approved and authorized as if they were distributions to the

Holders of Claims or Equity Interests under the Plan and any such distributions shall be governed

by the terms and conditions of the instruments evidencing or relating to such distribution or

issuance, including the New Organizational Documents, and at the expiration of ninety (90) days

from the Effective Date, to the extent any distribution or payment is undeliverable pursuant to the

Plan, including with respect to the delivery of such distribution or payment to or by the ABL Credit

Agreement Agent, the First Lien Credit Agreement Agent, the Second Lien Credit Agreement

Agent, and the Holdco Credit Agreement Agent, as may be applicable, any such distributions or

payments under the Plan (whether or not with respect to Cash, Reorganized Common Equity,

Take-Back Term Loans, or the Exit ABL Facility) shall be deemed unclaimed property under

section 347(b) of the Bankruptcy Code and shall revert to the Reorganized Debtors automatically

and without need for a further order by the Bankruptcy Court (notwithstanding any applicable

federal, provincial or state escheat, abandoned, or unclaimed property Laws to the contrary) and,

to the extent such unclaimed distribution is comprised of Reorganized Common Equity, such

interests of Reorganized Common Equity shall be canceled. For the avoidance of doubt, any


                                                89
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25    Page 90 of 115




Litigation Trust Units that may be deemed unclaimed property under section 347(b) of the

Bankruptcy Code shall revert to the Litigation Trust or such other Person as set forth in the

Litigation Trust Agreement. Upon any reversion or revesting, the Claim of the Holder or its

successors (including any designees) with respect to such property shall be canceled, discharged,

and forever barred notwithstanding any applicable federal or state escheat, abandoned, or

unclaimed property Laws, or any provisions in any document governing such property to

the contrary.

HHH. Procedures for Resolving Claims

        164.    The procedures for resolving Disputed, contingent, and unliquidated Claims or

Equity Interests of the Confirmation Debtors contained in Article IX of the Plan shall be, and

hereby are, approved in their entirety.

III.    Dissolution of Creditors’ Committee

        165.    The Creditors’ Committee shall be automatically dissolved on the Effective Date

of the Confirmation Debtors and all members, employees, or agents thereof shall be released and

discharged from all rights and duties arising from, or related to, the Chapter 11 Cases (including

with respect to TopCo) under the Bankruptcy Code, except for purposes of Filing applications for

Professional Person compensation in accordance with the Plan. The Reorganized Debtors and the

Litigation Trust shall not be responsible for paying any fees or expenses incurred by the members

of or advisors to any statutory committees after the Effective Date.

JJJ.    Conditions Precedent to the Effective Date

        166.    The provisions governing the conditions precedent to Confirmation and the

Effective Date set forth in Article XI of the Plan shall be, and hereby are, approved in their entirety,

subject to satisfaction or waiver of such provisions pursuant to their terms. The Confirmation




                                                  90
               Case 24-12480-LSS       Doc 1596        Filed 06/02/25   Page 91 of 115




Debtors are authorized to consummate the Plan at any time after the entry of this Confirmation

Order, subject to satisfaction or waiver of such provisions pursuant to their terms.

       167.      For the avoidance of doubt, the Confirmation Debtors shall have paid in full in Cash

(or the Confirmation Debtors shall pay in full in Cash substantially contemporaneously with

consummation of the Restructuring Transactions), in accordance with the DIP Orders, all

reasonable and documented fees, costs, and expenses incurred or estimated to be incurred through

the proposed Effective Date by the First Lien Credit Agreement Agent, Seward & Kissel LLP, as

counsel to the First Lien Credit Agreement Agent, and Blank Rome LLP, as Delaware counsel to

the First Lien Credit Agreement Agent.

KKK. Retention of Jurisdiction

       168.      The provisions governing the retention of jurisdiction set forth in Article XIII of

the Plan shall be, and hereby are, approved in their entirety. This Bankruptcy Court may, and upon

the Effective Date shall, retain exclusive jurisdiction over the matters arising in, and under, and

related to, these Chapter 11 Cases (including with respect to TopCo), as set forth in Article XIII

of the Plan.

LLL. Binding Effect

       169.      Subject to Section 11.5 of the Plan and notwithstanding Bankruptcy Rules 3020(e),

6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the provisions of the

Plan shall bind any Holder of a Claim against, or Equity Interest in, the Confirmation Debtors and

inure to the benefit of and be binding on such Holder’s respective successors and assigns, whether

or not the Claim or Equity Interest of such Holder is Impaired under the Plan and whether or not

such Holder has accepted the Plan.




                                                  91
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25    Page 92 of 115




MMM.           Filing of Additional Documents

       170.    Subject to the terms and conditions of the Restructuring Support Agreement and

the Plan, on or before substantial consummation of the Plan, the Confirmation Debtors shall File

with the Bankruptcy Court such agreements and other documents as may be necessary or

appropriate to effectuate and further evidence the terms and conditions of the Plan.               The

Confirmation Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims

receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time,

prepare, execute, and deliver any agreements or documents and take any other actions as may be

necessary or advisable to effectuate the provisions and intent of the Plan. The Claims Agent is

authorized to destroy all paper/hardcopy records related to this matter two (2) years after the

Effective Date has occurred.

NNN. Provisions Regarding the Texas Comptroller and TWC

       171.    Notwithstanding anything else to the contrary in the Plan or this Confirmation

Order, the Texas Comptroller of Public Accounts (the “Texas Comptroller”) and the Texas

Workforce Commission (the “TWC”) reserve the following rights: (a) any statutory or common

Law setoff rights in accordance with section 533 of the Bankruptcy Code; (b) any rights to pursue

any non-Debtor third parties for tax debts or claims; (c) the payment of interest on the Texas

Comptroller’s and the TWC’s Allowed Administrative Expense Claims, if any; (d) to the extent

that interest is payable with respect to any Allowed Administrative Expense Claim, Priority Tax

Claim, or Secured Claim of the Texas Comptroller or the TWC, payment of the statutory rate of

interest pursuant to Texas Tax Code § 111.060; and (e) the Texas Comptroller and the TWC are

not required to File a motion or application for payment of Administrative Expense Claims

pursuant to section 503(b)(1)(D) of the Bankruptcy Code.




                                                  92
           Case 24-12480-LSS           Doc 1596      Filed 06/02/25   Page 93 of 115




       172.    Should the Reorganized Debtors fail to make any payments as required in the Plan

or this Confirmation Order, or remain current on post-petition and/or post-confirmation ordinary

course tax reporting and payment obligations, the Texas Comptroller and the TWC shall provide

written notice of that default to the Reorganized Debtors and their counsel advising of that default

and providing a period of twenty-one (21) days to cure the default. In the event the default is not

cured within twenty-one (21) days, the Texas Comptroller or the TWC may pursue all rights and

remedies available under applicable Texas Law to collect the full amount of all taxes, penalties,

and interest owed.

OOO. Provisions Regarding Omni

       173.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

Proof of Claim No. 2702 (the “Omni POC”) Filed by Omni Hotels Management Corporation as

agent for Frisco Silver Star Hotel Company, LLC d/b/a Omni Frisco Hotel at The Star (“Omni”)

on March 21, 2025, shall be timely Filed; provided that the Confirmation Debtors and the

Reorganized Debtors, as applicable, reserve, on behalf of themselves and the Litigation Trustee,

as applicable, (a) all rights and defenses with respect to any Claim(s), if any, held by Omni that

are covered by the Omni POC and (b) the ability to object to any such Claim(s) on any basis except

on the basis that the Omni POC was not timely Filed; provided further that nothing in this

paragraph shall be deemed an admission as to this amount, basis for, nature, validity, priority, or

enforceability of any such Claim(s).

PPP. Provisions Regarding Richard Grigsby

       174.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

Proof of Claim No. 2707 (the “Grigsby POC”) Filed by Richard Grigsby (“Grigsby”) on March

31, 2025 shall be deemed timely Filed; provided that the Confirmation Debtors and the

Reorganized Debtors, as applicable, reserve, on behalf of themselves and the Litigation Trustee,


                                                93
            Case 24-12480-LSS            Doc 1596     Filed 06/02/25   Page 94 of 115




as applicable, (a) all rights and defenses with respect to any Claim(s), if any, held by Grigsby that

are covered by the Grigsby POC, and (b) the ability to object to any such Claim(s) on any basis

except on the basis that the Grigsby POC was not timely Filed; provided, further, that nothing in

this paragraph 174 shall be deemed (i) an admission as to the amount, basis for, nature, validity,

priority, or enforceability of any such Claim(s), or (ii) to alter or otherwise modify coverage, if

any, under any of the Confirmation Debtors’ insurance policies. All parties’ rights and defenses

under applicable non-bankruptcy Law and the Bankruptcy Code with respect to the foregoing,

including with respect to the right to seek relief from the Bankruptcy Court with respect to Section

12.6 of the Plan, are fully preserved.

QQQ. Provisions Regarding the SEC

       175.    Notwithstanding any language to the contrary in the Plan, the Disclosure Statement,

and/or this Confirmation Order, no provision shall (a) preclude the SEC from enforcing its police

or regulatory powers or (b) enjoin, limit, impair, or delay the SEC from commencing or continuing

any Claims, Causes of Action, proceedings, or investigations against any non-Debtor Person or

non-Debtor Entity in any forum; provided that nothing in the Plan, the Disclosure Statement, or

this Confirmation Order shall alter any legal or equitable rights of the Confirmation Debtors, the

Reorganized Debtors, the Released Parties, or other non-Debtor Persons or non-Debtor Entities

with respect to any such Claim, liability, Cause of Action, investigation, action, or proceeding, if

any.

RRR. Provisions Regarding Assumed Contracts

       176.    Notwithstanding anything to the contrary contained in the Plan, the Plan

Supplement, or this Confirmation Order, upon assumption or assumption and assignment of any

Assumed Contract pursuant to the Plan, the Confirmation Debtors, the Reorganized Debtors, or

assignee, as applicable, shall be responsible for all obligations under such Assumed Contract, cum


                                                 94
            Case 24-12480-LSS         Doc 1596        Filed 06/02/25   Page 95 of 115




onere, including, without limitation, liabilities (if any) for any defaults under such Assumed

Contract, in each case arising or occurring after such assumption or assumption and assignment,

and for payment or performance of any and all obligations under such Assumed Contract arising

or occurring after such assumption or assumption and assignment when due in accordance with

the terms of such Assumed Contract (irrespective of whether such obligations arose, occurred, or

accrued before, on, or after the assumption or assumption and assignment of such Assumed

Contract), including with respect to, if applicable, (a) claims for indemnification, (b) obligations

to satisfy or discharge any Liens, including mechanics’ Liens, against the premises where any

assumed Unexpired Lease is located or any improvements or additions thereto, (c) year-end

adjustment and reconciliation amounts that become due on or after the Effective Date of the Plan,

including for royalties, rents, utilities, taxes, insurance, fees, common area or other maintenance

charges, repairs and replacements, promotional funds, and percentage rent (if applicable under the

terms of the Assumed Contract), and (d) the Confirmation Debtors shall maintain insurance

coverage required under the Unexpired Leases and will continue to satisfy indemnification

obligations arising under the Unexpired Leases (if any), including with regard to pre-Effective

Date events or occurrences.

        177.    Notwithstanding any provisions to the contrary in the Plan, the Plan Supplement,

or this Confirmation Order, all setoff rights of counterparties to Assumed Contracts and/or their

affiliates are fully preserved.

SSS.    Provisions Regarding Certain Government Matters

        178.    As to the United States of America (the “United States”), nothing in the Plan or this

Confirmation Order shall: (a) discharge, release, enjoin, bar, impair, or otherwise preclude any

Claim of the United States not subject to the Governmental Bar Date; (b) affect or impair the

exercise of the United States’ or any State’s police and regulatory powers against the Confirmation


                                                 95
            Case 24-12480-LSS          Doc 1596        Filed 06/02/25    Page 96 of 115




Debtors, the Reorganized Debtors, or any non-Debtor; (c) be interpreted to set Cure Costs or to

require the United States or any State to novate or otherwise consent to the transfer of any federal

or state contracts, purchase orders, agreements, leases, covenants, guaranties, indemnifications,

operating rights agreements, or other interests; (d) affect or impair the United States’ or any State’s

rights and defenses of setoff and recoupment, or ability to assert setoff or recoupment against the

Confirmation Debtors or the Reorganized Debtors, as applicable, and such rights and defenses are

expressly preserved, subject to section 553 of the Bankruptcy Code; (e) constitute an approval or

consent by the United States without compliance with all applicable legal requirements and

approvals under non-bankruptcy Law; or (f) relieve any party from compliance with all licenses

and permits issued by Governmental Units in accordance with non-bankruptcy Law. For the

avoidance of doubt, nothing in the Plan or this Confirmation Order shall bar the Internal Revenue

Service (the “IRS”) from exercising its nonbankruptcy rights to offset any request for a tax refund

for a tax period ending prior to the Petition Date against any prepetition claims of the United States

government against any of the Confirmation Debtors to the extent permitted by the

Bankruptcy Code.

       179.    Nothing in the Plan or this Confirmation Order shall release, satisfy, discharge, or

enjoin the collection of any Claim against any entity, including, but not limited to, the

Confirmation Debtors by or on behalf of the United States for any liability arising (a) out of a

postpetition tax period for which a return has not been filed or (b) as a result of a pending audit or

audit that may be performed with respect to any postpetition tax period. Furthermore, nothing

shall enjoin the United States from amending any Claim against any Confirmation Debtor with

respect to any tax liability (i) arising out of a postpetition tax period for which a tax return has not

been filed or (ii) from a pending audit or audit that may be performed with respect to any




                                                  96
            Case 24-12480-LSS          Doc 1596         Filed 06/02/25    Page 97 of 115




postpetition tax period. Any liability arising (A) out of a postpetition tax period for which a return

has not been filed or (B) as a result of a pending audit or audit which may be performed with

respect to any postpetition tax period shall be paid in accordance with the terms of the Plan

applicable to Claims of same priority as those liabilities, to the extent such liabilities are Allowed

pursuant to section 1129 (a)(9) of the Bankruptcy Code.

        180.    If the Reorganized Debtors do not timely object to the Priority Tax Claims in

accordance with the Plan, such Priority Tax Claims shall be deemed Allowed Priority Tax Claims

under the Plan. Except as explicitly set forth herein, notwithstanding anything to the contrary in

the Plan or this Confirmation Order, the Confirmation Debtors and the Reorganized Debtors, as

applicable, shall pay any Allowed Priority Tax Claims consistent with section 1129(a)(9)(C) of

the Bankruptcy Code and the IRS shall not be required to File a motion or application for payment

of Administrative Expense Claims pursuant to section 503(b)(1)(D) of the Bankruptcy Code.

TTT. Provisions Regarding the D&O Stay Relief Order

        181.    Notwithstanding anything to the contrary in the Plan or the Plan Supplement,

nothing herein or in the Plan or the Plan Supplement alters or supersedes the relief granted in the

Order Granting Motion of Andrew Laurence, Matthew Avril, Brian Kahn, Cynthia Dubin, and

Thomas Herskovitz for Relief from the Automatic Stay to the Extent Applicable, to Allow Payment

of Defense Costs and Other Losses Under Directors and Officers Insurance Policies

[Docket No. 1256] (as such order may be amended, modified, or supplemented, the “D&O Stay

Relief Order”), and such order remains in full force and effect. For the avoidance of doubt, the

D&O Liability Insurance Policies, subject to the terms and conditions thereof, provide coverage

for those insured persons covered by such policies (collectively, the “Insureds”) for the remaining

term of such policies and runoff or tail coverage, if applicable, after the Effective Date to the fullest

extent permitted by such D&O Liability Insurance Policies, the Plan, the Plan Supplement, the


                                                   97
              Case 24-12480-LSS          Doc 1596         Filed 06/02/25     Page 98 of 115




D&O Stay Relief Order, and applicable Law. On and after the Effective Date, the Confirmation

Debtors, the Reorganized Debtors, or the Litigation Trustee, as applicable, shall not terminate or

otherwise reduce the coverage under any of the D&O Liability Insurance Policies, and Insureds

shall be entitled to the full benefits permitted by any such D&O Liability Insurance Policies and

applicable Law for the full term of such policies, provided that any indemnity obligations of the

Confirmation Debtors or the Reorganized Debtors that would otherwise be assumed by the

foregoing assumption of the D&O Liability Insurance Policies shall be governed as provided in

the Plan and shall not be deemed to be assumed with assumption of such D&O Liability Insurance

Policies.     Except as expressly provided in the D&O Stay Relief Order, Confirmation and

effectiveness of the Plan will not discharge, enjoin, impair, affect, or otherwise modify any rights

of the Insureds or any other beneficiaries under the D&O Liability Insurance Policies, including

policy      nos.   01-685-80-72,    ELU186333-22,         NHS702418,       HN-0303-6891-103022,         and

DOX30012847801 and 01-760-24-67. All rights of the Insureds, TopCo, the Confirmation

Debtors, and the Reorganized Debtors, as applicable, with respect to the D&O Liability Insurance

Policies are expressly preserved to the fullest extent permissible by applicable Law and the

applicable D&O Liability Insurance Policies. Notwithstanding anything to the contrary herein,

the Litigation Trust shall retain the ability to pursue the D&O Liability Insurance Policies with

respect to Permitted Litigation Claims.

UUU. Provisions Regarding Texas Taxing Authorities

         182.      For the avoidance of doubt and notwithstanding anything to the contrary in the Plan

or this Confirmation Order, the Confirmation Debtors shall pay all postpetition ad valorem tax

liabilities owing to the Texas Taxing Authorities 6 in the ordinary course of business as such tax


6   The “Texas Taxing Authorities” are all entities represented by Perdue Brandon Fielder Collins & Mott LLP,
    Linebarger Goggan Blair & Sampson LLP and McCreary Veselka Bragg & Allen including but not limited to:


                                                     98
            Case 24-12480-LSS              Doc 1596         Filed 06/02/25       Page 99 of 115




debt comes due and prior to said ad valorem taxes becoming delinquent without the need of the

Texas Taxing Authorities to File an Administrative Expense Claim and/or request for payment. If

the Confirmation Debtors fail to pay the said ad valorem taxes by the statutory delinquency date,

penalties and interest properly charged under the Texas Property Tax Code shall accrue and be due

thereon, subject to any applicable limitation in the Bankruptcy Code. To the extent that any of the

Texas Taxing Authorities have valid, perfected, and unavoidable tax Liens on account of 2025 ad

valorem tax liabilities, such tax Liens shall remain attached with the same priority to the

Confirmation Debtors’ property, or proceeds from the sale thereof, until the applicable 2025 ad

valorem tax liabilities thereon have been fully paid, including any postpetition penalties and


   Anderson County, Bell County Tax Appraisal District, Bowie Central Appraisal District, Brazos County, Burnet
   Central Appraisal District, Cherokee County, Cherokee County Appraisal District, Coryell County, Denton
   County (including City of Denton, Denton ISD, City of Lewisville), Guadalupe County, Hays County, Henderson
   County, Jasper County Tax Units (Jasper ISD), City of Waco et al, Midland Central Appraisal District, Pine Tree
   ISD, Taylor County Central Appraisal District, Terry County Appraisal District, Williamson County, Randall
   County Tax Office, Potter County Tax Office, Kerrville Independent School District, Copperas Cove Independent
   School District, Lubbock Central Appraisal District, Midland County, Brownsville Independent School District,
   Brazoria County, et al, Brazoria County, MUD #34, Clear Creek Independent School District, Spring Independent
   School District, Harris County Water Control District #110, City of Houston, Alief Independent School District,
   Spring Branch Independent School District, Pasadena Independent School District, Klein Independent School
   District, Baybrook Municipal Utility District 1, Humble Independent School District, Harris County Municipal
   Utility District 186, Harris County Water Control District #145, West Harris County Municipal Utility District 6,
   Harris County Municipal Utility District 70, City of Southside Place, Harris County Municipal Utility District
   367, Nottingham County Municipal Utility District, Harris County Municipal Utility District 168, Tomball
   Independent School District, City of Tomball, City of Montgomery, Magnolia Independent School District,
   Montgomery County Municipal Utility District 95, Carrollton-Farmers Branch Independent School District, City
   of Grapevine, Grapevine-Colleyville Independent School District, Wichita County Tax Office, Nacogdoches
   County CAD, et al., Titus County Appraisal District, et al., Tyler Independent School District, Fort Bend
   Independent School District, Cinco Southwest Municipal Utility District #95, Fort Bend County Levee
   Improvement District #136, Fort Bend County Municipal Utility District #3, City of Allen, Allen Independent
   School District, Bexar County, City of Carrollton, Cypress-Fairbanks Independent School District, Dallas County,
   Deer Park Independent School District, City of El Paso, Ellis County, Fort Bend County, City of Frisco, Grayson
   County, Gregg County, Harris County Emergency Service District No. 08, Harris County Emergency Service
   District No. 09, Harris County Emergency Service District No. 11, Harris County Emergency Service District
   No. 16, Harris County Emergency Service District No. 48, Hays CISD, Hidalgo County, Hopkins County, City
   of Houston, Houston Community College System, Houston Independent School District, Irving Independent
   School District, Jefferson County, Katy Independent School District, Kaufman County, Kerr County, Lewisville
   Independent School District, Lone Star College System, City of McAllen, McLennan County, Montgomery
   County, Navarro County, Northwest Independent School District, Nueces County, Parker CAD, City of Pasadena,
   City of Prosper, Prosper Independent School District, Rockwall CAD, San Patricio County, Smith County, City
   of Sulphur Springs, Sulphur Springs Independent School District, Tarrant County, Tom Green CAD, Wise
   County, and City of Wylie.




                                                       99
           Case 24-12480-LSS        Doc 1596      Filed 06/02/25     Page 100 of 115




interest to the extent permitted by the Bankruptcy Code. The Texas Taxing Authorities’ lien

priority shall not be primed or subordinated by any exit financing approved by the Bankruptcy

Court in conjunction with the Confirmation of this Plan or otherwise to the extent the Texas Taxing

Authorities’ Liens arose in the ordinary course of business and are granted priority over any other

Liens pursuant to applicable non-bankruptcy Law. Notwithstanding any of the foregoing, all

parties’ rights to object to the priority, validity, amount, and extent of the claims and tax Liens

asserted by the Texas Taxing Authorities are fully preserved.

VVV. Provisions Regarding Tempur Sealy

       183.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the rights of Temper Sealy International, Inc. and its affiliates to assert any right of setoff or

recoupment that they may have under any agreement with the Confirmation Debtors and applicable

Law are fully preserved, including, but not limited to, the assertion of rights of setoff or

recoupment in connection with Claims reconciliation or as a defense to any Claim or Cause of

Action, if any, by the Confirmation Debtors, the Reorganized Debtors, any successors to the

Confirmation Debtors, or the Litigation Trustee, as applicable.

WWW.           Provisions Regarding the Chubb Companies

       184.    Notwithstanding anything to the contrary in the Plan (including, without limitation

and for the avoidance of doubt, Sections 7.5, 7.19, 7.22, 8.17, and 10.8 thereof), the Plan

Supplement, this Confirmation Order (including, without limitation and for the avoidance of doubt,

any provisions in this Confirmation Order that correspond to and/or restate any of the foregoing

Plan provisions), any other Definitive Document, the Bar Date Order, any notice pursuant to the

Bar Date Order or any Claim objection, any other document related to any of the foregoing, or any

other order of the Bankruptcy Court (including, without limitation, any other provision that

purports to be preemptory or supervening, purports to limit or impact a setoff or recoupment right,


                                               100
            Case 24-12480-LSS             Doc 1596        Filed 06/02/25        Page 101 of 115




grants an injunction, discharge or release, confers Bankruptcy Court jurisdiction, or requires a

party to opt out of any releases under the Plan or this Confirmation Order):

                  (a)     on the Effective Date, the Reorganized Debtors shall assume (i) all
                          of the insurance policies issued by the Chubb Companies 7 with an
                          unexpired term (including for all lines of coverage and all extensions
                          and/or renewals thereof) that currently provide coverage to the
                          Confirmation Debtors or their predecessors (collectively,
                          the “Current Chubb Policies”), and (ii) all agreements, documents,
                          or instruments related thereto (collectively, and together with the
                          Current Chubb Policies, each as amended, modified, or
                          supplemented, and including any exhibit or addenda thereto,
                          collectively, the “Chubb Insurance Program”); provided, however,
                          for the avoidance of doubt, the Confirmation Debtors shall not
                          assume any insurance policies with the Confirmation Debtors issued
                          by the Chubb Companies that have expired and/or terminated
                          pursuant to their terms (any such expired Chubb Insurance Policies,
                          collectively, the “Expired Chubb Policies,” and together with the
                          Current Chubb Policies, the “Chubb Insurance Policies”);

                  (b)     on and after the Effective Date, the Expired Chubb Policies shall
                          ride through these Chapter 11 Cases unaltered and continue in full
                          force and effect unaltered thereafter in accordance with the terms
                          and conditions thereof and applicable non-bankruptcy Law;
                          provided, however, that for the avoidance of doubt, all monetary
                          obligations shall be treated as provided in subsection (c) hereof;

                  (c)     on and after the Effective Date, the Reorganized Debtors shall be
                          liable for their and all of the Confirmation Debtors’ obligations
                          under the Chubb Insurance Program and the Expired Chubb
                          Policies, regardless of whether any such obligations arise or become
                          due before, on, or after the Effective Date, without the need or
                          requirement for the Chubb Companies to File or serve any objection
                          to a notice of proposed Cure Cost (or lack of such notice) or File or
                          serve a request, motion, or application for payment of such
                          obligations, or Proof of Claim, Cure Cost, serve a Cure Objection,
                          or Administrative Expense Claim; but in each case subject to the
                          Confirmation Debtors’ or Reorganized Debtors’ (as applicable)
                          rights and defenses under the Chubb Insurance Program and/or
                          applicable non-bankruptcy Law. For the avoidance of doubt, the
                          Reorganized Debtors’ and the Confirmation Debtors’ monetary

7   The term “Chubb Companies” shall mean ACE American Insurance Company and/or any of its U.S.-based
    affiliates and the predecessors and successors, collectively, and solely in their capacities as insurers and/or
    third-party administrators of one or more of the Confirmation Debtors.




                                                       101
Case 24-12480-LSS     Doc 1596      Filed 06/02/25      Page 102 of 115




        obligations, as applicable, with regard to (i) a covered claim under
        an Expired Chubb Policy for a date of loss after the Petition Date
        but prior to the expiration or termination of the applicable Expired
        Chubb Policy or (ii) any covered claim under a Current Chubb
        Policy shall be satisfied by the Reorganized Debtors in the ordinary
        course in full dollars pursuant to the applicable Chubb Insurance
        Policy, the Chubb Insurance Program, and/or applicable
        non-bankruptcy Law (or prior to the Effective Date, bankruptcy
        Law, if applicable and provided such is in accordance with this
        paragraph 184); provided, further, that, for the avoidance of doubt,
        all of the Chubb Companies’ rights against or interest in (including
        any valid, enforceable, perfected, and non-avoidable security
        interests in and Liens on) any and all letters of credit, Cash, trusts,
        accounts, credits, and other collateral and security provided to or
        held by the Chubb Companies in relation to the Chubb Insurance
        Program and/or the Expired Chubb Policies (collectively,
        the “Chubb Collateral”) are specifically reserved and preserved;
        provided, however, that Reorganized Debtors’ and the Confirmation
        Debtors’ monetary obligations, as applicable, with regard to any
        claim covered under a Chubb Insurance Policy where the date of
        loss occurred prior to the Petition Date (a “Prepetition Covered
        Loss”) shall be satisfied first by setting off, using, or otherwise
        applying (in full dollars) the Chubb Collateral to such amounts in
        accordance with the terms and conditions of the Chubb Insurance
        Program and Expired Chubb Policies, as applicable, and applicable
        non-bankruptcy Law (or prior to the Effective Date, bankruptcy
        Law, if applicable and provided such is in accordance with this
        paragraph 184); provided, further, that to the extent that the Chubb
        Companies believe they have a Claim against the Confirmation
        Debtors that becomes liquidated, due, and owing related to a
        Prepetition Covered Loss that is not satisfied by the Chubb
        Collateral, the Chubb Companies shall be permitted to amend their
        Proof of Claims, (Claim Nos. 1264 and 1279) (the “Chubb
        Claims”), as applicable, to reflect such liquidated amount, and such
        claims shall be treated as General Unsecured Claims; provided,
        further, at any time after the Effective Date the Chubb Companies
        may draw down on any letter of credit that is Chubb Collateral and
        hold the proceeds thereof as security for the obligations of the
        insureds including the Confirmation Debtors (and the Reorganized
        Debtors, as applicable) and/or apply such proceeds to the obligations
        of the insureds, including the Confirmation Debtors (and the
        Reorganized Debtors, as applicable), under the Chubb Insurance
        Program and any Expired Chubb Policies, as applicable, in such
        order as the Chubb Companies may determine in accordance with
        the Chubb Insurance Program and Expired Chubb Policies, as
        applicable, and applicable non-bankruptcy Law; provided, further,



                                 102
Case 24-12480-LSS      Doc 1596      Filed 06/02/25      Page 103 of 115




         that all parties’ rights pursuant to the Chubb Insurance Program, the
         Chubb Expired Policies, and/or applicable non-bankruptcy Law
         and, if applicable, bankruptcy Law, with respect to the Chubb
         Claims are reserved and preserved; provided, however, for the
         avoidance of doubt, no party may object to or challenge the Chubb
         Claims on any basis that is inconsistent with the treatment outlined
         in this paragraph;

   (d)   except as expressly provided in this paragraph 184, nothing
         (i) alters, modifies, supplements, changes, expands, diminishes,
         releases or otherwise amends the terms and conditions of (or the
         coverage provided by) the Chubb Insurance Program or the Expired
         Chubb Policies, or the rights, duties, obligations, and defenses of the
         Chubb Companies, the Confirmation Debtors, the Reorganized
         Debtors, the insureds, or any other individual or Entity, as
         applicable, under the Chubb Insurance Program or the Expired
         Chubb Policies, including (A) the Chubb Companies’ setoff or
         recoupment rights under the Chubb Insurance Program and/or the
         Chubb Insurance Policies (subject to the terms thereto and/or
         applicable non-bankruptcy Law) against the Confirmation Debtors
         and/or the Reorganized Debtors, and/or (B) the Chubb Companies’
         interest in Chubb Collateral, or (ii) alters or modifies the duty, if
         any, that the Chubb Companies have to pay claims covered by the
         Chubb Insurance Policies and their right to seek payment or
         reimbursement from the Confirmation Debtors (or after the
         Effective Date, the Reorganized Debtors) or draw on any Chubb
         Collateral;

   (e)   nothing shall permit or otherwise effect a sale, assignment, or any
         other transfer of the Chubb Insurance Program or the Expired Chubb
         Policies, as applicable, and/or any rights, proceeds, benefits, claims,
         rights to payments, or recoveries under or relating thereto without
         the prior express written consent of the Chubb Companies; and

   (f)   on and after the Effective Date, the automatic stay of section 362(a)
         of the Bankruptcy Code and the injunctions set forth in Article XII
         of the Plan, if and to the extent applicable, shall be deemed lifted
         without further order of the Bankruptcy Court, solely to permit:
         (i) claimants with valid workers’ compensation claims or direct
         action claims against the Chubb Companies under applicable
         non-bankruptcy Law to proceed with their claims; (ii) the Chubb
         Companies to administer, handle, defend, settle, and/or pay, in the
         ordinary course of business and without further order of this
         Bankruptcy Court, (A) workers’ compensation claims, (B) claims
         where a claimant asserts a direct claim against the Chubb
         Companies under applicable non-bankruptcy Law, or an order has
         been entered by the Bankruptcy Court granting a claimant relief


                                  103
           Case 24-12480-LSS        Doc 1596      Filed 06/02/25      Page 104 of 115




                      from the automatic stay or the injunctions set forth in Article XII of
                      the Plan to proceed with its claim, and (C) all costs in relation to
                      each of the foregoing; (iii) the Chubb Companies to draw against
                      any or all of Chubb Collateral provided by or on behalf of the
                      Confirmation Debtors (or the Reorganized Debtors, as applicable)
                      at any time and to hold the proceeds thereof as security for the
                      obligations of the insureds including the Confirmation Debtors (and
                      the Reorganized Debtors, as applicable) and/or apply such proceeds
                      to the obligations of insureds including the Confirmation Debtors
                      (and the Reorganized Debtors, as applicable) under the Chubb
                      Insurance Program or the Chubb Insurance Policies, in each case, to
                      the extent the Chubb Companies have valid, enforceable, perfected,
                      and non-avoidable security interests in and Liens on any such Chubb
                      Collateral, as applicable, and, for the avoidance of doubt, the
                      drawing on any letters of credit shall be subject to the terms of such
                      letters of credit, as applicable; provided that, for the avoidance of
                      doubt, all of the Chubb Companies’, the Confirmation Debtors’, and
                      the Reorganized Debtors’ rights with respect to the foregoing
                      pursuant to the Chubb Insurance Program, the Chubb Insurance
                      Policies (including the Expired Chubb Policies and, for the
                      avoidance of doubt, any Chubb Collateral), and/or applicable
                      non-bankruptcy Law shall be unaltered and preserved; and (iv) the
                      Chubb Companies to cancel any insurance policy that is part of the
                      Chubb Insurance Program, and take other actions relating to the
                      Chubb Insurance Program and the Chubb Insurance Policies
                      (including effectuating a setoff and/or any recoupment or
                      subrogation rights or claims, all of which are specifically preserved),
                      in each case in accordance with the applicable terms of the Chubb
                      Insurance Program and the Chubb Insurance Policies and/or
                      applicable non-bankruptcy Law.

Notwithstanding anything to the contrary in this paragraph 184: (i) the Reorganized Debtors shall

not be deemed to have assumed any obligation to provide defense and indemnification to any

director or officer that would entitle such individuals to any Claim against, or satisfaction from,

any Reorganized Debtors, other than (A) from insurance proceeds, if any, that may be available

under any applicable D&O Liability Insurance Policies or (B) as such obligations are expressly

provided for in the Plan, including pursuant to sections 7.5 and 7.18 thereof; provided, however,

notwithstanding the immediately foregoing, coverage for defense and indemnity under any D&O

Liability Insurance Policies issued by the Chubb Companies shall remain pursuant and subject to



                                               104
            Case 24-12480-LSS           Doc 1596       Filed 06/02/25       Page 105 of 115




the terms and conditions of any applicable D&O Liability Insurance Policy and any claim that the

Chubb Companies may have against the Confirmation Debtors or the Reorganized Debtors, as

applicable, on account of any such claim shall be treated as provided in this paragraph 184; and

(ii) nothing in this paragraph shall prevent the Chubb Companies from administering, handling,

settling, or paying such defense and indemnification claims in the ordinary course and in full

dollars, subject to the terms and conditions of any applicable Chubb Insurance Policy. For the

avoidance of doubt, this paragraph 184 only applies to the Chubb Insurance Program and Chubb

Expired Policies, claims arising therefrom, and claims covered thereunder.

XXX. Provisions Regarding Applicable Landlords

        185.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the Reorganized Debtors shall provide the Applicable Landlords 8 at least five (5) days’ notice prior

to the removal from the Claims Register of any Applicable Landlords’ Claims which are

disallowed or expunged pursuant to the Plan as a result of such Claims not being timely Filed or

as a result of any Cure Costs being fully paid.

        186.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

nothing herein shall permit the Confirmation Debtors or the Reorganized Debtors, as applicable,

to assign any Unexpired Leases of the Applicable Landlords except as provided for under

sections 365(a) and 1123 of the Bankruptcy Code. After the Effective Date, the Confirmation

Debtors shall provide the Applicable Landlords notice to the extent required by the terms of the


8   “Applicable Landlords” means ARC CPFAYNC001, LLC, ARC MCLVSNV001, LLC, ARC TSKCYMO001,
    LLC, ARG LSSALMD001, LLC, Acadia Realty Trust, BMA Springhurst LLC, Brixmor Operating Partnership
    LP, Continental Realty Corporation, Deutsche Asset & Wealth Management, Federal Realty OP LP, FR
    Grossmont, LLC, Prime/FRIT Mission Hills, LLC, Gerrity Group, LLC, Great Hills Retail, Inc., RD Management
    LLC, Ritchie Interchange, LLC, Realty Income Corporation, Macerich Company, The Sterling Organization,
    LLC, Urban Edge Properties, LP, Northlake Village Owner, LLC, PF Portfolio 2, LP, River Oaks El Mercado,
    LLC, IREIT Pittsburgh Settlers Ridge, L.L.C., CRI New Albany Square LLC, Grove City Plaza LP, and
    Northridge Crossing L.P.




                                                    105
           Case 24-12480-LSS           Doc 1596       Filed 06/02/25      Page 106 of 115




applicable Unexpired Leases in the event of any “change or control” or assignment of such

Unexpired Leases, including as a result of or in connection with any Restructuring Transaction.

YYY. Provisions Regarding Buddy Mac Holdings, LLC

        187.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

nothing herein shall modify any assumed Executory Contracts with Buddy Mac Holdings, LLC or

any of its direct or indirect subsidiaries (collectively, “BMH,” and such Executory Contracts,

collectively, the “Buddy Mac Agreements”) to eliminate any prohibitions in any Buddy Mac

Agreement regarding a change of control or assignment provision, if any, other than with respect

to the Restructuring Transactions contemplated under the Plan. Notwithstanding anything to the

contrary in the Plan or this Confirmation Order, to the extent the Confirmation Debtors reject any

Buddy Mac Agreement after the Effective Date in accordance with the Plan, including following

the determination or resolution of a Cure Dispute, any such rejection shall be deemed to be

effective as of the earlier of a date agreed to by the parties or ten (10) days after the date that notice

is first provided to BMH of such rejection (notice by email to the following address shall

suffice: ian@macfamco.com, with a copy to matthew.ward@wbd-us.com). Notwithstanding

anything to the contrary in Article XIII(a) of the Plan, the parties agree that the Bankruptcy Court

shall not exercise jurisdiction after the Effective Date with respect to any matters related to the

parties’ contractual obligations under any Buddy Mac Agreement, unless such contractual matters

need to be addressed by the Bankruptcy Court as relating to the Plan, these Chapter 11 Cases, or

the adjudication of assumption, assumption and assignment, or rejection issues or Cure Disputes,

unless the Bankruptcy Court otherwise has jurisdiction over such matters pursuant to applicable

Law and declines to abstain. Notwithstanding anything to the contrary in the Plan or this

Confirmation Order, except as agreed to by the Confirmation Debtors and BMH, each assumed

Buddy Mac Agreement shall include all fully integrated modifications, amendments, supplements,


                                                  106
           Case 24-12480-LSS          Doc 1596      Filed 06/02/25      Page 107 of 115




restatements, or other agreements related thereto, and all rights related thereto, if any, including

all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

any other interests or rights.

        188.    Notwithstanding anything in the Plan or this Confirmation Order to the contrary,

the rights of the Confirmation Debtors, the Reorganized Debtors, and each of their successors and

assigns, as applicable, and BMH are preserved with respect to arguing the applicability of non-

bankruptcy Law in determining the effects of rejecting any Buddy Mac Agreement, including each

party’s rights and obligations thereunder. For the avoidance of doubt, BMH’s objection to the

Confirmation Debtors’ assumption of the franchise agreements for store 13 (the “Store 13

Franchise Agreement”), as set forth in the BMH Objection, constitutes a Cure Dispute and all

parties’ rights are preserved with respect to such Cure Dispute.            The Store 13 Franchise

Agreements shall not be assumed and assigned until such Cure Dispute is resolved, including the

cure of any nonmonetary defaults under the Store 13 Franchise Agreements to the extent required

by the Bankruptcy Court and under the Bankruptcy Code. The Confirmation Debtors’ and the

Reorganized Debtors’ rights are reserved to reject the Store 13 Franchise Agreements in

accordance with the Plan and this Confirmation Order, including, without limitation, in the event

the Bankruptcy Court determines that the Allowed Cure Cost with respect to the Store 13 Franchise

Agreements is greater than the amount set forth in the Assumed Contracts List and/or the

Bankruptcy Court determines that the Store 13 Franchise Agreement may not be assumed.

ZZZ. Provisions Regarding STORE

        189.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the rejection of the Master Lease Agreement dated September 24, 2013 between STORE Master

Funding IV, LLC (“STORE”) and Buddy’s Newco, LLC (such lease, and any ancillary documents

executed in connection therewith or pursuant thereto, the “Master Lease”) and certain sublease


                                                 107
           Case 24-12480-LSS         Doc 1596       Filed 06/02/25     Page 108 of 115




agreements associated therewith (collectively, with any ancillary documents executed in

connection therewith or pursuant thereto, the “Subleases”) shall not (a) prejudice, modify, or

impair any of STORE’s rights thereunder, including, without limitation, STORE’s rights to enforce

a subtenant’s agreement to attorn to STORE upon STORE’s election to assume the applicable

Sublease, or (b) constitute or be deemed to effect a termination of the Master Lease or any

applicable Sublease. Notwithstanding anything to the contrary in the Plan or this Confirmation

Order, the rights, claims, and remedies of the Confirmation Debtors, the Reorganized Debtors,

subtenants, if any, STORE, and each of their respective successors and assigns, as applicable, are

reserved with respect to any rights, claims, or defenses under the Master Lease and the Subleases,

as applicable, and applicable Law. For the avoidance of doubt, in accordance with section 365 of

the Bankruptcy Code, the Confirmation Debtors shall remain obligated to perform all obligations

under the Master Lease until the Master Lease has been deemed rejected or assumed pursuant to

the Plan as approved by the Bankruptcy Court.

       190.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the effective date of the Confirmation Debtors’ rejection of the Master Lease or any applicable

Sublease (if any) shall be the later of (a) the proposed effective date of the rejection of the Master

Lease or any applicable Sublease as set forth in the Rejected Contracts/Lease List, (b) the date

upon which the applicable Confirmation Debtor surrenders in writing to STORE (including via

email) the leased premises associated with the Master Lease and returns the keys, key codes, or

security codes, as applicable (or certifies in writing that STORE is authorized to change the locks),

and (c) such other date to which the Confirmation Debtors and STORE agree to or as otherwise

ordered by the Bankruptcy Court.




                                                 108
           Case 24-12480-LSS         Doc 1596      Filed 06/02/25     Page 109 of 115




AAAA.          Provisions Regarding Pentex

       191.    The Pentex objection [Docket No. 1419] (the “Pentex Objection”) filed by Pentex

RTO, LLC, EightSixThree RTO, LLC, Pentex Top Left, LLC and Pentex 1848, LLC (individually

or collectively, as applicable, “Pentex”) asserts certain objections, including a Cure Dispute.

Notwithstanding anything in the Plan, this Confirmation Order, or any other document to the

contrary, all parties’ rights are reserved with respect to such Pentex Objection. Further, for the

avoidance of doubt, any franchise agreement subject to the Pentex Objection (collectively,

the “Pentex Franchise Agreements”) shall not be assumed and/or assumed and assigned until such

Pentex Objection is resolved by further order of the Bankruptcy Court or written agreement of the

parties. On or prior to the Effective Date, the Confirmation Debtors shall provide Pentex with

notice of their intention to assume or reject the Pentex Franchise Agreements (in whole or in part),

and, to the extent the Pentex Objection is not resolved prior to the Effective Date, the Confirmation

Debtors and Pentex shall meet and confer in good faith to reach agreement on a discovery and

briefing schedule and hearing date in connection with the resolution of the Pentex Objection. In

the event the Confirmation Debtors and Pentex cannot reach a consensual resolution, the parties

will request the Bankruptcy Court set a litigation schedule after notice and opportunity to be heard

and all parties’ rights are reserved to seek further relief from the Bankruptcy Court with respect

thereto. Notwithstanding any of the foregoing, the Confirmation Debtors’ and the Reorganized

Debtors’ rights are fully reserved to reject the Pentex Franchise Agreements in accordance with

the Plan and this Confirmation Order, including, without limitation, in the event the Bankruptcy

Court determines that the Allowed Cure Cost with respect to the Pentex Franchise Agreements is

greater than the amount set forth in the Assumed Contracts List.




                                                109
           Case 24-12480-LSS         Doc 1596       Filed 06/02/25     Page 110 of 115




BBBB. Provisions Regarding Heritage Seymour

       192.    Confirmation Debtor PSP Distribution, LLC (“Tenant”) leases warehouse space at

1510 E. 4th Street Road, Seymour, Indiana from Heritage Seymour I, LLC and Heritage Seymour

II, LLC (together, “Landlord”) pursuant to that certain Amended and Restated Building Lease

dated October 14, 2021, as amended from time to time (the “PSP Lease”), which was guaranteed

by Confirmation Debtor PSP Stores LLC (“Guarantor”). Tenant and Guarantor agree that the PSP

Lease, as amended by, among other things, the Second Amendment to the Amended and Restated

Building Lease executed on May 16, 2025 (the “Second PSP Lease Amendment”), shall be

assumed under the Plan. Notwithstanding any contrary provision(s) of the Plan and/or this

Confirmation Order, all rights and obligations of Tenant and Landlord under the Lease (including

those rights and obligations under the Second PSP Lease Amendment) shall remain in full force

and effect, unaffected by the Plan and/or this Confirmation Order.

CCCC.          Reservation of Rights

       193.    Except as expressly set forth in the Plan, the Plan shall have no force or effect unless

and until the Bankruptcy Court enters this Confirmation Order. None of the Filing of the Plan,

any statement or provision contained herein, or the taking of any action by the Confirmation

Debtors with respect to the Plan shall be or shall be deemed to be, an admission or waiver of any

rights of the Confirmation Debtors with respect to any Claims or Equity Interests prior to the

Effective Date.

DDDD.          Severability

       194.    If, prior to the entry of this Confirmation Order, any term or provision of the Plan

is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the

request of the Confirmation Debtors, shall have the power to alter and interpret such term or

provision to make it valid or enforceable to the maximum extent practicable, consistent with the


                                                 110
           Case 24-12480-LSS         Doc 1596      Filed 06/02/25     Page 111 of 115




original purpose of the term or provision held to be invalid, void, or unenforceable, and such term

or provision shall then be applicable as altered or interpreted.

       195.    Notwithstanding any such holding, alteration, or interpretation, the remainder of

the terms and provisions of the Plan will remain in full force and effect and will in no way be

affected, Impaired, or invalidated by such holding, alteration, or interpretation. This Confirmation

Order shall constitute a judicial determination and shall provide that each term and provision of

the Plan, as it may have been altered or interpreted in accordance with the foregoing is: (a) valid

and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified

without the Confirmation Debtors’ consent and the Global Settlement Parties’ consent; and

(c) nonseverable and mutually dependent.

EEEE. Governmental Approvals Not Required

       196.    Except as otherwise specifically provided in this Confirmation Order, this

Confirmation Order shall constitute all approvals and consents required, if any, by the Laws, rules,

or regulations of any state or other governmental authority with respect to the implementation or

consummation of the Plan and the Disclosure Statement, any documents, instruments, or

agreements, and any amendments or modifications thereto, and any other acts referred to in, or

contemplated by, the Plan and the Disclosure Statement.

FFFF. Recording

       197.    The Confirmation Debtors and Reorganized Debtors, as applicable, hereby are

authorized to deliver a notice or short form of this Confirmation Order, with the Plan attached (in

a form complying with any applicable non-bankruptcy rules or regulations), to any state or local

recording officer, and such officer must accept for filing such documents or instruments without

charging any stamp tax, recording tax, personal property transfer tax, mortgage, or other similar




                                                111
           Case 24-12480-LSS         Doc 1596      Filed 06/02/25     Page 112 of 115




tax. Such notice shall constitute sufficient notice of the entry of this Confirmation Order to such

filing and recording officers.

GGGG.          Inconsistency

        198.   In the event of an inconsistency between the Plan, the Disclosure Statement, and

the Disclosure Statement Supplement, the terms of the Plan shall control in all respects. In the

event of an inconsistency between the Plan and the Plan Supplement, the terms of the relevant

provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement

document or in this Confirmation Order).        In the event of an inconsistency between this

Confirmation Order and the Plan, the Disclosure Statement, or the Disclosure Statement

Supplement, this Confirmation Order shall control.

HHHH.          Documents, Mortgages, and Instruments

        199.   Each federal, state, commonwealth, local, foreign, or other governmental agency is

authorized to accept any and all documents, mortgages, and instruments necessary or appropriate

to effectuate, implement, or consummate the Plan, including the Restructuring Transactions, and

this Confirmation Order.

IIII.   Substantial Consummation

        200.   Substantial consummation of the Plan, as defined in section 1101(2) of the

Bankruptcy Code, shall be deemed to occur on the Effective Date.

JJJJ. Effect of Failure of Conditions

        201.   If all of the conditions to effectiveness have not been satisfied or duly waived and

the Effective Date has not occurred on or before the first Business Day that is more than

thirty (30) days after the Confirmation Date, or by such later date as set forth by the Confirmation

Debtors in a notice Filed with the Bankruptcy Court prior to the expiration of such period, then the

Confirmation Debtors, with the consent of the Required Consenting First Lien Lenders, may File


                                                112
           Case 24-12480-LSS          Doc 1596    Filed 06/02/25     Page 113 of 115




a motion to vacate this Confirmation Order. Notwithstanding the Filing of such a motion, this

Confirmation Order shall not be vacated if all of the conditions to consummation set forth in

Section 11.1 and Section 11.2 of the Plan are either satisfied or duly waived before the Bankruptcy

Court enters an order granting the relief requested in such motion. If this Confirmation Order is

vacated pursuant to Section 11.4 of the Plan, the Plan shall be null and void in all respects, this

Confirmation Order shall be of no further force or effect, no distributions under the Plan shall be

made, the Confirmation Debtors and all Holders of Claims and Equity Interests shall be restored

to the status quo ante as of the day immediately preceding the Confirmation Date as though the

Confirmation Date had never occurred, and upon such occurrence, nothing contained in the Plan

shall: (a) constitute a waiver or release of any Claims against or Equity Interests in the

Confirmation Debtors; (b) prejudice in any manner the rights of the Confirmation Debtors, any

Holders of Claims or Equity Interests, or any other Entity; or (c) constitute an admission,

acknowledgment, offer or undertaking by any Confirmation Debtor or any other Person with

respect to any matter set forth in the Plan.

KKKK.          Modifications or Amendments

       202.    The provisions governing the modification, revocation, or withdrawal of the Plan

set forth in Article XIV of the Plan shall be, and hereby are, approved in their entirety. The

Confirmation Debtors, subject to the consent requirements set forth in the Plan and the

Restructuring Support Agreement and subject to section 1127 of the Bankruptcy Code, may

modify or amend the Plan Supplement until the occurrence of the Effective Date.

LLLL. Confirmation Debtors’ Actions Post-Confirmation Through the Effective Date

       203.    During the period from entry of this Confirmation Order through and until the

Effective Date, each of the Confirmation Debtors shall continue to operate their business as a

debtor in possession, subject to the oversight of this Bankruptcy Court as provided under the


                                               113
           Case 24-12480-LSS        Doc 1596      Filed 06/02/25     Page 114 of 115




Bankruptcy Code, the Bankruptcy Rules, and this Confirmation Order and any order of this

Bankruptcy Court that is in full force and effect. During such period, the Confirmation Debtors

and all other parties in interest under the Plan are authorized to execute such documents,

agreements, or filings that are contemplated by the Plan, the Plan Supplement, or the Restructuring

Transactions without any further order of this Bankruptcy Court or corporate action, and to take

any actions necessary or advisable or appropriate to implement the documents, agreements, or

filings that are contemplated by the Plan, the Plan Supplement, or the Restructuring Transactions,

in each case subject to the terms and conditions of the Plan. Notwithstanding anything to the

contrary herein or in the Plan, upon entry of this Confirmation Order, the Confirmation Debtors

shall be released from any and all reporting obligations arising under any order of the Bankruptcy

Court entered in connection with any of the First Day Pleadings (as defined in the First Day

Declaration).

MMMM.           Notice of Confirmation and Effective Date

       204.     In accordance with Bankruptcy Rules 2002 and 3020(c), within five (5) Business

Days of the Effective Date, the Reorganized Debtors shall cause the notice of Confirmation and

occurrence of the Effective Date, substantially in the form attached hereto as Exhibit B

(the “Notice of Effective Date”), to be served on all known Holders of Claims and Equity Interests

and the Bankruptcy Rule 2002 service list. Notwithstanding the foregoing, no service of the Notice

of Effective Date or of any kind shall be required to be mailed or made upon any Entity to whom

the Confirmation Debtors mailed the Confirmation Hearing Notice, but received such notice

returned marked “undeliverable as addressed,” “moved, left no forwarding address,” or

“forwarding order expired,” or similar reason, unless the Confirmation Debtors or the Reorganized

Debtors have been informed in writing by such Entity, or are otherwise aware, of that Entity’s new

address. Further, the Confirmation Debtors and the Reorganized Debtors, as applicable, shall only


                                               114
           Case 24-12480-LSS        Doc 1596      Filed 06/02/25     Page 115 of 115




be required to serve Holders who have not Filed a Proof of Claim in these Chapter 11 Cases with

the Notice of Effective Date to the extent that such Holders have active electronic mail addresses

for such Holders. In addition, no later than five (5) Business Days after the Effective Date, the

Confirmation Debtors and the Reorganized Debtors, as applicable, shall cause the Notice of

Effective Date, modified for publication, to be published on one occasion in The New York Times

(national edition) or another similar nationally circulated news publication. The above-referenced

notices are adequate under the circumstances of these Chapter 11 Cases, and no other or further

notice is necessary.

NNNN.          Headings

       205.    Headings utilized in this Confirmation Order are for convenience and reference

only, and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

OOOO.          Final Order and Waiver of Stay

       206.    For good cause shown, the stay of this Confirmation Order provided by any

Bankruptcy Rule is waived, and this Confirmation Order shall be effective and enforceable

immediately upon its entry by this Bankruptcy Court. This Confirmation Order is a Final Order

and shall take effect immediately, be effective and enforceable immediately upon entry, and its

provisions shall be self-executing, and the period in which an appeal must be filed shall commence

upon the entry hereof. In the absence of any Person obtaining a stay pending appeal, the

Confirmation Debtors are authorized to consummate the Plan; provided that the Debtors shall not

consummate the Plan or the Global Settlement before June 5, 2025.




      Dated: June 2nd, 2025                          LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE

                                               115
